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   6
       Attorney for Plaintiffs
   7

   8                          UNITED STATES DISTRICT COURT
   9                       SOUTHERN DISTRICT OF CALIFORNIA
  10

  11   MATTHEW JONES; THOMAS FURRH;                       Case No.: 3:19-cv-01226-L-AHG
       KYLE YAMAMOTO; PWGG, L.P. (d.b.a.
  12   POWAY WEAPONS AND GEAR and                         Hon. M. James Lorenz and Magistrate
  13   PWG RANGE); NORTH COUNTY                           Judge Allison H. Goddard
       SHOOTING CENTER, INC.; BEEBE
  14   FAMILY ARMS AND MUNITIONS LLC                      DECLARATION OF DAVID BOGAN
  15   (d.b.a. BFAM and BEEBE FAMILY                      IN SUPPORT OF PLAINTIFFS’
       ARMS AND MUNITIONS); FIREARMS                      MOTION FOR PRELIMINARY
  16   POLICY COALITION, INC.; FIREARMS                   INJUNCTION
  17   POLICY FOUNDATION; CALIFORNIA                      (Part 1 of 2)
       GUN RIGHTS FOUNDATION (formerly,
  18   THE CALGUNS FOUNDATION); and                       Complaint Filed: July 1, 2019
  19   SECOND AMENDMENT                                   Second Amended Complaint Filed:
       FOUNDATION,                                        November 8, 2019
  20
                                            Plaintiffs,
  21
       v.                                                 Date: Monday, December 16, 2019
  22                                                      Time: 10:30 a.m.
  23
       XAVIER BECERRA, in his official                    Courtroom: Dept. 5B (5th Floor)
       capacity as Attorney General of the
  24   State of California, et al.,                  No oral argument should be heard
  25                                     Defendants. unless ordered by the Court
  26

  27

  28
                       DECLARATION OF DAVID BOGAN IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG Document 21-18 Filed 11/12/19 PageID.4342 Page 2 of 99




   1   I, David Bogan, declare as follows:
   2
             I am not a party to the captioned action, am over the age of 18, have personal
   3

   4
       knowledge of the facts stated herein, and am competent to testify as to the matters

   5   stated and the opinions rendered below.
   6
                  Personal Information, Education, and Employment Background
   7

   8
             1.      I reside in Temecula, California, and am currently employed by HP
   9
       Communications Inc. in Corona, California, as a Fleet Administrator. I am also self-
  10

  11   employed as a private investigator and California Hunter’s Education instructor. The
  12
       private investigation work is conducted under DMB Investigators. It is a private
  13
       investigation firm specializing in insurance fraud. In addition to my work as a
  14

  15   Hunter’s Education instructor, I am also a firearms instructor, home safety instructor,
  16
       and firearms range safety officer instructor.
  17

  18         2.      I graduated from metropolitan State College B.S. in Criminal Justice. I
  19
       also obtained a certificates in Advanced Accident Reconstruction and Vehicle
  20
       Dynamics from Northwestern University in 1993.
  21

  22         3.      I hold a California Department of Fish and Wildlife Hunter’s Education
  23
       Instructor Certificate (No. 004392). This certificate expires annually and will be
  24

  25   renewed on December 31, 2020. I also hold National Rifle Association certifications
  26   as a Chief Range Safety Officer, Pistol Instructor, Rifle Instructor, Shotgun
  27
       Instructor, and Defense in the Home Instructor (No. 209851445). I am a Board
  28
                                                       2
                       DECLARATION OF DAVID BOGAN IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG Document 21-18 Filed 11/12/19 PageID.4343 Page 3 of 99




   1   Member of the Hunter Education Instructors Association and the Southern California
   2
       Region Liaison to the Boy Scouts of America.
   3

   4         4.     I worked for the Corpus Christi Police Department as a Police
   5
       Sergeant/Detective from 1981 to 1998. In this role, I held positions of Patrol Officer,
   6
       Vice–Squad, Narcotics Street Interdiction Team, and Narcotics Major Offenders
   7

   8   Team; and I directed the Enforcement Unit responsible for writing all probable cause
   9
       statements for Narcotics and Vice-Squad Units and executed numerous search and
  10
       arrest warrants.
  11

  12
             5.     I was also on the Narcotics–Major Offender’s Task Force where I was
  13
       responsible for large-volume Narcotics Interdiction investigations as Case Manager
  14

  15   and Under Cover Operative.              I was responsible for writing all probable cause
  16
       statements for Narcotics and Vice-Squad Units; I was the liaison with the United
  17
       States Drug Enforcement Administration and Customs; and I cross certified as U.S.
  18
  19   Customs Officer and U.S. DEA Special Agent for joint investigations of narcotics
  20
       smuggling and distribution.
  21

  22         6.     I am currently an Executive Board member of the Southern California
  23
       Fraud Investigators Association where I hold the position of Secretary.
  24

  25         7.     I have also completed the application process to receive my California
  26   Department of Justice, Firearms Bureau, Firearms Safety Certificate Instructors
  27

  28
                                                          3
                          DECLARATION OF DAVID BOGAN IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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   1   license and currently hold a California Department of Justice, Certificate of
   2
       Eligibility.
   3

   4          8.      Attached hereto as Exhibit 1 is a true and correct copy of my
   5
       Curriculum Vitae.       It describes my education, employment background, career
   6
       experience.
   7

   8
              9.      To date, I have provided instruction for 35 California Hunter’s
   9
       Education courses and instructed 638 Hunter’s Education students.
  10

  11           Hunter’s Education Application Process and Course Requirements
  12

  13          10.     California requires on-line registration for the Hunter’s Education

  14   course. A requirement for Online Registration is obtaining a CDFW “GO ID.” To
  15
       obtain a GO ID, the customer must provide the following: (i) date of birth; (ii) last
  16

  17   name; and (iii) if the student is an adult it will prompt them to provide an

  18   identification number (e.g., State ID/DMV, Passport); or (iv) if the student is a youth,
  19
       they will register using the Parent/Guardian’s ID. If no matching customers are
  20

  21   found, a “New Customer Record” is created. A new “GO ID” number will be
  22   provided in the Customer Profile Info webpage. The student must then return to the
  23
       Hunter’s Education Class Registration form and input their valid GO ID to start the
  24

  25   Hunter’s Education course process.
  26
              11.     There are two pathways to obtaining the Hunter’s Education Certificate
  27

  28   of Completion. The applicant may choose to take the traditional Hunter’s Education
                                                        4
                        DECLARATION OF DAVID BOGAN IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG Document 21-18 Filed 11/12/19 PageID.4345 Page 5 of 99




   1   course, or they may take the online course.
   2
             12.    The traditional Hunter’s Education course is a minimum 10-hour course
   3

   4   of classroom study. Although there is no gun range/shooting proficiency requirement,
   5
       students must satisfactorily complete a “Safe-Gun Handling” demonstration. The
   6
       online course requires 4-hours of on-line study, followed by an in-person 3-hour
   7

   8   review course and one-hour examination.
   9
             13.    The Hunter’s Education course curriculum is separated into distinct
  10

  11   categories. The areas of study include: (1) firearms safety and handling;
  12
       (2) sportsmanship and ethics; (3) wildlife management and conservation; (4) archery
  13
       hunting; (5) black powder firearms; (6) wildlife identification; (7) game care; (8) first
  14

  15   aid; and (9) wilderness survival.
  16
             14.    Based on my experience as a Hunter’s Education Instructor and my
  17

  18   personal observations of the minimum time required to sign up and complete the
  19
       Hunter’s Education course, the minimum amount of time needed to complete the
  20
       course is either 10 hours (or 8 hours if taking the online course). However, in reality,
  21

  22   completing the requirements to obtain a Hunter’s license can take much longer than
  23
       8-or-10 hours. The main reason for this is the limited amount of Hunter’s Education
  24
       courses available in any one County every month and the seating availability for each
  25

  26   course.
  27
             15.    As of August 21, 2019, there is only one Hunter’s Education course
  28
                                                       5
                       DECLARATION OF DAVID BOGAN IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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   1   listed as available in San Diego County for the entire month of September (Escondido
   2
       Fish and Game Range, Escondido, CA 92027 on September 14, 2019). However, this
   3

   4
       class is limited to 22 seats and completely filled.

   5
             16.    Additionally, there is only one course listed in San Diego County for the
   6
       month of August (Las Flores Ranch House Barn, Camp Pendleton, CA 92055 on
   7

   8   August 25, 2019). However the August class is limited to 25 seats and completely
   9
       filled. Thus, in approximately a two-month period, only two Hunter’s Education
  10
       courses were offered and the courses were filled to capacity.
  11

  12
             17.    Considering the number of Hunter’s Education courses available in San
  13
       Diego County, it can take more than a month to complete the online course and then
  14

  15   find and attend the follow-up course.
  16
                          Hunter’s Education Test and Test Categories
  17

  18         18.    Upon completion of both the traditional Hunter’s Education course and
  19
       the online course, students are required to take and pass a 100-question test. The
  20

  21   questions are divided into seven categories with the quantity of the question based on
  22   the time allocated to each section in the course. The following is a breakdown of the
  23
       allocation of test questions for each topic:
  24

  25         • Firearm and Safe Gun Handling — 30% (30 questions)
  26
             • Sportsmanship, Hunters Ethics and Hunter Responsibilities — 20%
  27

  28
                                                       6
                       DECLARATION OF DAVID BOGAN IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG Document 21-18 Filed 11/12/19 PageID.4347 Page 7 of 99




   1   (20 questions)
   2
             • Principles of Wildlife Management —15% (15 questions)
   3

   4         • Survival and First Aid —10% (10 questions)
   5

   6         • Black Powder Firearms —10% (10 questions)
   7
             • Archery — 10% (10 questions)
   8

   9         • Game Care — 5% (5 questions)
  10
             19.   The test is closed book and closed note. Hunter’s Education students
  11

  12   must answer 80 or more questions correctly (e.g., scoring 80%) in order to pass the
  13
       test and receive their Hunter’s Education completion certificate. If a student scores
  14
       under an 80% (less than 80 correct answers), they may retake the test on another date.
  15

  16   Course materials are provided to the student for home study.
  17
             20.   Attached hereto as Exhibit 2 is a true and correct copy of the Hunter’s
  18
  19   Education course materials – Today’s Hunter in California: A Guide to Hunting
  20
       Responsibly and Safely.
  21

  22         21.   Based on my review of the Hunter’s Education certification test, due to
  23   the apportionment of questions, a student could miss 20 of 30 questions (or 66% of
  24
       all questions) relating to firearms and safe gun handling and still pass the test. In
  25

  26   other words, if the student scored a perfect score in all other areas, they could still
  27   pass the Hunter’s Education test and receive a Hunter’s Education certificate while
  28
                                                        7
                        DECLARATION OF DAVID BOGAN IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG Document 21-18 Filed 11/12/19 PageID.4348 Page 8 of 99




   1   only correctly answering 33% of the questions related to firearms and safe gun
   2
       handling.
   3

   4         22.    It is my opinion, although the California Hunter’s Education course
   5
       contains firearm safety curriculum, the course, as a whole, is better described as a
   6
       hunting course rather than a firearms safety course because 30% of the course is
   7

   8   dedicated to firearms safety and handling, while 70% of the course is dedicated to
   9
       topics specifically related to the act of hunting (e.g., sportsmanship, ethical hunting,
  10
       conservation).
  11

  12
             23. In my opinion, due to the possibility of being able to pass the Hunter’s
  13
       Education test while still scoring a failing grade in the firearms safety and safe
  14

  15   handling category, the Hunter’s Education course does not require a satisfactory
  16
       minimum level of firearm safety and safe handling knowledge.
  17

  18         Comparison of Firearms Safety Certificates and Hunter’s Education
  19
             24.    In my review of the Hunter’s Education curriculum, specifically
  20

  21   focusing on firearm safety and handling, I compared the Hunter’s Education
  22   curriculum to the curriculum for obtaining a Firearms Safety Certificate in California.
  23
       There are significant differences in the course of study for each program.
  24

  25         25.    Pursuant to Penal Code section 26840, any person who acquires a
  26
       firearm must have a Firearm Safety Certificate (FSC), unless they are statutorily
  27

  28   exempt from the FSC requirement. Instructors are generally private-entity firearms
                                                        8
                        DECLARATION OF DAVID BOGAN IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG Document 21-18 Filed 11/12/19 PageID.4349 Page 9 of 99




   1   instructors who are certified by California Department of Justice. Attached hereto as
   2
       Exhibit 3 is a true and correct copy of Penal Code section 26840.
   3

   4         26.   The FSC study guide and subsequent tests provide safety information
   5
       and tests all potential firearm purchasers in California on firearm safety and safe
   6
       handling of a firearm; however, in contrast, the Hunter’s Education course does not
   7

   8   provide detailed study of legal requirements of firearms safety. The Firearm Safety
   9
       Certificate is valid for 5 years and must be renewed after the expiration date. In
  10
       contrast, the Hunter’s Education certificate is valid for life and does not require
  11

  12   renewal.
  13
             27.   Based on my direct comparison to the Hunter’s Education and Firearms
  14

  15   Safety Certificate curriculum, it is my opinion that the firearm safety curriculum in
  16
       the Hunter’s Education program is entirely duplicative of the curriculum covered in
  17
       the Firearm Safety Certificate program.               Moreover, the Hunter’s Education
  18
  19   curriculum does not cover as many topics in regard to firearm safety and safe
  20
       handling of firearms as the Firearms Safety Certificate program. In other words,
  21
       students who take the Hunter’s Education course do not cover as many gun
  22

  23   safety-related topics as is required by law through the Firearm Safety certificate
  24
       program.
  25

  26         28.   According to the Firearms Safety certificate study guide, the course
  27
       curriculum is separated into seven broad categories: (a) Introduction; (b) Gun Safety
  28
                                                      9
                      DECLARATION OF DAVID BOGAN IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG Document 21-18 Filed 11/12/19 PageID.4350 Page 10 of 99




   1   Rules; (c) Firearms and Children; (d) Firearm Operation and Safe Handling;
   2
       (e) Firearm Ownership; (f) Prohibited Firearms Transfers and Straw Purchases, and
   3

   4
       (g) Firearms Laws. Each of these broad categories contains a number of

   5   subcategories that discuss basic gun safety rules, firearm owner responsibility, rules
   6
       for kids, safe-handling demonstration, firearm types, firearm parts and operation,
   7

   8   safety and storage laws, and general California firearms laws. This list of

   9   subcategories is not exhaustive. For a complete description of the subjects covered,
  10
       please refer to Exhibit 4 hereto, which contains a true and correct copy of the
  11

  12   California Firearm Safety Certificate Study Guide, Office of the Attorney General,

  13   Department of Justice Bureau of Firearms (January 2019).
  14

  15
             29.   In comparison, though the Hunter’s Education program does cover some

  16   of the same firearms safety and handling topics covered by the Firearms Safety
  17
       certificate program, there are numerous topics covered in the FSC program that are
  18
  19   only minimally covered or not covered at all in the Hunter’s Education program.

  20
             30.   For example, the Hunter’s education program does not cover: (a) “you
  21
       cannot be too careful with children and guns;” (b) talking to children about guns;
  22

  23   (c) instill a mindset of safety and responsibility; (d) how semiautomatic pistols work;
  24
       (e) enrolling in a firearms training course; (f) methods of childproofing firearms;
  25
       (g) prohibited firearms transfers and straw purchases; (h) sales and transfers of
  26

  27   firearms; (i) new California resident requirements; (j) carrying a concealed weapon;
  28
                                                      10
                      DECLARATION OF DAVID BOGAN IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG Document 21-18 Filed 11/12/19 PageID.4351 Page 11 of 99



   1   (k) firearms aboard common earners; (1) firearms in the home; business or at a
   2
       campsite; (m) the use of lethal force m self-defense; (n) firearm storage during
   3
       prohibition; and (o) persons ineligible to possess firearms.
   4

   5
             31.    Additionally, the Hunter's Education program only minimally covers the
   6
       following topics that are covered in the FSC program: (a) rules for kids;
   7

   8   (b) double-action revolver safe handling; (c) single-action revolver safe handling; and
   9
       (d) semiautomatic pistol safe handling.
  10
  11         32.    Thus, the Firearms Safety Certificate program requires a more thorough
  12
       understanding and knowledge of gun safety and safe handling based on the
  13
       apportionment of study material and percentage of questions required to be answered
  14

  15   correctly in relation to firearms and safe gun handling. In other words, the Hunter' s
  16
       Education program does not provide any additional instruction on firearms safety and
  17
       safe handling than what is already required by the FSC program.
  18

  19         I declare under penalty of perjury that the foregoing                        IS   true and correct.
  20                                                                    ..,....
       Executed within the United States on September ,Lf, 2019.
  21

  22
  23

  24

  25

  26
  27

  28
                                                           11
                       D ECLARATION OF D AVID B OGAN IN S UPPORT O F P LAINTIFFS ' MOTION F OR P RELIMINARY I NJUNCTION
Case 3:19-cv-01226-L-AHG Document 21-18 Filed 11/12/19 PageID.4352 Page 12 of 99




   1                                     EXHIBITS
   2
                                     TABLE OF CONTENTS

   3   Exhibit   Description                                                            Page(s)
   4
          1      David Bogan, Curriculum Vitae                                       0001 – 0004
   5
          2      Hunter’s Education course materials – Today’s Hunter 0005 – 0129
   6             in California
   7
          3      Penal Code section 268450                                           0130 – 0132
   8
          4      California Firearm Safety Certificate Study Guide,                  0133 – 0184
   9             Office of the Attorney General, Department of Justice
  10             Bureau of Firearms (January 2019)

  11

  12

  13

  14

  15

  16

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  19

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  28
                                                     12
                     DECLARATION OF DAVID BOGAN IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG Document 21-18 Filed 11/12/19 PageID.4353 Page 13 of 99




             EXHIBIT "1"




                                   Exhibit 1
                                     0001
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                                    Curriculum Vitae

               David M. Bogan: CFE,CFS, FCLS, WCLS, CWCP
                 David.Bogan@DMBInvestigators.com / (858) 926-0496


  PROFESSIONAL EXPERIENCE
  DMB Investigators, President                                     2004-Present
  DMB Consultants: Co-Founder/Director of Consulting Services      2018-Present
  CA Department of Fish and Wildlife: Hunter Education Instructor 2017-Present
  St. Mother Teresa of Calcutta Parish: Security Ministry          2015-2019
  PC550 Holdings, Inc., President, CEO                             2008-2016
  Holding company which maintains either wholly-owned or majority shares of companies
  providing anti-fraud/claim services to the insurance industry. Companies include:
     ● DMB Investigators, President                                2008-Present
     ● Bogan Fraud Consult, President                              2008-2016
     ● Safe Claims, LLC, President                                 2011-2013
     ● Med Claims Analysis, Inc. President                         2011-2013


  CGI Insurance Business Services, Inc., SIU Senior Investigator 2005-2009
  Responsible to conduct and oversee complex investigations of questionable matters
  related to personal and commercial insurance lines.

  HUB Enterprises, Inc., California State Manager                  2002-2005
  Responsible for investigative product and business development and maintenance of
  existing accounts in California; headed company expansion into new market in
  California.

  Bogan Investigative Group, Owner/Operator, Houston, TX           1998-2002

  US Dept of Justice, DEA: Special Agent, Houston, TX              1993-1998

  Undercover and Case Agent investigation and prosecution of Schedule 1 Narcotics
  Smuggling and distribution systems throughout the United States.




                                       Exhibit 1
                                         0002
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  US Department of Treasury, United States Customs Service

  Customs Officer, Corpus Christi, TX
  1988 – 1990

  Undercover and Case Agent responsible for the investigation and prosecution of
  Schedule 1 Narcotics Sea and Air Drug Smuggling into the United States throughout the
  Gulf of Mexico.

  Corpus Christi Police Department: Police Sergeant/Detective        1981-1993
     ● Patrol Officer
     ● Vice–Squad
     ● Narcotics
     ● Major Offenders Directed Enforcement Unit
     ● Narcotics–Major Offenders Task Force
     ● Field Training Officer
     ● Criminal Investigation–Theft/Fraud
     ● Emergency Response Unit
     ● SWAT
     ● FBI, Joint Counter Terrorism Task
     ● Dive Master-Underwater Search and Recovery Dive Team
     ● School Resource Officer - Corpus Christi Independent School District, Roy Miller
         High School

  United States Department of Interior:
  Payroll Fraud Investigator Denver Federal Center                   1978-1981



  PROFESSIONAL DESIGNATIONS
     ● CFE: Certified Fraud Examiner, Association of Certified Fraud Examiners
     ● CFS: Certified Fraud Specialist, Association of Certified Fraud Examiners
     ● CWCP: Certified Workers' Compensation Professional, Michigan State University,
              School of Labor Relations, Ambassador, Employers’ Fraud Taskforce
     ● FCLS: Fraud Claim Law Specialist, American Educational Institute
     ● WCLS: Workers' Compensation Law Specialist, American Educational Institute
     ● WCLA: Workers' Compensation Law Associate, American Educational Institute
     ● Hunter Education Instructor: California Department of Fish and Wildlife



                                        Exhibit 1
                                          0003
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     ● Hunter Education Instructor Association: Boy Scout Liaison
     ● Boy Scouts of America: California Inland Empire Council – Shooting Sports
       Committee Member
     ● BSA Murrieta CA Troop 300: Past Scoutmaster/Shooting Sports Firearms
       Instructor
     ● A.L.I.C.E.: Active Shooter Response Instructor
     ● Rifle Instructor: National Rifle Association
     ● Shotgun Instructor: National Rifle Association
     ● Pistol Instructor: National Rifle Association
     ● Defense in the Home Instructor: National Rifle Association
     ● Chief Range Safety Officer: National Rifle Association


  TASKFORCE/ASSOCIATION PARTICIPATION
     ● Self-Reliance Association
     ● San Diego County Gun Owners Association
     ● California Hunter Education Instructors Association
     ● Southern California Fraud Investigators Association – Current Secretary
     ● Orange County Auto Theft Investigators
     ● Western States Auto Theft Investigators
     ● National Association of Traffic Accident Reconstructionist & Investigators
     ● South Texas Narcotics Interdiction Task Force -Houston Texas
     ● FBI, Joint Counter Terrorism Task - South Texas
     ● FBI, Fraud Initiative, San Diego, CA
     ● Association of Certified Fraud Examiners
     ● Association of Certified Fraud Specialist – Past President
     ● Fraternal Order of Police, Texas Lodge 27 – Past President
     ● Auto Theft Roundtable, San Diego District Attorney’s Office, San Diego, CA
     ● Premium Fraud Task Force, San Diego District Attorney’s Office, San Diego, CA
     ● Insurance Service Provider, Tax Evasion and Billing Fraud Task Force, Los
       Angeles District Attorney’s Office, Los Angeles, CA
     ● California Department of Insurance Fraud Consortium, Department of Insurance,
         Fraud Division, Rancho Cucamonga, CA
     ● Employers’ Fraud Task Force, Anaheim Hills, CA – Past Senior Advisor




                                      Exhibit 1
                                        0004
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             EXHIBIT "2"
                              (Part 1 of 2)




                                   Exhibit 2
                                     0005
. • unCase
       er-e3:19-cv-01226-L-AHG
              .com               Document 21-18 Filed 11/12/19 PageID.4358 Page 18 of 99




                                          Exhibit 2
                                            0006
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                                 Watch that muzzle! Kup it poimed in a s.tfl t!mction
                                 tlt all tinm.

                                 Treat ~ery firearm with the respect due a loaded
                                 gun. It mtglll br, rr m ifyou think it isn i.
                                 Be sure of the target and what is in front of it and
                                 beyond it. Knowthr idmtifyingftarurn ofthr gamr
                                 you brmt. A-lake surr you httvr an ttdrqUiltr backstop-
                                 don't shoot ttl a fou. hard surface or watrr.
                                 Keep your finger outside the trigger guard until
                                 ready to shoot. This rs thr best way to prevrm an ttcd
                                 dmtal discharge.
                                 Check your barrel and ammunition. Makr surr the
                                 barrel and action art ckar ofobstructions, and carry
                                 only the proper ammunition for your firramt.
                                  Unload firearms when not in we. Leave actions
                                  oprn, and carry.fimmns in cases and unloaded to and
                                 from the shooting area.
                                 Point a Srearm only at something you intend to
                                 shoot. Avoid all horseplay with a gun.
                                 Don't run, jump, or climb with a loaded firearm.
                                  Unload a .fimmn be.fim- you climb a Jmu or trtr, or
                                 jump a ditch. Pull a.firrann toward you by rbe burt, not
                                  the muzzle
                            9.   Store 6.rearms and ammunition separately and
                                 safely. Storr ra 'h n           beyond rhr rrach
                                 ofchi/J/rm




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           1     4
Chapter one Page                            Introduction to Hunter Education
                                   1
                         I
• Give £WO reasons why hunter education is important.
• Name three hunting-related projectS for which the Federal Aid in Wtldlife Restoration Aa {Pittman-Robertson Aa)
     funds are used.
• Describe the behavior of a responsible hunter.
• Give an example of how you C2Jl be involved in making hunting a respected sport.
• Name five sources of hunter education funding.



iHElriDsA
-----~~----·
                                                   Why Hunter Education?
                                                   The first mandated hunter education program began in New York in 1949 to
                                                   reduce hunting incidents. As hunter education programs spread across the country,
                                                   safety coordinators formed what is now the International Hunter Education
International Hunter Education                     Association co create a core curriculum, which is the basis for this course.
Association-United States of
America (IHEA-USA)                                 • Hunter education programs have always caught young humers the practice of
The organization's mission is to continue the          firearm and hunting safety. Today, hunter education programs are abour more
heritage of hunting wortdwlde by developing            than safety. They have been expanded to produce responsible, knowledgeable,
safe, responsible, and knowledgeable hunters.          and involved hunters-hunters who understand the importance of complying
Since i1s inception, IHEA·USA has endeavored to:
                                                       with hunting laws and behaving ethically. These programs give beginners a good
• Serve as tihe primary resource for information
  on hunter education.                                 foundation, and chey provide a refresher for veteran hunters.
• Promote hunter education by providing            • Ulcimately, the mission of hunter educadon programs is co develop safe, ethical,
  opportunities for the excllange of ideas,            and responsible hunters and to ensure the continuation of the hunting tradition.
   knowledge, and experiences.
• Promote hunter education by fostering
  cooperative efforts among government
   agencies, organized groups, and Industry.
• Uphold the Image of hUnting as a
   legitimate tool of wildlife managemerrt
   and as a recreational activity
   throughout North America.
• Promote programs that prevent
   hunting incidents.
• Cultivate honesty, self·discipline, self-
   reliance, responsible behavior, and good
   citizenship among hunters.
• Strive for cons1ant improvement In hunter
   education programs.
• Fully involve volunteers and other associate
   members In all affairs of the IHEA·USA.




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Respons•bllity Safety Skills, Knowledge, and Involvement                                 (. '          • I

Hunter education strives to instill responsibility. improve skills and knowledge. and
encournge the involvement of beginner and vereran humers. Responsible, ethical           • The Federal Aid In
                                                                                           Wildlile Restoratloo
behavior and personal involvement are borh essential to the survival of hunting.           Ac1, popularly
• Responsjbility                                                                           known as the
                                                                                           Pittmao-Robertson
   A knowledgeable and skillful srudem of hunring will never be a uue hunter               Act. was approved
   unless he or she also behaves responsibly. Responsible behavior includes                by Congress In
   courtesy, respt.>ct of others and of wikllife, and involvement. Responsible bunters     1937. The act
                                                                                           provides fUnding lor
   do not poach or act carelessly. Responsible huncers obey hunting laws, hunt             the selectloo, restoratloo, and Improvement of
   fairly, practice safety rules, and wait for a dean kill before shooring. How you        W1ldlile habitat and for wfldlile management
   behave and how other people see you will detennine buntings future.                     research. The act was amended In 1970
                                                                                           to lndude fUnding lor hunter education
• Safety Skills                                                                            programs and for the development and
  Hunting-related safety skills are g;tined through hands-on training and practice.        operation of public target ranges.
  It is mosc valuable co learn these skills from an experienced huncer.                  • Funds for the act come from an 11% federal
                                                                                           excise tax on sporting arms, ammunition,
• Knowledge                                                                                and archery eQuipment, as well as a 10% tax
  Knowledge is learning and understanding the basics ofsafe gun handling and               on handguns. One-hall of the excise tax on
  hunting. Before being trained in the skill of firearm shooting, you should know          handguns and archery equipment is used for
                                                                                           hunter educatton and target ranges. These
  how the firearm operates and how ro h:mdJe ir safely.                                     funds are collected from the manufacturers
• Involvement                                                                               and are distributed each year to the states
  P-.~rt of the process of becoming a true, responsible sportsman is becoming
                                                                                            and territorial areas by the Department
                                                                                            of the Interior.
  involved in efforts tO keep hunting a respecced sport. That includes teaching
                                                                                         • Each state's proportion of the federal funds
  others, working with landowners, and cooperating with g;tme wardens. It also              Is based on the area of the state and the
  includes joining conservation organizations. which will help preserve babirar             number of licensed hunters In the state. The
  and promote wildlife management.                                                          state covers the full amount of an approved
                                                                                            project and then applies for reimbursement
Hunter Education Funding Sources                                                            through federal aid for up to 75% of the
                                                                                            project's expenses; the state Is responsible
• llte U.S. Fish & WJdlife Service provides federal aid to state wildlife agencies          fOf the other 25% of the project's cost
  to support a variety of hunting-related projeas, including hunter education,
  land acquisition, and improvement of wildlife habitat. The Federal Aid in
  Wildlife Restoration funding was established in 1937 by the Piruoan-
  Roberrson Act.
• State wildlife agencies sponsor the hunter education programs that are found in
  each sr~te or province.
• Non-govcrnmemal organizations (Ducks Unlimited, National Rille Association,
   rHEA-USA, etc.) offer humer education and firearm safety education
   materials and training.
• Many firearm and archery manufacturers provide training materials to tea.ch
   hunters how ro use their productS safdy.
• Local hunting clubs, civic clubs, and businesses often provide the facilities and
  equipment for hunter educarion courses.




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Chapter Two 1Page 6                        Know Your Firearm Equipment

• DeAne "Arcarm.~                                                  • Descri~ how a rifle is different from other Arearms.
• Identify the basic pares of a rifle, shotgun, and handgun.       • Identify and explain a rifle's cali~r and a shotgun's gauge.
• Identify the basic components of rifle and                       • Name the four common shotgun chokes, and explain
  shotgun ammunition.                                                how they differ.
• Explain how ammunition is Ared from a firearm.                   • Explain the difference ~tween lead shot and steel shoL
• Identify six types of Arearm actions.                            • Correctly march ammunition with Arearms.
• Demonstrate proper loading and unloading of Arearms              • Explain the danger of mixing different
  with two different types of actions.                               gauges of shorshells.
• Identify the location(s) of safeties on firearms, and explain    • Explain why it is important to know your firearm's range.
  how they are used.                                               • Demonstrate cleaning procedures for a firearm.
• Name five types of sightS found on Arearms.                      • Demonstrate how to make a firearm safe for storage.

                                              What Is a Firearm?
                                              A firearm is a mechanical device that uses pressure from a burning powder to force
                                              a projectile through and our of a metal tube. To appreciate fully the imporrance of
                                              firearm safety, you first must understand how firearms work. This includes knowing
                                              the parts of the firearm, the types of ammunition, how ammunition is fired, and
                                              the ranges of the various firearms used for hunting.
                                              Basic Parts of a Firearm
                                              Although firearms have changed a great deal since they were first invented, the
                                              terms used for their parts have changed very little. Al.l modern firearms have three
                                              basic groups of pares.
                                              • Action: The action is the hearr of the firearm-the moving pares that load, fire,
                                                 and eject the shells or cartridges. Several types of actions are used in modern
                                                  firearms. Muzzleloaders have locks instead of actions.
                                              • Stoclc The stock serves as the handle of the firearm. It can ~ composed of one
                                                 or two pieces and is usually made of wood or a synthetic material
                                              • Barrel: The barrel is the metal ru~ that the projectile travds through (bullecs
                                                  travel through the barrels of rifles and handguns; shot travels through the
                                                  barrel of shotguns).

Thefirst step to becoming a responsible
hunter is knowing your equipment and how
to use it safely.




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Parts of a Boll-Action Rifle
Rifles, shotguns, and handguns have many similar parts. Shown here are the parts
of a commonly used rifle-the bolt-action rifle.




                                                            chamber: Base of 111e barrel used lD
                                                            hold the cartridge Of sholshell ready
                                                            for shoaling
                                   bolt Movable metal block that
                                   seals a cartridge Into the chamber
                                   on some actiollS




 safety: Mechanical device that blocks                                                      fonestock: Front portlon of the stock extending
 the triooer or hammer to help prevent                                                      under the barrel In front of the receiver; usually
 accidental firtng                                                                          held by the non-trigger hand to help support the
                                                                                            firearm
                                                                    magazine: Container on a repeating
                                                                    firearm that holds ammunition before lfs
                                                                    loaded into l!le chamber; usually tubes or
                                                                    boxes attached to the receiver




                                             trigger guard: Piece that surrounds the
                                             trigger to protect it from being squeezed or
                                             bumped accidentaly
butt The part of the stock that you hold                                                                            bore: Inside of the firearm barrel through which
agalnst your shol*ler wheo shooting                                                                                 the projectile travels wheo fired
                                                                                                                    breech: Rear end of the barrel
                                                                                                                    firing pin: Apin that stnkes the 1)11mer of the
                                                                                                                    castridge. causing Ignition
                                                                                                                    receiver. Metal housing for the WOII<lng parts
                                                                                                                    of the action




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                                                       Parts of a Pump-Action Shotgun
                                                       Shotguns are another long-barreled firearm used by hunters. Below arc the parrs of
                                                       a commonly used shotgun-the pump-action shotgun.




        butt



                                                       Parts of a Handgun
                                                       Handguns (revolvers and pistols) are short-barreled firearms sometimes used for
                                                       hunting. Below are the parts of a double-action revolver and a semi-automatic pistol.
Tile alrgun is often used by beginning hunters
                                                        Oouble-Actlon RevoMlr
to learn shooting and safety skills. Modem
airguns have designs, parts, and sights similar               sight               barrel
to sporting firearms.
Airguns can be just as dangerous as larger
firearms. Youngsters should always be
supervised Wilen using airguns.
There are three types of airguns.
• Pneumatic airguns use a pump system that
   forces air into an eodosed chamber. The air is
   retalned in the chamber by a valve that allows
   air to enter but not escape. When the trigger
   is released, the compressed air drives the
   pellet or BB out of the barrel                            cylinder: StDrage for arnmuni·
• C02-powered or gas-powered airguns use                     tion in a revolver; the cylinder
   compressed C02 contained in a cylinder. The               rotates as the action is cocked
   cylinder attaches to a chamber Inside the air
    rifte or pistol. When the trigger Is squeezed, a
   valve releases a quantity of COa that propels       ' - -- - - - - ---1 Semi-Automatic Pistol
   the pellet or BB out of the barrel.
 • Spring-piston airguns use a spring that Is
    compressed by a lever. When you squeeze
    the trigger, the spring Is released and thrusts
    a plunger forward. The plunger pushes a
    compressed column of air through the barrel,
    driving out the pellet or BB.




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What Is Ammunition?                                                                        cartridge
                                                                                               AmmunitlOii used in modem rifles and
Modern ammunition varies depending on d1e rype of firearm. Rifles and handguns                 llMdcJunS: a case containing primer,
use a cartridge containing a single projccrile (bullet). ShotgUilS use a shotshell             gunpowder, and a bullet
containing either a single slug or a large number of small projectiles (shot or            shotshell
pellets). However, the basic components of cartridges and shotshells arc similar.              Ammunition used In modem shotgl.llS; a
                                                                                               case containing primer, gul"4lC)Wder, wad.
BaSlc Components of Ammunition                                                                 and aslug 01 shot
The basic components of ammunition arc the case, primer, powder, and
projccrilc(s). Shotshdls have an additional component called wnd.
• Case: The container thar holds all the other ammunition components togerber.
   Irs usually made of brass, sred, copper, paper, or plastic.                                                                              )
• Primer: An explosive chemical compound thar ignites the gunpowder when                    • Centerflre ammunition Is used for rifles,
    Struck by a firing pin. Primer may be placed either in me rim of tbe case                 shotguns, and handguns. In this type of
                                                                                              ammunition, the primer Is located In the
    (rimflre) or in du: center of the base of the case (cenrerfire).                          center of the casing base. Most centerfire
• Gunpowder: A chemical mbrture mat burns rapidly and converts to an                          ammunition Is reloadable.
    expanding ga.~ when ignited. Modern smokeless powder will burn slowly when              • Rimflre ammunition has the primer contained
    ignited in me open (outside of the case). Black powder is less stable and can be          In the rim of the ammunition casing. Rimfire
                                                                                              ammunltlon Is limited to low-pressure loads.
    explosive when impacted or ignited in the open.                                           Rim fire cartridges are not reloadable.
• Projectile: The object(s) expelled from the barrel. A bullet is a projectile,
    usually containing lead, fired through a rifle or handgun barrel. A slug is a solid
    projectile, usually oflead, fired through a shorgun barrel. Shot is a group of
    lead, sred, rungsten alloy, or bismuth pellets fired through a shotgun barrel.
• Wad: A seal and/or shor container made of paper or plastic separating rhe                  Saf'ety 7ip
                                                                                             In tubular magazines, the buUet tip or one
    powder from me slug or shor in a shorshell. The wad prevents gas from escaping           cartridge rests directly on the primer of
    through the shot and holds dle shot togemer as it passes mrough me barrel.               the cartridge immediately ahead. Rlf this
                                                                                             reason, use only rounded 01 blunt tips In
Rifle and Handgun Cartridges                                                                 tubular magazines.
• It's critical ro selccr the correct cartridge for your rifle or handgun. Carefully
  compare the dara srarnp on the barrel of the firearm against rbe description on
  me ammunition box and me stamp on each cartridge.
• Bullets used in rifle :and handgun cartridges come in various designs, sizes,
  and weights. The bullet usually is made of lead and may have a jacket made of
  copper, brass, or another metal. Bullets used for hunting gaDle may have soli: or
  hollow points designed to expand (mushroom) upon impact. Bullets used for
  target shooting usually have solid points mat make smaller holes.
  • Common Types of RiOe Bullets
     - Pointed Soli: Point: Higll-velociry, accurate bullets wim a flar rravel pam
       (trajectory); excellent mushrooming
     - Rounded Soli: Point: Popular for low-velocity calibers; recommended for
       rubular magazines
     - Protected llp: Highly ao::urace with excellent expansion
     - Full Metal Jacket: Maximum penetration wimouc mushrooming; mese
       bullets are illegal for big game hunting jo most states
  • Common Types of Handgun Bullets
     - Roundnose Lead: Good penetration, litde expansion
     - Full Metal Jacket: Higll penetration, no expansion
     - Semi-Wad Currer: Balances penetmrion and expansion                                                                     CENTERRRE
     - Hollowpoinr: Designed for high expansion on impact
     - Wad Cutter: Flat-ended, used for target shooting; creates dean bole in paper

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                                                        Shotshells
                                                        • Shotgun shells (shotshells) use a slug or shot as the projectile(s).
                                                          • A slug is a solid projectile, usually of lead, used for hunting big game
                                                            wirh a shotgun.
                                                          • Shot are multiple pellets 6red through a shotgun barrel. Shot size is adaptable
                                                            tO me game being bunted. This type of projectile is used typically to hunt
                                                            game birds and small game animals.
                                                        • The shorshells must match exactly me gauge and shell length specified by the
                                                          manufactUrer. This information usually is found on me barrel of me shotgun.
                                                          Shotguns may be chambered for 2~-inch, 2~-inch, 3-inch, or 3~-inch shdls.
                                                          This refers co me length of the shell aftn- it has been fired. Never load a shotShell
                                                          char exceeds         me
                                                                             approved shell length stamped on me barrel of your shotgun.
                                                        • You also must choose me correct type and size ofshot for me shotShell. In
                                                          general, as me size of your target decreases, you should decrease the diameter of
gauge                                                     me shot you use.
   Term used to designate bore diameter of a              • As pellet diameter decreases, more shot can be placed in a standard shotshell.
   shotgun; gauge Is the number of lead balls             • The smaller me shot "number," the larger the pellet diameter.
   with diameters equal to the diameter of the
   bof'e that, When combined, weigh one pound             • ShotShell marked as magnum has more shot or more gunpowder than a
                                                             regular shell. Magnum and regular shotshdls are interchangeable ifthe con-ect
                                                            gauge and sheD kngth are used


                                                            U.S. STANDARD DESIGNATIONS
    SHOT SIZES
    Shot   Num~r                 12      9          8       7~     7     6          5           4     3     2                  B        BB       BBB       T

    Di•mctrr lin.)               .05    .08     .09     .095       .10   .11        .12        .13   .14    .15       .16     .17       . 18     . 19      .20
    Number of lad
    PdletS pu Oun...-c         2.385 585 410            350 300          225        170        135   n/a    90        nla     n/a       50       n/a       n/a
    1'\umJx,r ofSt<-el




                                                                                                     •
    Pdlru ptr Ouna
                                 n/a    n/a    5n       490 420          317    243            192   154    125       103      86       72        61       53


    BUCKSHOT SIZES
    Shot Number

     Oi~mcter   (in.)
                                ••4

                                 .24
                                               3

                                              .25
                                                            e ee
                                                             ,30
                                                                          0

                                                                         .32
                                                                                          00

                                                                                          .33
                                                                                                     000

                                                                                                      .36
                                                                                                                Shot stze can be adjusted tor the game being
                                                                                                                hunted. N peDet diameter decreases, more
                                                                                                                shot can be placed In a standard ShotsheU
                                                                                                                load. The smaller the Shot number, ttle
                                                                                                                Iallier the Shot size.



                                                        • Sreel shot pellets react differently than lead when shot. Steel weighs one-third
                                                          less than lead but is much harder. Steel does not deform and is not as unsrable
Non-toxic shot is required throughout the                 in flight. It will produce a righter pattern than lead shot. If using steel shot for
U.S. for waterfowl hunting. Studies showed                hunting, choose a steel shot size one to two sizes larger man me lead shot you
that many waterfowl died each year because
of lead poisoning. Lead pellets from traditional          would select, and choose a less constrictive choke.
Shotshells were picked up and digested
by waterfowl. The toxic effect spread to
other birds, such as the bald eagle, which
consumed the po4soned waterfowl. To reduce
ttlis problem, conservationists worked with
ShotsheR manufacturll(S to produce effective
alternatives to lead shot--steel, tungsten alloy,
or bismuth shot.
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How a Firearm Works
The same physical process is used £O shoot shotshells from shotguns or cartridges              The firing sequence lor handguns and Sl10tguns
from rifles or handguns. PuUing the trigger causes the firing pin co strike and                is very simnar to tills sequence shown for a
explode the primer in the base of the cartridge or shotsheU. The spark from the                bolt-action rifle.
primer ignites the gunpowder, which burns rapidly and converts to a gas. The gas
rapidly expands and drives the projectile(s) through the barrel with great force.
•   How the rifle and handgun fire:
    I. A cmridge is inserted into the cham~r.
    2. The action is dosed, and the firing pin is pushed back and he.ld back under
       spring tension.
    3. The trigger is squeezed, releasing the firing pin, which moves forward with              • The bolt moves fOIWard, compressing the
       great force. The firing pin strikes the primer, causing ir ro explode.                     firing pin spring and Inserting a cartridge
    4. The spaJk from the primer ignites the gunpowder. Gas converted from the                    Into the chamber.
       burning powder rapidly expands in the cartridge.
    5. The expanding gas forces the bullet out of tbe cartridge and down the barrel
       with gJCat speed.
    6. The rifling in the barrel causes the bullet to spin as it travels our of the barrel.
       The buller's speed and escaping gases produce a ''bang."
                                                                                                • The Mng pin Is held back under
•   How the shotgun shoots•                                                                       spring tension.
    I. A shorshell is inserted into the chamber.
    2. Closing the action pushes the firing pin back and holds ir under
       spring tension.
    3. Pu!Hng the trigger releases the firing pin. The Sring pin strikes the primer,
       producing sparks.
    4. Heat and sparks from rhe primer ignite the gunpowder. Gas converted from                 • When the trigger is squeezed, the firing pin
                                                                                                  moves forward. crushing and igniting the
       the burning powder expands in the shell.                                                   primer In the cartridge base.
    5. The expanding gas forces the wad and shm our of the plastic
       body of the shell.
    6. The escaping gases produce a ~bang" as the wad and shot leave the barrel.
    7. The wad quickly opens and F.ills away. The shot duster spreads. This spread
       is caJJed the shot string.
                                                                                                • The primer ignites the gunpowder, generating
                                                                                                  gas pressure, Which forces the bullet forward
                                                                                                  and out ol the barrel.




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                                                     Common Features of Firearms
                                                 J   AU types of firearms have actions and sights, and they may have safeties or magaunes.
Siogle-sllot rifles ate usually break·()( boll·
actions. Repeabng rilles Include tile bolt-action,   Fearures unique to rifles or shocguns are discussed in the following sections.
lever-actioll, pump-action, aod semi-automatic       F1rearm Actions
types. Operating the lever, boll ()( lorestock
ejects the empty cartrklge case, chambers a          Firearms can be dassilled by their action type. The action of a firearm is made
new round of ammunition, aod cocks the gun.          up of parts thar load, unload, fire, and eject the shotSheU or caroidge. Actions are
                                                     either singl~shor or repearing sryles. Single-shot firearms musr be reloaded each
                                                     time the firearm is fired. Repearing firearms have extra carrridges or shotshells ready
                                                     in a magazine, cylinder, or extra barrel.
                                                     a Bolt Action: A bolt-action firearm operates like opening and closing a door
                                                         bolr. The bolt solidly locks imo the breech, making ir accur.tte and dependable.
                                                         • To open the action, Uh the handle up, and pull it ro the rear.
                                                         • If the firearm is loaded, the camidgc or shorshell will be ejected as you pull
                                                           rhe bolt to the rear. To make sure it's unloaded, open the action, and check
                                                           both rhe chamber and rbe magazine for carrridges or shorsheUs.
                                                         • You can store a bolt-action firearm safely by storing rhe bolr separately
                                                           from tne firearm.
                                                     •   Lever Action. The lever-action ftrearm has a large metal lever located behind
                                                         the trigger. This handle usually forms the trigger guard as well.
                                                         • To open the acrion, push rhe lever downward and forward, whicl1 extracts
                                                           rhe cartridge case from the chamber and ejects it. lf a magmne holds e:ura
                                                           cartridges, another is immediarely ready ro be loaded into the chamber.
                                                         • lr's often difficult ro tell whether a lever-action firearm is loaded. To unload,
                                                           push the lever downward and forward repeatedly until no more cartridges
                                                           are ejected. To make sure ir's unloaded, open the action, and check both rhe
                                                           chanlber and the mag;Wne for cartridges.
                                                         • Most models also have an exposed hammer, which can be dangerous.
                                                         • Always nse extra caution to keep your hands away &om the uigger while
                                                           working the lever action.
                                                     a Pump Action: The pump-action firearm is fast and smooth. It allows the
                                                       shooter ro re-cock the firearm without raking his or her eye off the target. The
                                                       pump action also is referred ro as "slide action~ or "trombone acrion."
                                                       • To open rhe a.ction, slide the forestock co the rear, which extracts the cartridge
                                                         or shotsheU from the chamber and ejects ir. Sliding the forestock roward the
                                                         muzzle doses the acrion and readies anomer cartridge or shell for loading. A
                                                         pump-action firearm wW open only after it's Ared or if a release lever is pressed
                                                         and the forestock is pulled to the rear.
                                                       • To make sure ir's unloaded, open the action, and check both rhe chamber arui
                                                         rhe magazine for cartridges or shotsheUs.
                                                     • Semi-Automatic (or Autoloading) Action: As each shot is fired manually, the
                                                       ca.~ of rhe cartridge or shotshell is ejected automarically, and d1e chamber is
                                                       reloaded auromarically.
                                                       • To open the action, you musr pull back rhe bolt's operating handle (on a rifle
                                                         or shotgun) or the slide (on a pisrol). Most semi-auromatics, when the bolt or
                                                         slide is pulled back, will lock in the open position if the magazine is empty. If
                                                         the firearm does nor lock open, ir means chat a cartridge or shotshell from the
                                                         magazine has gone inro the chamber, making the firearm ready ro fire. A few
                                                         semi-auromatics do not lock opeo and must be held open to check the chamber.

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    • To unload, .first mnovf thf magnzin(, and lock the action open. Then make
      sure ic's unloaded--check both the chamber and the magazine for extra
      cartridges or shells.                                                                  Shotguns use many of the same actioos as
                                                                                             rifles-the pump action, semi-automatic
    • When closing the action for loading. pull back to unlo<:k the bolt or slide and        action, and bolt action. Tiley also use a break
      then let go, allowing it to travel forward on itS own. Do not guide it forward         action as either a single barrel ()( double
      with your hand because it may not seat properly.                                       barrels. Tile double barrels can be arranged
                                                                                             horizontally (side-by-side)()(
    • On a serni-auromatic, the rrigger must be pulled each time a shot is fired. This       vertically (over-under).
      makes the serni-auromaric different from the fully automatic firearm, which
      fires continuously as long as the trigger is held down. The fully automatic
      6rearm may not be used for hunting or sport shooting.
•   Break (or Hinge) Action: The break-action firearm operates on the same
    principle as a door hinge. Simple to load and unload, a hinge action is often
    chosen as a hunter's first firearm.
    • To open the acrion, point the barrel(s) at the ground. A release is pressed, and
      the stock drops downward. This al lows the cartridges or shotShells to eject or
      to be removed manually if the firearm is loaded.
    • Hinge-action firearms have a separare barrel for each shot rather than a
      magazine. Mosr models have one or two barrels, but some have up to four.
    • Some models also have an exposed hammer(s), which can be dangerous.
•   Revolving Action: The revolving action rakes itS name from a revolving
    cylinder containing a number of cartridge chambers. One chamber at a rime
    lines up with the barrel as the firearm is fired. Revolving cylinders may rorate
    either clockwise or coumerdo<:kwise, depending on the manufacturer. This type
    of action is usually found on handguns bur may be found on some older rifles.
    Revolving actions are referred to as either "single action" or "double action."
    • Single Action: Will fire only afrer the hammer has been cocked manually.
    • Double Action: Pulling the trigger both cocks and releases the hammer. A
      double-action revolver typically also can be hammer-cocked like a single-
      action revolver.




                                                   -
    Break-Action                               Double-Action
    Pistol                                     (Trigger-Cocking)
    (Single-Shot)                              Revolver




    Semi-Automatic                              Sing!&-Action
    Pistol                                      (Hammer-Cocking)
                                                Revolver




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                                                  ]   Safety Mechanisms
                                                      A safety is a device char blocks me aaion ro prevent the firearm from shooring until
The red outlines indicate Where                       the safety is released or pushed to me off position. The safety is intended to prevem
safeties are typically located on rtnes,
shotglllS, and handguns.                              the firearm from being fired accidemally. However, safeties should never be relied
                                                      on rorally ro protect against accidental shooting. Safeties are mechanical devices
                                                      subject ro mechanical failure !Tom wear and other facrors, and they can fail when
                                                      least expected. Also, safeties can be unknowingly bumped from the safe posicion as
                                                      your firearm is being handled or as ir Cltches on clothing or tree branches.
                                                      All safeties are IOCited around the receiver of the flrearm and are usually easy to
                                                      spot. Common types of safeties arc::
                                                      • Cross-Bolt Safety
                                                        • Common on pump and serni-auromadc firearms
                                                        • A simple, push-burron action that blocks me lrigger or hammer
                                                        • Usually located at rhe trigger guard or ahead of the hammer
                                                      •   Pivot Safety
                                                          • Common on handguns and bolr-action rifles
                                                          • A pivoting lever or rab d1at blocks d1e trigger or firing pin
                                                          • Located on me frame (blocks uigger) or on the bolt or slide (blocks firing pin)
                                                      •   Sllde orTangSrure~
                                                          • Common on some riAes and break-action shotguns
                                                          • A sliding bar or burron that blocks the firing action
                                                          • LoCIted on rhe rang (a me raJ suip behind the receiver) of break-action
                                                            firearms or on the side of the receiver on some riAes
                                                      •   Half-Cock or Hammer Safety
                                                          • Common on firearms with exposed hammers
                                                          • Positions me trigger at half-cock, away !Tom the firing pin
                                                          • Engaged by placing the trigger ar half-cock; some firearms auromaricall)·
                                                            rebound to the half-cock position afrer d1e lrigger is released
  Sal'ety          7p
 You shoUld never replace sate lllearm
                                                          • While nor a true safety, it is sometimes described as a mechanical safety device
                                                            by firearm manufactUrers
 handling wrth trusting the safety on a
 firearm. A safety is a mechanical device that        Magazines
 could fail Don't release the safety until Just       ln repeating firearms, the magazine is the place that srores the ammunition thar
 beiOfe you shool
                                                      has nor been fired. When you work the acrion, a cartridge is picked up !Tom the
 Knowing Where the safety Is and hoW It
 works Is not always as simple as it might            magazine and placed in the chamber ready ro be fired.
 seem.lhere are many types or safeties.               • Magazines are designed with a spring and follower, which push against the
 Sometimes people alter or modify their gUI'Is          cartridges ro move them inro the aaion. When cllecking a magazine ro make
 to disable the safety. This Is very dangerous,
 especially II IM gun gets into the hands of            sure it's empty, you must be able to eirher see or feel rhe follower; if you cannot
 an inexperlenced shooter. Be sure you know             see or feel the follower, there may be a cartridge jammed in the magazine,
 how the safety works on your own gun or                which can be dangerous. Tubular magazines require close attention to make sure
 any others you handle. Never alter or modify
 your firearm yoursell. Have an experienced             a cartridge is nor jammed in the magazine.
 gunsmith look at your gun II the safety does         • Magazines may be derachable or fixed.
 not work or II anything else Is wrong with lt.
                                                        • Detachable magazines allow you to remove extra ammunition from the
                                                          firearm by simply removing the magazine.
                                                        • Fixed magazines require the ammunition to be removed manually !Tom the
                                                          gun itself. These include rubular, hinged-Aoor-plate, and revolving magazines.




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Sights
A sight is a device used co line up the muzzle with the shooter's eye so that he
or she can hit the target. Sights are more critical oo a firearm thar fires a single
projectile (rifle and handgun) than on a firearm that shoots a pattern of shot
(shotgun). Shotguns usually have a simple pointing bead. Rifles typically have
an open, aperrure (peep), or telescopic sight. Most handguns have an open sight,
although some specialized handguns have a dot or a telescopic sight. Read more
about wing sights in Chapter Three.
• Bead Sight: Simple round bead set into the top of the barrel near the muzzle
    of a shorgun. Some shorgwu have a second, smaller bead about halfway back
    on the barrel. The shooter uses rhe shotgun ro "point" at and follow a moving
    object. The bead is used only for a reference as the shotgun is pointed and
    moved ro follow Aying or running targers.
• Open Sight: Combination of a bead or post front sight and a notched rear
    sight. These sights are simple and inexpensive. Open sights allow quick sighting.
    To aim, you center the top of the bead or post within the notch of the rear
    sight, and Une up on rhe target. Open sights can be Hxed or adjustable.
• Aperture (Peep) Sight: Combination of a bead or post front sight and a round
    hole set on the rifle's receiver dose to the shoorer's eye. To aim, you cemer the
    target in the rear peep or aperrure sight, and then bring che from sight into
    the center of rhe hole. An aperture sight lets you aim more accurately and is
    adjusted more easily than an open sight.
• Telescopic Sight (Scope): Small telescope mounted on your firearm. A scope
    gathers light, brightening the image and magnifying the target, and does
    away with aligning rear and fronr sights. The aiming device inside the scope
    is called the "reticle." To aim, you simply look through the scope. and line up
    the crosshairs, post, or dot with your target. Telescopic sights provide the most
    accurate aiming, which makes them popular for bunting.
• Doc Sight: Small device moumed on your firearm. A doc sight uses elecrronics
    or optical fibers to project a glowing dot or other mark on a lens in front of the
    shootels eye. Some dot sights also magnify like telescopic sights.




                                                                                               ~~kr...
                                                                                           Never use the scope on your telescopic sight
                                                                                           as a pair ot binoculars!




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                                                       Differences Between Rifles, Shotguns, and Handguns
                                                       The main differences berween rifles, shotguns, and handguns are their barrels and
Damascus or "Damascus twist• barrels are               the type of ammunition used.
older shotgun barrels that were typically made
before 1900. Iron and steel ribbons were               • The rifle barrel is long and has thick walls with spiraling grooves cur into the
twisted and welded together. Damascus barrels             bore. The grooved pattern is called rifling.
are weaker than modem barrels and are not
designed tor the high gas pressures created by         • The shotgun barrel is long and made of fairly thin steel that is very smooth
modem ammunition. Damascus barrels have a                 on the inside ro allow the shot and wad to glide down the barrel without
distinctive, irregular pattern of short, streak-like       friction. It's thinner chan a rifle barrel because it does not have to wirhsrand
marks around the barrel.
If you have a Damascus barrel gun, don't
                                                          as much pressure.
shoot it. The barrel may burst slightly ahead of       • The handgun barrel is much shorter than a ri£le or shotgun barrel because the
the chamber, crippling the shooter's hand or              gun is designed ro be shot while being held with one or two hands, rather than
forearm. If you have an older firearm and are
not sure whether it has a Damascus barrel,                 being placed against the shooter's shoulder. The bores of most handgun barrels
go to a qualified gunsmith to Identify its make            also have a grooved pattern similar to rifles.
before shooting It




                                                                                                   Rlfte or Handgun BarTel
   The bore of a rifle or handgun Is
   grooved, which puts a spiral spin on
   the bullet for greater accuracy. The
   boreof the shotgun barrel Is smooth
   because rifUng would spread the
   shot pattern too soon.




                                                       Rifling in the Rifle or Handgun Bore
  x:~kr                  ..
  Reloaded sheAs may have wrong Information
                                                       A buller fired from a rifle or handgun has a spiral spin that keeps it point-first
  or have been Improperly reloaded. It's               in flight, increasing accucacy and distance. This is achieved by the rifling inside
  Important to mark reloaded shells clearly.           the barrel, &om which the rifle got irs name. The barrel is thick and has spiraling
  Use only shells or cartridges that you have          grooves cut or pressed into the bore. The ridges of metal between the grooves are
  reloaded yourself or that have been reloaded
  by a person whom you know is competent.              called lands. Together, the grooves and lands make up the "rifl ing."




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A Rifle's or Handgun's Caliber
Caliber is used to describe rhe size of a rifle or handgun bore and the size of           The circles show bore sizes of common
cartridges designed for diffcrenr bores.                                                  calibers. Having the same bore size
• Caliber usually is measured as the diameter of the bore &om land ro opposite            does not mean different eartndges
                                                                                          are Interchangeable.
    land and is expressed in hundredths of an inch, thousandths of an inch, or
    millimerers. For example, a .270-caliber rifle bore measures 270/1 OOOths of an
    inch in diameter between the lands and has a larger bore diameter than a .223-        O AS,A58
    ca.liber rifle. However, there is no standard established for designating ca.liber.

                                                                                          o~A44
    In some cases, the caliber is given as the diameter of the buller, which is the
    distance between the grooves.
• Caliber designations sometimes have a second number rhar has nothing to do
    with rhe diameter. For example, the popular .30-30 is a .30-ca.liber camidge,
    bur the second number is a holdover &om the days when the cartridge took 30
                                                                                          0         .40, 10mm

    grains of powder. The "06" in .30-06 refers to the year (1906) ir became the
    official ammunition of the U.S. military.
• Every rifle or handgun is designed for a specific cartridge. The ammunition
                                                                                          0          .357, .38, 9mm


    must match the dara stamp on rhe firearm. For example, there are several
    .30-caliber firearms rhar use che same bullet size bur are designed for differenr      0         .30, .30-06, .308, .32.
                                                                                                     7.62mm,8mm

    cartridges (the .30-30, .30-06, .308. and rhe .300 Savage). If you cannot find
    the caliber stamped on rhe firearm, take ir to a qualified gunsmith.
                                                                                           0         .270, .280, 7mm

                                                                                                                                  ~
A Shotgun's Gauge                                                                           0        .22, .223, .25,
                                                                                                     5.56mm, &mm
Shotguns arc classi£ed by gauge, which is a measure related ro the diameter of the
smooth shotgun bore and the size of rhe shorsheU designed for that bore.
• Common shorgun gauges are I 0-gauge, 12-gauge. 16-gauge. 20-gauge, and
   28-gauge. The smaller the gauge number, the larger the shotgun bore. Gauge
   is determined by the number of lead baUs of size equal to the approximate
   diameter of the bore rhar it rakes to weigh one pound. For example, it would
   rake 12lead baUs with the same diameter as a 12-gauge shotgun bore ro weigh
   one pound. Today, howeve.r, gauge can be measured much the same way as
   caliber, by measuring the inside bore diameter.
• The .4 10-bore shotgun is the only exception to the gauge designation for
   shotguns. It has an acrual bore diameter of 41011 OOOrhs of an inch, which is
   approximately equivalent to a 67Y2 gauge.
• Each gauge ofshotgun shoors only shells of the same gauge. For example,
    12-gauge guns use only 12-gauge shells.
• The gauge of a shotgun is usually marked on the rear of the barrel, and rhe
   gauge of a sheU is marked on the shell as well as on the fucrory box.
                                                                                          0               16 Ga119'
                                                                                                          .665"




                                                                                           0
                                                                                            0             .545"



                                                                                             0            ..410 11«8
                                                                                                          .410"

                                                                                          Sizes shown are the minimum inside
                                                                                          bore diameter with a tolerance of +0.020".
                                                                                          Data is presented courtesy of SAAMI.

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                                                                              Exhibit 2
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shot string                                            Shotgun Choke and Shot String
   The three-dimensional spread of shot pellets
   alter they leave the batrel                         When a shorshell is fired from a shotgun, the pellers leave the barrel and begin to
choke                                                  spread or scarrer. The Farther me petlers rravcl, the greater the spread of the group
    The degree o1 narrowing at the muzzle end          of pellers (shot) both in length and diameter. This spread is called the shot string. To
    ol tile sholgu1 barrel                             control the shot string, shorgun barrels have a choke that will affect d1e shot pattern
shot pattern                                           when the shot string hirs the target. Read more about how to partern a shotgun
   The spread of shot pelets alter they hit a          in Chapter Three.
   non-moving target
                                                       • Your disrance from the target determines the choke you need. The choke of a
                                                           shorgun determines shot srring only. It has no bearing on shor speed (velocity)
                                                           or disrance (range). That is, the choke does nor alter the shotgun's power-it
                                                           just controls how tight or spread our the pellets will be at a specific disrance.
Steel shot is slightly lighter than lead shot of the   • The spread effect of the most common chokes is illusrrarocl below, showing how
same size-feduclng its velocity and distance
(range). Also, steel shot is harder than lead, so
                                                           many pellets will hit within a certain area at different ranges.
the individual pellets stay round, keeping the             • Cylinder choke is an unconmicred barrel. The shot string spreads quickly.
pattern tighter.
                                                           • lmprovocl Cylinder choke has a slighr constriction. It allows the shot string to
Some hunters use steel shot one or two sizes                 spread fairly quickly. This is a good choice for quail, rabbits, and other upland
larger to make up lor the difference In weight
from lead shot. Others use the same size steel               game ar relatively close ranges.
shot, or even smaller steel shot, to get more              • Modified choke has moderate constriction. The pelletS scay together longer,
shot into their patterns. You should pattern your
shotgun with various loads of steel shot before
                                                             making the shot string denser and more useful at longer ranges. This choke
hunting waterfowl with it.                                   is used often when dove hunting and wben using steel shot to hunt for
Effective pattern density Is the key. Maximum                ducks or geese. There is also an Improved Modified choke that is slightly
pellet coonts spread evenly across a 30-lnch                 righter than Modified.
circle are best Full chokes generally produce poor
patterns wilh steel shot.                                  • Full choke has tight constriction. The shot string holds together even longer,
                                                             making this choke good for squirrels, turkey, and other game shot at 40-yard
                                                             and longer ranges. Turkey hunters sometin1es use Extra Full or Turkey choke
                                                             for even denser parrems at long range.




                                                        Cirtles represent t11e diameter of a lead shot strillg (In   Bore narrowing Is
                                                        tnclles) as lfiStanee fm yards) increases.                   exaggerated ror clarity.




                                                                                                                           Improved Cylinder Choke




                                                                                                                                   Modified Choke



                                                        FuU                   ... .......
                                                                               5     10     15                                            Full Choke




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Match Firearms and Ammunition ... Correctly!
With so many kinds of firearms and types of ammunition, it's not always easy                   ~e.ty           7!,P
to match the proper ammunition to your firearm correctly-but getting it right                 Hang firas tiappen Wilen tne flnng pin has
                                                                                              struck the primer and there Is a delay before
is critical. lf you match the wrong ammunition to your gun, you can cause an                  the guo fires. This can occur for several
explosion, injuring or possibly killing yourself and any bystanders.                          reasons, such as a falJ!y firing pin or Sjl(ing,
                                                                                              defectrve priiToef, or other cartridge-related
• To match me proper ammunition m your rifle, shmgun, or handgun correctly:                   problems. Amisfire Is when the primer fails
    • Read the specific caliber or gauge designarions on the side of the barrel. Match        to Ignite the powder. Hang fires and misfires
       mat designarion rxllCt/y. For example, if it says ".270 Wmchester," you cannot         can happen with any kind ol flfearm.
       use ".270 Weatherby." Shorgun barrels will give the gauge and the length               Always treat a •misfire• or a "hang fire" as
                                                                                              If the firearm Is going to discharge at any
       of the chamber (for example, "12-gauge for 23,4-inch shells" or "20-gauge              second. and keep the rarearm pointed in
       magnum for 3-inch shells").                                                            a sale direction. Leave the action dosed,
     • Carefully read the information on the lid of the ammunition box. With                  and retain your Shooting position. Most
                                                                                              Importantly, maintain safe muzzle control
       shotgun ammunition, always check both the gauge and the shell length, and              at all times. Failure to follow these sale
       whether it's a magnum load, m ensure it marches the data on the barrel.                handling practices could result in a tragedy.
     • Finally, match the information on the ba.rrel to the information on the
       cartridge or shotshell bifori! yoz1 shoot. If in doubt, ask a more experienced         load
       shoocer or a qualified gunsmich. Some store clerks, although they sell                     The amount of gunpowder In the cartridge
                                                                                                  or shotshelltogelher with the weight of the
       ammunition, may not know about tbe differences in sizes or the type of                     bullet or shot charge
       firearm you shoot.
• Safety practices that will help you avoid using the wrong ammunirion are:
     • Purchase only the correct ammunition for your ftrcarm. Buy the exact
       caliber or gauge and length of ammunition for which your rifle, handgun, or
       shotgun was designed. For example, shotshell must be the correct length for
        the shotgun. The data stamp on the barrel of the shotgun will identify what
        length shell can be used. Never usc a shell that is longer than this length.          The rear ol a shotgun barrel should be
     • Carry only the correct ammunition for the Arearm you're using. Never mix               m31\<.ed with the gauge and the length
       ammunition, such as carrying a caliber or gauge your companion uses. A                 of tile chamber.
        common mistake involves putting a 20-gauge motshell into a 12-gauge
       S-hotgun. The smaller gauge shell will slide through the 12-gauge chamber and
        partly down the barrel, causing an obstruction. The shooter, especially when
        excited by the presence of game, then might insert a 12-gauge shotgun S-hell
        behind the 20-gauge shell.

     WARNING!
     Smaller shoiShells (such as 20-gauge Shells), II mistakenly led Into
     a 12-gauge gun, will slip past the chamber and lodge In the
     barrel, callSing serious personal Injury or gun damage
     if a 12-gauge shell Is loaded and fired. Some rifle
     and handgun ammunition also may fit Into the wrong
     gun, ueating a dangerous obstruction. The caliber
     or gauge stlmped on the end of the shell must _ , /
     match that wtllch Is stamped on the gun        ...,                                                                        1.Joa WIN..J
     barrel. Some barrels are not stamped.                                                                              The data stamp ol
     Be sure the nght ammunition Is                                                                                     a rille Is usually
     used in your gun.                                                                                                  stamped toward the
                                                                                                                        rear ol the barrel.


                                                                                    \
                                                                                 20-gauge
                                                                                  shotshel1
                                                                                lodged In a
                                                                            12-gauge barrel


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                                                       Know Your Firearm's Range
                                                       Knowing your frrearm's "maximum projectile range" is critical ro being a safe and
The Chinese are believed to have been the first
to use gunpowder, now called "black powder."           responsible hunter. The maximum projectile range cells you at what distances your
The first firearms were tubes closed at one            firearm's projectile could cause injury or damage to people, animals, or objects.
end, usually made of brass 04' cast iron. Early        When hun ring, knowing the "effective killing range" lets you immediately assess
firearms were loaded by pouting black powder           when a shot will give a clean kill. The effective killing range will always be less
and shoving a projectile into the tube fr04'0
the muzzle end and then igniting the powder            than the maximum projectile range. Learning to estimate distances and knowing
uSing a lighted wick 04' match. The powder             your firearm's projectile range and your effective killing range are important
burned, creating pressure that launched metal          parts of hunting.
objects ()( arrows. These fifearms are called
·munleloaders" due to their loading process.
                                                          Rifle: Maximum Projectile Range With Lead Bullets
Advances in ignition systems were the major                     CUJBER         10 Miles   l 1\iile        l Mo·           IJ\1,                       ~Mib

                                                                                            .,
                                                                                                                                           II
changes that brought about modem firearms.
                                                                  22 Short
 • Match.lock Ignition was developed in the
                                                                 221HV
    early 1400S. When the trigger is pulled, a
                                                               lll.RHV
    lighted wick is lowered Into a priming pan
                                                          22 WIN. MAG.                                      I
    located next to a vent hole drilled Into the
    closed end of the barrel. When the priming                          22Z
    powder Ignites, It lights the main charge.                          243
                                                                       n
 • Wheel lock Ignition replaced the wick of                    7M~IMAG.
    the matchlock In the 1500s. When the trigger                      31).30
    Is pulled, a coiled spring forces the rough·
    edged steel wheel to spin against a piece
                                                                      JG.06                                                   I
                                                                  300SAV
    of iron pyrite, creating sparks to Ignite the
                                                                 300H~H
    powder in the priming pan.
                                                                        J08
 • RinUock Ignition appeared In the late                              338                    •
     1600s. When the trigger Is pulled, the
     hammer holding a piece of ftlnt falls against
    a steel cover (the frinen) sitting over the
                                                                  35 REM.
                                                                     45-70
                                                                  \ln1-m~ z.,d\ml
                                                                                                           J
                                                                                                         \~,_ ..      tl.MOIOn .,...-,
     priming pan. The hammer knocks the cover
                                                          -                                      -                                                ~·- . ......., '-'\fa.\\'ll

     out of the way, and the collision of ftlnt and
     steel causes sparks that Ignite the powder in        Shotgun: Maximum Projectile Range With Lead Pellets
     the priming pan.
                                                              IUfl>IA Ofi. SOOft. IOOOfi.ISOO~ lr           ·
 • The pereussion lock (also called a
     "caplock") replaced the Hintlock In the                   -"o.9 - - --=
                                                                      ---·~""
                                                                  1
     early 1800s. Early percussion locks used             No. 7 ,
     priming C()(Opounds inside a melanic foil cap          Xo. 6     -..oi-w.::j:""
     placed over the vent hole. When the hammer                t>.o. S "'""-~~t--
     strikes the cap, the re5Uting spark Ignites               l'o. 4 --~--:~""
     the main charge.                                          No.2 ,__.__,;.
  • The next adVance, in 1835, was to arrange
     a series of percussion locks and barrels on
     a rotating wheel (cylinder) to allow a rapid
                                                          Din~
                                                              No.OO'--;------
                                                               Jl,o.O ,__.._~-~-



     succession of shots (Paterson revolver). With
     a single hammer and trigger, multiple shots          1O>- dug po--~-"l""-'"'""-~-~-~---
     can be fired without reloading-a repeating
     firearm. The percussion cap revolvers are the        ·I IOs~lu~·~~~~±~~======-----L-..:.._...1.._--'
     forerunners of modem revolvers.
  • The percussion cap also paved the way
     to the self·contained ammunition we have              Handgun: Maximum Projectile Range With Lead Bullets
      toda~rtridges and shotshells.ln the                         CAUSER ~ft.                 16SO ft.            I \IJ" I•              ·•·tlh             ....~
      mid 1800s, gunpowder, the projectile, and                   .25 ACP
      the primer were put together Into a single                                                                      I                    I
                                                                  .4SACP
      housing that could be loaded quickly.                                                                           I
                                                                 .38SrL
  • Actions were developed to allow shooters                                                                          I
      to load caltrldges and shotshells at the rear,         .357 MAG
                                                                                                     L                I
      rather than the muzzle, end of the barrel.               .40S&W
                                                          lld9mmpua
                                                                                                     [                I
                                                                 .+i ii1AG


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Cleaning Your Firearm                                                                    (
•   Clean your firearms after every use to keep them in top condition. Every hunter
                                                                                          • Assorted rod tips-brushes, mop tips,
    should own a complete cleaning kit.                                                     slotted tips, jag tips
•   Work on a cleared table or bench. Always give cleaning your full attention.           • Bore light
    Never dean a firearm while doing something else.                                      •Cieancloths
•   Follow these basic seeps to dean your firearm.                                        • Cleaning rods
    • Point the muzzle in a safe direction, and make sure the gun is unloaded.            • Cotton swabs
                                                                                          • Dental mirror
    • Remove all ammunition from the cleaning bench.
                                                                                          • Gun grease
    • For the most thorough cleaning, field srrip the firearm as directed in the
                                                                                          • Gun oil
      firearm owner's manual. Then dean each part separately.                             • Gunsmith screwdrivers
    • Follow the instructions in your cleaning kit. If possible, clean the barrel from    • Patches appropfiate for the caliber or
      the breech end, using a bore guide and a cleaning rod holding a bore brush or         gauge of the firearm
      patch wetted with solvent. Pass the brush/patch all the way through the barrel.     • Pipe cleaners
      Repeat several times with fresh patches. You may need a larger brush for the        • Solvent
      chamber. Use a hand brush to clean the crevices where powder residue accu-          • Stand to hold the firearm securely In a
      mulates. Follow with a dry patch, and finish with a lightly oiled patch for the       horizontal position
      barrel. Use cloth for other parts.                                                  • Toothbrush
•   Use a flexible «pull-through" cleaning cable when cleaning firearms with lever or
    semi-auromatic actions co prevent dirt, grime, or debris &om being pushed into
    the action area.
•   Use cleaning solvents in a well-ventilated area and only as directed.
•   If cleaning from the muzzle end, use a muzzle protector so thar you don't
    damage the rifling near the muzzle.




    Break Action




                                                                                         Semi-Automatic
                                                                                         Pistol



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                                                                                        Storing Your Firearm
                                                                                          • Firearms must be stored tmwadtd
                                                                                              and in a wclud location, s~parau
                                                                                             from amm11nirion. The storage area
                                                                                              should be cool, dean, and dry.
                                                                                              Storing firearms in dosed gun cases
                                                                                              or scabbards isn't recommended
                                                                                              because moisrure ean accumulate.
                                                                                          • Store guns horizontally, or with
                                                                                              the muttle pointing down. When
                                                                                              guns are srored upright, gravity
                                                                                              pulls gun oil downward into the
                                                                                              accion, which forms a sticky film.
                                                                                              Oil also can drain onto the stock,
                                                                                              softening the wood.
                                                                                          • Displaying guns in glass cabinetS or
                                               wall racks is an invitation w thieves and curious children. Ideally, guns should
                                               be hidden from view and locked. Storage devices with hidden compartmentS are
                                               available. For the best protection against theft and fire damage, purchase a safe.




• Store ammunition, reloading supplies, and
  firearms in separate locked compartments.
• Keep an ammunition away from flammables.
• Store ammunition in a cool, dry place to
  prevent corrosion. Gomxled ammunition
  can cause jamming, misfires, and other
  safety pr~ms.




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                                                                            Exhibit 2
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                     .                             .Basic Shooting Skills                                     Chapter Three I Page 23


       iiJ   I   I
                            1
                            I
•   Define ~good marksmanship" and explain why                          • List the four common shotgun chokes, and give an
    it is important.                                                      example of when you would use each.
•   List the three fundamentals of good marksmanship.                   • Explain the basic steps for patterning a shotgun.
•  Define "sighr alignment" and "sight picture."                        • Explain four shotgun-shooting techniques char wiU
•  Demonstrate bow to determine your master eye.                          improve accuracy.
•  Explain the basic steps to sight-in a riAe.                          • Demonstrate proper shotgun-shooting seance.
•  Explain four rille-firing techniques that will help                  • Explain the difference berween swing-through and
   improve accuracy.                                                      sustained lead when hunting with a shotgun.
 • Demonstrate four proper positions for riAe firing.                   • Demonstrate proper handgun-shooting stance and grip.

Good Marksmanship and Accuracy
A F.lir amounr of knowledge, skill, and experience is required to become a sua:;essful
humer. One of the essential skills is good marksmanship, which is accurately and
consistencly hjrting the target where planned. When hunting, accuracy is critical for
a clean kilL Good marksmanship is built on three fundamentals:
• Proper sight adjustment or patterning
• Proper shooting technique
• Practice
Know Your Accuracy limits
Ethical hunters know their personal accuracy and limit their shots accordingly.
•  An 8-inch paper plate is the srandard target for establishing deer hunting
   accuracy. An 8-inch target is about the same size as the vital area of a
   deer. You need to be able to hit the paper place consistendy at the
   same distance and from the same shooting position you will be
   using wben hunting. The fact that you can hit an 8-inch target ar
    I 00 yards from a bench rest does nor mean you will be able to do
    the same from a sr:anrung or kneeling position.
• Before hunting, practice until you are confident you can bit the
    reqWred target at the distances and from the shooting positions
    you expect to use in the field. When hunting, limit your shots to
    your mosr accurate range.




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l@tiillml                                         Rifle Firing
                                                  Sight Alignment
                                                  Sighr alignment is the process of lining up rear and front sights. The sight
                                                  picrure is the image you see when the sights are aligned correctly with the rarger.
                                          sight   To ensure mar the buller wiU rravel ro rhe rarget in your sight, it's necessary to
                                                  sight-in your rifle. Before you can do that, you need to determine your dominant
      Sight correctly aligned on target           or "mastern eye.




MlsallgnecJ-buRet
goes right of target




       •
                           Mlsallgned-bulet
                           goes high and left
                           of target               With an open         With an aperrure      With a relescopic    With a telescopic
                                                   sight, you line up   sight, you line up    sighr with a         sight witll a dot
                                                   the rarget wim       the rarget with the   crosshair reticle,   reticle, you Line
                                                   the blade or bead    front sight within    you line up the      up the target with
Misaligned-bullet                                  of the front sighr   the tear peephole.    rarget wirh the      the dot of the
goes high of target
                                                   within the notch                           crosshairs of        sight. The dot
                           Misaligned-buRet        of the tear sight.                         the sigbr.           musr be centered.
                           goes low of target

                                                  Dominant or Master Eye
                                                  • Just as you have a dominant hand, you also have a dominant eye. You need
                                                    ro aim with the dominant~r master-eye for the most accurate shooting.
                                                    Usually your dominant eye is the same as your dominant hand, bur nor always.
                                                  • To determine your dominant eye:
                                                     I. Form a triangular opening with your thumbs and forefingers.
 Saf'e.ty 77.P
 11 you are COlor-blind, you should be              2. Stretch your arms out
 especialy cautious when hunting. You may               in front of you.
 not be able to distinguish the fluorescent
 Ofange clothing of other hunters, nOf the          3. Focus on a distant object
 color markings that help Identify game.                while looking through the
                                                        triangular opening and keeping
                                                        both eyes open.
                                                    4. Bring your hands slowly co
                                                        your face, keeping sight of the
                                                        object through the opening;
 .f'eP?e/11ber...                                       the opening will come to your
 Good vision Is the foundation IOf good
 shooting and hunting safety. Have your eyes
                                                        dominant eye naruraUy.
 examined on a regular basis.                     • If you're not sure, close one eye ar a time. The weak eye will see me back of
                                                    your hand; the Strong one will be focused on me object in the triangle.




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Sighting-In a Rtne
• Rifle: buUcts don't tr.!Vd in a straight line. They tr:lVel in an arc, formed by the      if'eA'Iefl1W ..
                                                                                            You must sight-In yoor rtne With the
  puU of gravity. ~Sighting-in" is a process of adjusting the sights to hit a target at     ammunition yoo plan to use. Be sure yoo
  a specific range. Deer hunrers, for example:, often sight-in their rifles to hit the      sight-In, and practice firing yoor rtfle before
  buU's-eye at 100 yards.                                                                   yoo go hunting.

• All rifles should be sighred-in before every hum using the ammunition you plan
  to use, especially rifles with peep or telescopic sights. Guns you sighted-in prior
  ro your lasr ouring could have been knocked our of alignment by a single jolt.
  That misalignment could mean the difference between a successful hunt and a
  disappointing experience.




                                                      lOyards
                                                  (bullet hits below
                                                      bull's-eye)
                                                                         25 yards
                                                                        (bullet hits
                                                                     above bull's-eye)
                                                                                                                   ®-
                                                                                                                   100 yards
                                                                                                                 (bullet hits on
                                                                                                                   bull's-eye)




•   Other than ensuring accurate shQ[s, sighting-in a rifle bas other advantages:
    • Forces you to practice                                                               (.
    • Makes accurate firing possible
                                                                                           Use bore or collimator sighting-In Initially to line
    • Helps identify problenlS with your firing technique                                  up the nne on the paper target. However. these
    • Hdps determine: the Farthesr range at which you can hir your target                  techniques alone are not sufficient to sight-in a
    • Improves safety by helping you know where your rifle wiU fire                        rifle. You must mal<e final adjustments by firing
                                                                                           the rifte With the same ammunition you plan to
    • Builds confidence in your firing ability                                             use to the field.
                                                                                           • Bore sighting-In With bolt-action rifles:
                                                                                               Remove the bel~ brace the firearm on
                                                                                               sandbags, and look directly through the bore.
                                                                                               Correct the rifle's position unbl you see the
                                                                                               buU's-eya In the center or the bore. Adjust the
                                                                                               sights to give you a good sight picture.
                                                                                           • CoUlmator sighting-In for rtfles wlthou1
                                                                                               bolt actions: A collimator slips into the
                                                                                               muzzle end of the barrel and allows you to
                                                                                               adjust the sights, much like bore sighting-in.




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                                                  Signting-ln Procedure
                                                  • Fire your rifle from a solid bench rest wirh rhe lorcstock resting on a pad or a
                            Adjust sights           sandbag. Don't rest rhe gun on irs barrel-it will shoor higher than normal. Ideally,
                            up and left             use an adjustable shooting tripod witb sandbags. A spotting scope is also useful.
                                                  • Sight-in instructions are print.:d on some targets available from retail oudets or
                                                    manufacrurers. The sighting-in process for most centerfire rifles begins at 25
                                                    yards and then should be: repeated at 100 yards. The basic steps involve firing
                                                    at least three shots carefully and oonsisrendy at a target. If rhe bullets form a
       Rille correctly
       sighted-In fOf                                relatively small group of holes on rhe target, but not where you were aiming,
       this particular                              rhe sights will have to be: adjusted.
       range
                                                  • When adjusting peep or relesoopic sights, rhe rear sighrs or dials are adjusted
                                                    by a certain number of minutes-of-angle, or "clicks,~ in a cerrain direction.
Use a sight-in target to adjust your sights.         Read the sight's instruction manual to ~ee how much each click cl1anges rhe
                                                    sight at 100 yards.
minutes-of-angle
   The standard measurement unit of shooting      • The rear sight is moved in rhe same direction you want your shot ro move on
   accuracy; one minute-of-angle (MOA) Is           rhe target. Moving shots from side to side is "adjusting for windage." Moving
   1/60 of one degree, or approximately one         shors up or down is "adjusting for elevation."
   InCh, at i 00 yards
                                                  •    Specific instructions abour rrajecrory ru1d what fractions or inches you
                                                       should be: above rhe bull's-eye at 25, SO, or l 00 yards are usually included on
                                                       sight-in targets. You also might consult a ballistics charc or get help from 3Jl
                                                       experienced shooter.
                                                  Rifle·firing TechnJques
                                                  Using correct l:lring techniques will help you steady the riAe for rhe most
                                                  aceurare shooting. Bear in mind rhru rhese arc only the basics. Further srudy will
1. Aim carefully, aligning your sights.
                                                  he.lp you understand other facrors that can affect your accuracy, sucll as wind,
2. Tal<s a deep breath. Md tl1ell release
   abcut hall of ll
                                                  hear, 3Jld parallax.
3. Squeeze lhe trigger slowly.                    • Shooting From a Rest: When shooting in the field, the sa.fest 3Jld most
4. folk)w lhrtlc.9t                                 accurate shors are taken &om a rest-a log. large rock, or any other srable
                                                    object. Don't rest rhe barrel directly on a hard surf.lce, or the riAe will fire higher
                                                    than normal-pur some padding, sucll as a hac or a jacker, under the rifle.
paralax                                           • Breathing: Your breathing can move the riBe just enough to throw off
    Optical bending of tetescopic crosshalrs In     your shot.
    relation to the target
                                                    • When you're ready to fire, draw a deep brearh, 3Jld exhale abour half ofir.
                                                    • Then hold your breath as you squeeze the trigger.
                                                    • Bear in mind that if you hold your brearh coo long, your heart beats faster,
                                                      whim increases your pube and causes the ri£1e ro move. lf you notice rhis
                                                      happening, take another breath and stare over.
                                                    • At rimes the exc.iremenr of spotting game will make ir more difficult ro
                                                      control your breathing. Try ro relax 3Jld follow rhe correct procedure.
                                                  • Trigger Squeeze: Jerking the trigger or abruptly clenching the trigger hand can
                                                    move the gun enough to cause a miss.
                                                    • To squeeze rhe trigger without jarring rhe gun, simply apply slow, steady
                                                      pressure unci! rhe gun fires.
                                                    • Practice makes breath control and proper trigger squeeu habitual.
                                                   •   Follow Thronglc After rhc buller fires. it's import3llt co continue the squeeze
                                                       or follow through. That prevents you &om jerking the gun before the buller has
                                                       left the barrel.


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Firing Positions
There are four standard rifle-firing positions: prone, standing, sitting, and kneeling.     5al'ety 17p
                                                                                           Shooting a firearm can cause Immediate
Prone                                                                                      and permanent heanng loss and can
The prone position is me sreadiest of the four positions. Because it's the easiest to      damage }'OUr VISion.
bold, it's the best position for mastering the fimdarnentals of firing-aiming, breath      • When shoobng any firearm, always
control, trigger squeeze, and follow through.                                                wear ll(oper1y fitting ear protectiOn.
                                                                                             f1lf target practice, use an earplug
                                                                                             or earmuff (or both) with a high
                                                                                             Noise Reduction Rating (NRR).



                                                                                                                   When hunting, use
                                                                                                             electronic or non-tlnear
                                                                                                       devices that allow fl()(TTial or even
                                                                                                 enhanooo hearing but block damaging
                                                                                              levels of sound. f1lf more Information,
                                                                                              visit the National Hearing Conservation
                                                                                              Association website at
                                                                                              www.hearlngconservatlon.org.
                                                                                            • Also wear suitable eye protection, such as
                                                                                              shooting glasses with high-impact lenses,
                                                                                              to protect your vision when shooting.




                             With neither arm
                             supported, this is me
                             most difficult position
                             for firing an accurate
                             shot. Ramer man trying
                             to hold me barrel steady,                                                         Both arms are
                             which is impossible, try                                                          supported by your
                                                                                                               1~. Next to me
                             to keep movement of
                             me barrel to as small an                                                          prone position, this is
                                                                                                               me steadiest position.
                             area as possible. Smooth,
                             narural motion will
                             produce the best shor.




                                                                              Kneeling
                                                                              Wim only one arm braced, me
                                                                              kneeling position is less steady man
                                                                              the prone and sitting positions.




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                                                   Shotgun Shooting
                                                   As with firing a rille, good shotgun marksmanship begins with proper preparation,
                                                   whkh includes adjusting your gun and ammunition for maximum performance
                                                   and mastering shotgun techniques.
                                                   Matching Choke to Your Quarry
                         Point a shotgun.
                                                   •    A choke allows you to fine-rune your shotgun for the type of game you're
                         Focus your                     huming. Builr-in or arrached to the muttle end of the barrel, the choke is
                         eye on the target              a constricrion char controls the shot suing, rhus affecting pellet density at
                                                        various distances.
                                                   • The tighter the constriction, the greater the distance that the cluster of pellets
                                                     stays together. The looser the constriction, the laster the shot pattern spreads.
                                                     Recall from Chapter Two that the most common chokes, ranging from tighresr
                                                     to most open, are:
                                                     • Full
                                                     • Modified
                                                     • Improved Cylinder
                                                     • Cylinder (unchoked)
                                                   •     For example, someone hunring small, fast, close birds would gener~lly use an
                                                         1mproved Cylinder or Modified choke, which creates a broad shot pattern
                                                         that spreads quickly at close ranges. Conversely, someone hunting a larger, less
,f~~kr...                                                mobile bird that is usually farther away, such as a turkey, would select a Full
Point a shotgun. Pull tile trigger.                      choke, which concentrates the shot in a smaller area. Pellet size also varies based
Aim a rifle. Squeeze tile trigger.                       on the size of the game. The charr below suggests choke selections for a variety
                                                         of game. Ir is intended only as a guide-<:hoice of choke may vary depending
                                                         on ammunition, rarget distance, and hunring conditions. Always pattern your
                                                         shotgun fur tbe quarry you are bunting and the ammunition you arc using.



                                                                                                  Commonly Used Choke
                                                                  Quarry                    (based on typical distance from quarry)
                                                       Goose                             Improved Cylinder or Modified
                             your eye on
                             the crosshairs            Duck                              Improved Cylinder or Modified
                             or front sight.
                                                       Turkey                            Full or Extra Full                             '·
                                                       Pheasant                          Improved Cylinder, Modified, or Full
                                                       Grouse                            Improved Cylinder or Modified
                                                       Woodcock, rail, or snipe          Improved Cylinder or Modified           "'l'

                                                       Dove                              Improved Cylinder or Modified
                                                                                                                                        ~-
                                                       Quail                              Improved Cylinder or Modified
                                                       Rabbit                "·I         Improved Cylinder or Modified
                                                                                    '~
                                                       Squirrel
                                                                                   "'
                                                                                          Modified or Full       ...

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Patterning Your Shotgun
                                                                                                ~en?efl?ber ...
• No tWO shotguns will shoot identical pellet patterns. ln some cases, me pattern              Shots at game birds fn f1lgllt should be
  will be off-center. ln other inst:~.nces, there may be gaps in the pattern. Ln               hmited to YQUf "maximum effective range.·
  addition to the firing characteristics of the gun. the gun's choke. the brand of             This Is 111e distanc:e at which you can hit
                                                                                               the target conslstenUy. Shooting beyond this
  shotshell, the shot siu:, and the type of shot also affect the pattern. ln order             diSiance leads to an Increased number of
  to scl(Ct ammunition that provides rhe best performance, it's necessary to                   birds wounded and lost Also, firing at game
  wpattern" your shotgun.                                                                      too close may destroy the meat
• Patterning can be done with simple, homemade targets-sheets of blank paper
  about 4 x 4 feet in size. A commercial rarger with a buU's-eye also can be used,
  but the bull's-qe is used only to aim at-it is not used in steps 2-4 below. To
  pattern your shotgun, follow these steps:
   I. Hre one shot at the cc:nrer of the rarget (or buU's-eye) from the: distance that
      you expecr to be from your quarry (for example, 35 yards if bunting game
                                                                                                         ..(: -:·:....·...·_....·;....
                                                                                                                              : .: ~:
                                                                                                                                  .
                                                                                                                                   :·: : .. ·-)·.
                                                                                                                                           .. .
                                                                                                                                  :... .·...
      birds). Repeat this t:wo more rimes, each rime with a new sheet of target paper.
  2. On each of the three targets, draw a 30-inch circle around the densest parr of
      the shot pattern. (This is nor necessarily the cemer of the paper.)
  3. On each of Lhe three rargecs, count the number of pellet holes that full within
                                                                                                              -· s:·.-
                                                                                                               Desirable Pattem
      the 30-inch circle, marking them with the marker as you count each one.
  4. Calculate the percentage of the load that is expected to land in a 30-inch
      circle at the disrance that you expect to be from your quarry.
     -Average the pellet counrs within the 30-inch circles (add the three counts
       from the previous step, and divide the sum by three).
     - Then divide the average pellet count by the number of pellets in the load for
       the ammunition you are using, and multiply this result by I 00.
• The pattern of pelletS within a 30-inch circle should be of a proper, even
  density to ensure a clean kill. The pattern should contain a sufficient percentage
                                                                                                         .c ·J    -....____.;/
                                                                                                            l.lndesirable Patlem
  of the load, which should be at least 55% to 60o/o.
• Continue this process, rrying diffe.rent choke and load combinations, until
   you get an even pattern density with a sufficient percentage of the load
   within a 30-inch circle while shooting from the distance that you expect to be
   from your quarry.
Shotgun-Shooting Techniques
Unlike rifle firing, quick reflexes and flexibility are essential for effective shotgun
shooting. Proper shotgun techniques will help you develop the rapid, fluid response
you need to hit your target.
• Shooting Stance
   • A shotgun is almost always shot at a moving target from a standing position.
     You must be able to swing freely over a wide arc and maintain control. That
     requires a relaxed, balanced stance.
   • Stand with your feet spread about shoulder-width apart and your kn~ bent
     slightly so chat you arc balanced perfectly. Bring your left foot slightly forward
     (if you're a right-handed shooter), and lean your body in the same direction.             Use a relaxed, balanced
     The position of the feet is important. The roes of your forward foot should               stance with your feet
     point at about 45 degrees toward the target. Take the time to place your feet             shoulder-width apart
                                                                                               and your weight slightly
     properly, even for a quick shot.                                                          IO!Ward on your left
   • Keeping your knees slightly bent makes it easier to swing with a moving                   loot Ql you're a right-
     target. The benr leg to the rear supports the movements of your hips, allowing            handed shooter), and
                                                                                               lean your body In the same direct1011.
     you to swing smoothly.


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                                                 •   Pointing
                                                     • Because targets usually appear suddenly and move quickly. there's no rime to
                                                       "aim" a shotgun. ll's designed to be poimed, with the eye sigh ling along the
                                                       10p of the barrel or rib.
                                                     • The sight is usually a bead on me from of the gun. Your eye must be in line
                                                       with the barrel, so it's important to position your head properly on the stOck.
                                                     • When you bring the gun to your face, the stock should fit snugly against
                                                       your cheek with your eye on mat side above me centerline of the gun.
                                                       lf you cannot assume that position comfortably, you may need ro adjusr
                                                       the "gun fie."
                                                 • Shouldering th.e Shotgun
                                                   • When you bring the shotgun to your shoulder, t.he stock should be brought to
                                                     your cheek first and then back to your shoulder.
                                                   • A common error is lowering the head and cheek to rhe stock, instead of
                                                     bringing the srock all the way up to the cheek. When done properly, with
                                                     your head naturally erect, the gun burt always should come to the 5ame spot
                                                     on your shoulder.
                                                 • Pulling the Trigger
                                                   • Unlike rifle firing, quick rcigger action is important when hunting with a
                                                     shotgun. Slap the rcigger rather than squee-z.ing it.
                                                   • Because the rcigger is pulled quickly and the body and gun are typically in
                                                     motion, breach conrcol isn't necessary.
                                                   • Continue the shotgun's swing as you pull the trigger. Stopping the swing as
                                                     you shoot will cause you to hit behind a moving target.
                                                 Leading the Target
                                                 The two most common methods ofleading targets at long distances are swing-
                                                 through and sustained lead.
                                                 • Swing- Through
                                                   Poinr your shotgun
Snap-Shooting                                      at a moving target,
Snap-shooting is a technique to use ~ you must     and swing with it. Increase
make a quick shot and the target is stralght       the speed of the gun so mat the
ahead at close range. You simply raise the
shotgun and point where you lhink the target
                                                   muzzle passes the rarget, and then
will be when the shot anives.                      fire. In other words, literally "swing
                                                   through" the target and fire at a
                                                   blank space in from of the target.
                                                                    Swing-through is the
                                                                    best technique for the
                                                                    beginning student.

                                                                     • Sustained Lead
                                                                       T his method is a little more challenging
                                                                       because it requires more experience. You
                                                                       estimate the length of rhe lead necessary to hit
                                                                       the rarger, and maintain that lead as you swing
                                                                       with the target, fire, and continue the swing.




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Handgun Shooting
Hunting with handguns has grown in popularity in recenr years. Many of the                     Sar4!'ty         -r:p
fundamentals of rifle firing also apply to handguns.                                          • Permanent heartng loss nappens gradually
                                                                                                with each llandgtJn blast. Choose an
loading and Handling                                                                            ear protection device with ahigh Noise
                                                                                                Redoctioo Rating (NRR).
• Single-aaion revolvers typically load through a gate on the right side of the
                                                                                              • Eye protec1lon Is esseotlal when shooting
  frame. To roran~ the cylinder, pull the hammer back to half-cock. For a safer                 a handgun to prevent damage from a
  carry in the holster or hand, leave an empty chamber in from of the hammer.                   ruptured sheD or firearm malfunction.
                                                                                                Wear eye Jl(Otec1lon also whenever
• Double-aaion revolvers have cyUnders that fall downward, exposing all                         disassembling or cleaning a handgun.
  chambers for loading.
• Semi-automatics usually fire rounds stored in a magazine that is inserted in the
  grip or handle.
Position and Grip                                                                               Double-action
                                                                                                revolvtlf ready for
•   Body position and grip are viral co hirting d1e rarget. The hand position on                loading
    the grip of a pistol is especially crlrical. Although the grip configuration of the
    revolver and scmi-auromatic are different, the grippi ng procedure is the same.
• Hold the handgun high on the grip so that the recoil is direaed back co d1e
  hand and arm In a straight li ne. This allows better repeat shoes and more
  accurate shooting. Usc a rwo-handed hold whenever possible, applying pressure
  from front co rear.
• When hunting. use a tree trunk, sready limb, or any ocher stable objea as                                                Semi-automatic
                                                                                                                           with magazine
  a rest. Placing some padding. such as a hat or a jacket, on top of a hard rest
  helps with your aim.
Sight Alignment
•   Sight alignment, which is imporram in rifle firing. is even more important in
    pisrol shooting because of the shorter distance between    me
                                                                sighrs. Typically,
                                                                                               .f!~eftfkr...
    handgun sighrs consist of a square rear notch sight and a heavy square from
                                                                                               • Use a good holster with a safety strap.
    blade sight. This arrangement is easy ro align.
                                                                                               • Draw a handgUn ooly when you see game.
•   Mosr handguns are initially sighted-in at 50 feet.                                         • Cock your guo only when ready to Shool
Aiming                                                                                         • Keep your finger outside the triggef guard
                                                                                                 until ready to shoot.
•   At the shooting range, many handgunners usc a sight picrurf mat places the
    bull's-eye on the rop of the front sight, rather than placing it in the sights over
    the center of the rarger. However, hunters should hold the alignmenr directly
    over rhe vital area.
•   Scopes with long eye ~"flier have become popular with handgunners and offer
    exact sighting for hunters. Scopes may rake longer to align on a rarger than
    open sights, bur they're usually more accumrc.
Shooting
The pistol-shooting fundamentals ofbrearh conrrol, trigger squeeze, and foUow                 Use eye and ear
through are almost identical ro those in rifle firing. There are, however, some               protection. Assume a
                                                                                              stable position. Grip tlle
important differences to remember.                                                            handgun witll both hands.
• The first joint of the finger should rake up trigger pressure, not the tip, as is           Do not cross the thumb
                                                                                              of tlle supporting hand
  often done wim rifles.                                                                      behind the slide of a
• When a revolver is fi!"fd, powder flashing at the !Tom of me cylinder can cause             semi-automatic.
  burns. Be sure to keep your fingers away from the front of the trigger area.
• The slide and hammer of a semi-automatic gun can deliver a bruising blow
  when hdd roo close co the body. All handguns should be fired ar arm's length.

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Chapter Four ' Page 32                                   Basic Hunting Skills
                           l
                            I
• Explain why it is important tO know how co                              •   List four types of shots, and rdl when they should be
  recognize your quarry.                                                    used and when they should be avoided.
• Name the four basic animal characteristics that can be                  • Explain what to do when approaching downed game.
  used for identification.                                                • Stare the fust thing you should do aher you are sure
• ~ibe five different hunting strategies.                                   your game is dead.
• Explain why it is imporrant to know where ro place a                    • Ust the three main causes of mear spoilage.
  vital shot for the game you arc hunting.                                • List the basic steps for 6cld dressing game.
• IdentifY the vital zones for various game when viewed
  from different angles.

                                                      Planning and Preparation
                                                      • A successful hunt begins with careful planning and preparation. The process
                                                        usually requires more time rhan the hum itself.
                                                      • Here are some steps you should rake to prepare for a hunt.
                                                        • Educate yourself about the game you'll be hunting and its environment.
                                                        • Obtain the most current state regulations.
                                                        • Buy appropriate clothing and gear for the environment.
                                                        • Secure lease arrangements and permits (dogs and horses may require a
                                                          veterinarian's certificate or a current vaccination record).
                                                        • Visit rhe site in the off-season to prepare blinds and cabin Facilities.
                                                        • Sighr-in rifles, handguns, and bows; pattern shorguns.
                                                        • Sharpen your skills at the shooting range.
                                                        • Pack extra firearms, scopes, bowstrings, etc.
                                                      Know Your Quarry
                                                      • Of all the steps of preparation, educating yourself abour the game you're
                                                        hunting is one of the most critical. Understanding your quarry will increase
                                                        your success and add ro the enjoyment of the experience as well.
                                                      • In many cases, knowing your quarry is also necessary ro ensure that you're
                                                        taking legal game. For ex.ample, you may need to determine the sex of game
                                                        birds on sight or quickly recognize proteeted species as they move inco firing
                                                        range. If you hunt in a region where white-tailed and mule deer occupy the
                                                        same area, you'll need m know how to identifY both.
                                                      • There are many ways that wild animals arc classified, but huncets are concerned
                                                        with four basic categories.
                                                        • Large mammals: Big game, such as deer, elk, and bear
                                                        • Small mammals: Small game, such as rabbits, squirrels, and raccoons
                                                        • Upland birds: Turkey, grouse, quail, and dove
                                                        • Watertowl: Ducks and geese




It is critical that you educate yourself about your
quarry wllen preparing to hunt. Understanding
game species win add to your enjoyment and
increase your chances of success as wen.

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Animal Characteristics
Whatever you're hunting. a basic undemanding of an animal's characteristics will
help you develop an effective srraregy for identifying and tracking it.
• Animals can be identified by four basic characteristics.
    • Distinctive Markings: The black cheek parch on male pronghorns; the "flags"
      of the white-r.Uied deer; the face pattern on a gray fox; the green head on a
      mallard drake; the red, whire, and blue on the head of a male turkey
    • Sounds: The wild call of rhe sandhill crane, the familiar honk of the goose,
      the gobble of a srrutting "rom," the grunt of the deer, the howl of the coyote
    • Movement: The bounce of mule deer, the fast or slow wing beats of some
      warerfowl, the 1.igzag in-flight partern of the common snipe when flushed
    • Group Behavior: Flock patterns, such as the F.uniliar V shape of certain
      migrarory birds; various types of herd behavior
•   Further study will help you learn other ways to identify and understand your
    quarry, including signs the animal leaves, camouflage capability, and behavior.
Hunting Strategies
Hunting techniques are skills honed through education and experience. Ideally,
beginners should seek the guidance of experienced hunters on their initial hunts.
Still Hunting
•   As the name implies, still hunting is walking srealrhily through an animal's
    habirat, stopping frequendr-somerimes for long periods-to scan and Listen
    for game. Typically, big-game hunters use this method in unfamiliar terrain or
    where stands are impractical or forbidden.
• As a general rule, spend at least I 0 rimes longer being still and observing than
    walking. Keep a low profile; a human silhouette will spook many game species.
    Use a pair of binoculars in open terrain to identify movement properly.
• If you still hunt effectively, game will be unaware of your presence, but so will
    other sportsmen. To avoid being misraken for game by other hunters, always
                                                                                       Stin hUnting often Involves stopping 101' long
    wear fluorescent orange.                                                           periods to scan and listen 101' game.
Stalking
• The difference between still hunting and stalking is that when stalking, you
  follow signs leading to a particular type of game or group of animals, or close
  the distance to game already sporred.
• You may follow tracks on trails or a morning "dew" trail through
  leaves and brush. Or you may follow sounds or scents of animals,
  such as elk, sheep, or collared peccaries. Or you may simply need to
  sneak closer to :tn animal for a better shot.
• Stalking requires coral focus because you must remember to keep
  downwind, stay quiet, sray alert, and remain patient.
•   When turkey hunting, the sound you hear may be another hunter
    "caiJing." For safety, you should not stalk turkeys.




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                                               Posting
                                               • Posring involves sirring or slaJlding in one spot. The location may offer a
                                                 vantage point or a spot near the animal's trails.
                                               • Posring is effective when you know where game is rravding each day, and you're
                                                 not allowed to use a blind or srancl
                                               • The key to serring up a posring site is finding a location that allows you ro
                                                 freely swing your firearm or draw your bow.
                                               Ground Blinds
                                               • Ground blinds are makeshift or temporary structures located on the ground
                                                 that conceal the hunter. They're made of everything from plywood to branches.
                                               • You should siruate ground blinds:
                                                 • Downwind, based on the normal wind pattern during a given rime of day,
                                                   such as morning
Ground blinds, often made of branches,           • Away from the sun
conceal the hunter.                              • Where the foreground and background are safest
                                               Elevated Stands
                                               • Elevated slaJlds (rower slaJlds or uee slailds) offer a number of advanrages to
                                                 both firearm and bow hunters. Tower slaJlds are above-ground seats or blinds
                                                 thar conceal the hunter above the level of the quarry. Tree stands are srands
                                                 placed in or against uees.
                                               • You shou.ld check the condition of elevated stands routinely. Also, inspect for
                                                 insectS, owls, and small mammals before entering the SlaJld. Read more in the
                                                 "Hun ring From Elevated Slailds" section in Chapter Six.
                                               Game Calling
                                               • Calling is an effective technique for most animals. There are a variety ofsounds
                                                 that can be imitated tO draw game to you.
                                                 • Territorial sounds: A deer "rattle," elk "bugle," or a rurkey 4 gobble"
                                                 • Feeding sounds: A duck's feeding "chuckle"
                                                 • Distress sounds: lnviring coyotes, bobcatS, or foxes to feed
                                               • There are hundreds of sounds that can attract all types of \vildlife. A skillful
                                                 hunter uses these sounds to attract animals dose enough ro him or her for an
                                                 effective shor.
                                               Driving
                                               • Driving involves a group of hunters, some acring as "drivers" and
                                                 others as "posters."
                                                 • Drivers spread out across a field or woods and push game out of cover.
                                                 • Posters take positions at the end of the cover to intercept game pushed out
A skillful hunter uses sounds to attract the       by the drivers.
quarry close enough for an effective shot.
                                               • The success of a drive depends on good organization and being familiar
                                                 with the terrain.
                                               • It is critical that everyone involved in the drive is aware of the posirion of other
                                                 drivers and posrers. Wear Auorescent orange, and never shoot in the direction of
  ~em~&er...                                     another bunter.
 When hunting with a group, It Is Illegal
 in most states to use your ncense tag on
 another person's kill.


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Flushing
• Flushing involves using noise, movement, or dogs to cause game to become
  nervous and leave cover.
a Pause frequently when attempting to flush game. When you vary your pace.
  your quarry may think ic has been dececced and be more likely co leave cover.
Dogs
a There are several breeds of dogs that can be used for hunting different game
    spec.ies. Some dogs can be used co hunc several rypes of game.> animals.
    • Pointers are used primarily for upland game birds.
    • Retrievers are large, hcarry dogs used primarily ro rerrieve waterfowl; they also
      can be trained to hunt other game birds.
    • Spaniels are used mainly as Aushers.                                                A trained hunting dog can be an excellent
    • Hunting hounds are usod co hunr raccoons and rabbits in the Southeast,              hunting partner.
      mountain lions and bears in the West, and deer in some stares.
Trapping
• Trapping furbearing animals was once a full-time occupation. Today, regulated
  trapping is an important roo! for managing our nation's natural resources.
  • Trapping helps control animal populations by minimizing starvation, reducing
    spread of disease, and conrrolling habicat damage or desttucrion.
  • Trapping hdps protect personal properry by preventing or decreasing:                  dispatch
     - Flooding caused by bc:lver dams                                                        To put to death quicklY
     - Damage to homes, trees, gardens, and agriculrural crops
     - Killing of livestock or pets
  • Trapping proreccs certain endangered or threatened species from
     predarory furbearers.
• When used properly, trapping can be an alternative method 10 hunting fur
  harvesting furbearers and an effect.ive rool for wildlife management. Trappers
  should learn about the rype of traps appropriate for the animal they're seeking.
  and follow the trapper's code of ethics:
  • Obtain the l.andowner's permission.                                                   Bodygnp traps catch the animal's entire body.
  • Avoid setting traps in areas where domestic animals may be caught.
  • Set traps co capture the target animal in the most humane way possible.
  • Check traps at least once every 24 hours, preferably in    me euly morning.
  • Record trap locations accurarely.
  • Identify all traps with waterproof name and address tags.
  • Use as much of rhe animal as possible. Dispose of animal carcasses propedy.
  • Make an efforc ro crap only the surplus animal~ !Tom each habitat.
  • Assist landowners who are having damage problems with wildlifu.
   • Dispatch trapped furbearers in a humane manner.                                      Foothold traps catch the animal when il
                                                                                          steps on the trap.
   • Obtain all required licenses, rags, and permits. Because trapping laws vary by
     stare, check the stare's regulations before you go trapping.
• Traps can be set either on land or in or near the warer. Some types of traps
  are designed co kill the trapped animal, and others are designed to capcure the
  animal alive and unharmed (live-restraining devices).
   • The most common rype of killing devices are bodygrip traps.
   • Live-restraining devices include foothold traps, enclosed foothold devices, cage
      traps, and some rypes of cable devices. With chese craps, you are able to release
      non-cargec an imals.
   • Some furbearers are found more ofien in or near water. For these animals,            Snares or ca.ble devices use a loop of cable to
                                                                                          catcll a lurbearer by the neck. body, or leg.
      trappers use submersion trapping systems, which hold the animal
      underwater until it dies.
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                                                      Vital Shots
~eA1eft1kr ...
It's difflcutt to hit a vital area on an animal       Every humer wants co bring home the game he or she is seeking; uue sportsmen
that is runninq or moving straight away from          strive tO do it by inflicring a minimal amount of suffering. To achieve these twin
you. Rather than risk crippling the animal or
ruining the meat, walt for a better shot              goals, ir's essential that you understand the anatomy of the game you're after, and
                                                      learn how to place a shor for a clean kill.
                                                      Where to Shoot
                                                      • The most effective shots are delivered to an animal's viral
                                                        organs-heart and lungs. ln large game animals, these organs
                                                        lie in the chest cavity behind the !Tom shoulder. A lung shot
                                                        is the most effective shot for big game.
                                                      • The area of the viral organs also
                                                        contains major blood vessels and
                                                        arteries. A shot in this area causes
                                                        considerable bleeding. If the animal
                                                        doesn't die immediately and tries
 The most effective firearm shot                        to flee, it will leave a blood trail
 for a turkey Is to the head and
 neck. The preferred shot                               that's easy ro track.
 angle for bowhunters Is                              •   Aside from being a good
 broadside, aiming
 for the heart                                            marksman, the key to a dean kill
 or lungs.                                                is patience. Hunters should limit
                                                          shots to the vital organs only. If you do not have a clear shot to the viral organs,
                                                          wait until the animal presents the best possible shot.
                                                      Choosing the Proper Shot Angle
                                                      The shot angle is the angle at which the animal is standing in relation ro the
                                                      hunter. Knowing which angles offer the most clfective-and least effective-shots
                                                      is an essential parr of being a responsible bunter.
                                                      •   Broadside
                                                          The broadside shot angle is the preferred shot angle for both fireann and bow
                                                          bumers for larger game animals, such as elk, deer, and bear.
                                                          • Ftreamt: The broadside position offers several excellent shots for a firearm
                                                            hunter. The best rarger is the shoulder and chest area. A bullet of the correct
                                    The preferred           weight that is fired &om a firearm adequate for the game will break the
                                           shot for         shoulder bone and enter the lungs or heart.
                                      larger game         • Bow: The broadside angle offers the best shot for the largest big game
                                   animals, such
                                 as elk, deer, and          animals, such as elk, deer, and bear. For most big game, the aiming spot is
                               bear, Is broadside.          straight up from the back side of the ITonr leg, one-third of the way up from
                                                            the bottom of the chest. An arrow will penetrate: the ribs bur nor the shoulder
                                                            bone; wait w1til the near leg is forward, and aim behind the: shoulder.
                                                            • Quartering-Away
                                                                The quartering-away shot angle is when your target is facing away from
                                                                you but at an angle. The animal is usually looking away from you.
                                                                • Firearm: For firearm hunters, the quartering-away position offers several
                                                                  aiming spots on all big game. The area just behind the shoulder is the
                                                                  best aiming spot for direct penetration of the viral organs. Focus on
                                                                  hitting the chest area above the opposite fronr leg.




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  • Bow: The quan:ering-away shot
    angle offers a good oppon:unicy
    for a dean kill on anrdope, white-                                                  It Is a hunter's ethical responsibility to stop the
                                                                                        hunt and search for any wounded animal
    tailed deer, mule deer, black bear,
                                                                                        • You should wait for at least a haff·houf to an
    and other big game of similar site                                                      hour before trailing a deer. unless the downed
    or smaller. This is not a good shot for                                                 deer Is in sight
    bowhunters on larger game because                                                   • Make a practice of carefully observing ~ery
    their massive stomachs and intestines will                                              movement of a game animal after you shoot il
                                                                                            Investigate the ground and trail after shooting
    block a clean shot to the lun~ or heart.                                                before assuming you missed.
    The opposite front leg is a good reference                                           • Once at the site ol the shot, look lor signs:
    point fur aiming.                                                                       • Blood on the ground or vegetation
• Quartering-Toward                                                                         . Broken twigs or branches, or scattered leaves
  The quartering-toward shot angle is when                                                  • A "dew• line If earty In the morning
  the animal is facing toward you but at                                                  . Tracks
  an angle. Because the animal is typically       t                                       • Hair, mea~ or bone fragments
  looking your way, ir most likely will                                                   - Downhill trails, especially toward water
  spot your movements.                                                                  • If you lose a trail, search In acircular or grid
  • Firearm: The quarrering-roward angle                                                  pattern, and try to pick up the trail again.
    presenrs a clean shot to the vital org:ms. A shot can be raken at this angle if     • Use fluorescent orange flagging to mark the
                                                                                          blood trail In case darkness or weather forces
    the gun is already trained on the animal. For an e.ffective hit, aim at the fronr     you to quit the search and return the next day.
    of the shoulder of the near from leg. Caution: A lighr bullet may deflect off         Marking the blood trail also shows where to
    the shoulder bones of large game. such as elk, deer, or large bears. Be certain       look for more signs If you lose the trail. Be
                                                                                          sure to remove the orange flagging after use.
    to use a firearm and ammunition adequate for the game you hunt and the
    angle of shot you might select.
  • Bow: This angle offers a poor shot oppon:unicy and should not be
    taken. Heavy shoulder bones shield the majoricy of vital organs from
    broadhead-tipped arrow penetration. Also, bowhumers should never fue an
    arrow at an animal that is looking at them.
• Head-On
  The animal will certainly detect your movements with a head~n shot angle.
  • Fu-earm: A hcad~n shot can be effective if you have an adequate fuearrn and
    your firearm is already positioned for the shot. However, head~n shors rarely
    result in a dean kill and nsin a lor of meat. Aim at the cenrer of the chest to
    hit the viral organs.
  • Bow: These angles offer very poor shot selection and should not be taken.
    Heavy bones in front and muscle mass and non-vital organs in back block
    penetration of the main viral area.~.
• Rear-End
  The rear-end shoe should not be taken by hunters using firearms or bows.
Approaching Downed Game
• A downed deer or other large animal should be approached carefully from
  above and behind the head.
  • If the animal appears ro be dead, wair a shon: dlsrance away fur a few minutes.
    Watch for any rise and fall of the chest caviry.                                     Approach downed game from above and behind
  • Notice whether the eyes are closed-the eyes of a dead animal are usually             the head; walt a short distance away, watching
                                                                                         for any rise and fall of the chest cavity.
    open. You can be certain that the animal is dead if the eye doesn't blink when
    couched with a stick.




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                                                • If me animal is still alive, it should be finished wim a quick shor to me base of
                                                  rhe ear. If you wish tO moum me head. place your shot in me: heart-lung area.
                           hatchet                For bowhumers, me only option is placing an arrow in the heart-lung area.
                                                • Once me animal is dead, foUow me stare regulations for reporting or recording
        small saw                                 a kiU. Some: stares require you ro tag rhc: animal immediatc:ly and indicate: the
                                                  dare of me kiU. Then begin field dressing.
knife and
sharpener




                                                Field Care of Game
                                                The: way you handle: game after it's harvested can have: a significant impact on the
Other typical items include:                    quality of the meat.
• Black pepper to repel insects                 Field Care Basics
• Cheesecloth bags for organs you plan to use   • The growth of bacteria is me cause of spoiled meat. Three factors conrriburc: to
  as meat (heart. livef1
• Cooler and ice
                                                  bacteria growth.
• Disposable plastic gloves                       • Heat: Heat is the number-one concern. Bacteria grow rapidly in a
• Auorescent orange flagging                        carcass, especiaUy if it's allowed to stay warm. Meat begins to spoil above
• Foil                                              40• Fahrenheit. The higher me temperature-and me longer the meat
• Gambrel and pulley system                         is exposed-me grearc:r the chance of spoilage. This is particularly true
• Hand towels                                       wim large game.
• Large bag for caped or trophy head              • Moisture: Moisrure also encourages the growth of bacteria.
• Plastic bags for cleanup                        • Dirt: Dirt can introduce bacteria.
• Plastic or cotton gloves                      • Basic field dressing techniques help cool game by removing entrails, which
• Salt (non-iodized) for hide care                lowers body hear by aUowing air into me body cavity. As a rule, it's best to field
                                                  dress immediately.
                                                  • When cooling me body, use available shade. Hang deer, if possible. For larger
                                                    animals, such as deer, elk, and moose, you should prop me: carcass open wim
                                                    a clean stick ro aUow air tO circulate.




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  • In warm weather, it's helpful 10 place squirrels and doves in a cooler after
    dressing, as long as they remain dry.
  • Dispose of entrails carefully. Don't leave them lying by the side of a road or      Here are some additional tips for
                                                                                        dressing large game.
    near a residence where they can be dragged home by a dog.
                                                                                        • Because it's harder to move larger animals,
  • Keep meat clean by covering it with cheesecloth. This also protects it &om            you may need to skin and quarter the animal
    flies, which lay ew in exposed Aesh. Rubbing meat with black pepper also              to pack it oot, particularly In a remote area.
    wiU repel insects. If you have to drag the game to camp. try ro keep din and        • If you're unable to hang the animal lor
                                                                                          skinning, begin by making a lengthwise cut
    debris out of the chest cavity.                                                       and removing one side of the hide. Then, tum
  • Because moisture damages meat, don't use excessive amounts of water to wash           the animal onto the skinned hide, and skin
    the cavity. Allow it to dry.                                                          the other side.
  • If you plan to process the animal yourself, skin the animal as soon as possible     • To keep dirt off the meat. use the inside of
                                                                                          the removed hide as a protectiVe mat as you
    to allow the carcass to cool.                                                         quarter the animal.
• Finally, a sure way to ruin meat-as well as earn the disdain of non-hunters--is       • Put each quarter In a game sack, and
  to tie the animal to the hood or roof of a car, where it's exposed to heat, exhaust     attach the sacks to a backpack frame
                                                                                          lor the hike out.
  fumes, road salt, and airborne dust.
Transporting Game
•   Keep the dressed game cool and free of insecrs. If you've quanered the animal,
    pack the quarters in ice chests-don't process the deer beyond quartering until
    you reach your final destination. Be sure to keep proper "evidence of sex" if        ,feH~eh'N~eJ-...
    required by your game laws.                                                          Aclean kill improves the flavor of game
                                                                                         meat A wounded animal that has to be
•   Most hunters rake their game to a commercial meat cooler, where a                    chased down yields strong-flavored meat
    typical white-tailed deer can be properly aged up to three or four days at           because waste products. produced by stress,
    40" Fahrenheit.                                                                      accumulate In the flesh.




When transpofting game, be sure to keep It covered to avoid offending others.




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            1       40
Chapter FIVe Page         Primitive Hunting Equipment and Techniques
~ ~m®            ~w         J~------------------------------------~
•   Identify the basic parts of a munldoader.                  • Scare three safety practices for archers.
•   Explain why you should use only black powder or a          • Explain additional precautions that must be practiced
    synthetic substitute in munleloaders.                        when wing broadheads.
•   State three safety practices when wing muzzleloaders.      • Explain the safety rules that should be followed when
•   Demonstrate safe loading and unloading of                    wing a crossbow.
    a munleloader.                                             • Dcmonsuare how to nock an arrow and how to draw
•   Demonstrate safe firing of a munleloader.                    and anchor the bow.
•   Identify the common bow types and their basic parrs.       • Demonstrate how to use a bow sight and how to aim a
                                                                 bow instinctively.
•   Identify the basic pam of an arrow.
•   List the different types of arrowheads and the
    primary usc of each.

                                          Know Your Muzzleloader
                                          Primitive hunting arms include the mm.zleloader firearm, the bow and arrow, and
                                          the crossbow. Today, these hunting arms are sought as collector's items and used for
                                          sporting purposes.


                                                              rear sight                                             muzzle
                                                                                                     front sight




                                           Muzzleloader is the term given to early firearms because they are loaded from the
                                           muzzle or open end. Read about the history of muzzleloaders in Chapter Two.
                                           • On these early ftrcarms, locks played the role of modern-day actions. Matchlock
                                             and wheel lock muzzleloaders are rare and valuable, but they also may be unsafe
                                             to use. Flintlocks and percussion locks are the muzzleloaders typically used
                                             for shooting competitions and for hunting. They are generally less expensive,
                                             lighter, more reliable, and easier to load and maintain than matchlocks
                                             and wheel locks.




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                                                                                                                    mUZZle




                                                                                                  ~r
                                                                                            Pyrodex pellets
                                                                                           (optional)




• Muzzlcloaders are most commonly riAes. However, there are also smooth-bored
  muzzleloaders--shorguns. Shmgun muzzleloaders can have eimer a single barrel
  or double barrels joined side by side. When loading the double-barreled muzzle-       Three types of projectiles-the round ball, the
  loader, it's critical to avoid purting the two loads down the same barrel. Double-    bullet, and shot-are used In muuleloaders.
                                                                                        Most are melted and cast from pure lead.
  barreled gun~ usually have two locks, one for each barrel. This .allows the shooter
                                                                                        Round balls are used mainly for target practice
  to fire each barrd separately before the gun is reloaded. Most double-barreled        but also can be used for hunting. Bullets
  guns were designed with two triggers.                                                 are preferred for hunting because they are
                                                                                        generally more accurate at certain ranges. Shot
• Muzzleloading handguns come as borh pistols and revolvers. Pistols are mainly         pellets are designed to spread, Just as with
  single-shot. The revolvers contain multiple-shot chambers. Chain firing               today's shotguns.
  muzz.leloading revolvers can be dangerous. When the chamber round is fired,           Black powder is made of potassium nitrate
  it produces sparks that could accidenmlly ignite loads in another cylinder{s).        (saltpeter), sulfur, and charcoal. When Ignited, it
  Therefore, be sure ro protect each load in the cylinder with a coating of grease ro   causes a dense doud of white smoke. It comes
                                                                                        in four sizes or granulations.
  prevent sparks from entering the open end of the ocher cylinders.
                                                                                        • Fg: Coarse grain typicafty used In cannons,
• Black powder is the only type of powder that should be used in muzzleloaders.            rifles larger than .75 caliber, and lQ-gauge
  However, syntheric subsritures, such as Pyrodex, also can be used. Don't use             shotguns or larger
  modern-day smokeless powders in black powder firearms. Smokeless powders              • Ffg: Medium grain typically used in larger
                                                                                           rifles between .50 and .75 cal1ber, 20-gauge
  can cause serious injury if used in muzz.ldoaders.                                       to 12-gauge shotguns, and pistols larger
Basic Muzzleloader Safety and Skills                                                       than .50 caliber
                                                                                        • FFFg: Fine graln typtcany used in smaller
Cleaning a Muzzleloader                                                                    rifles and pistols under .50 caliber and
• Firing a m uzz.ldoadcr leaves a corrosive residue inside the barrel that causes          smaller shotguns
  pitting and reduces accuracy. The buildup of residue, called fouling, also will        • FFFFg: Extra· fine graln typically used as a
                                                                                           priming powder In flintlocks
  make Loading difficult.
                                                                                        Pyrodex and Clear Shot are black powder
• To avoid fouling, swab the barrel with a moist parch after each shot. The patches     substitutes that can be used in amounts equal
  or cleaning rags used to wipe the barrel must be the correct size and should be       to blacl< powder, but loading may vary. Be sure
                                                                                        to get Instructions from a qualified gunsmith for
  made of corron or approved synthetic materials. Follow the recommendations of          loading procedures. Substitutes are not recom-
  retailers who sell muzzleloaders or those who regularly use muzzleloaders.             mended for use In flintlocks because they may
                                                                                         not Ignite from sparks as easily.
• Thoroughly clean a muzzlcloader after each shooting session. Black powder
  residue can damage the barrel ifleft overnight.
• Clean the gun's lock periodically. Normally it's held in place by one or two
  bolts. Once the lock has been removed, scrub both sides with an old toothbrush
  and hor water. Make sure d1e entire lock is completely dry, and then lighdy oil
  and replace it.




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                                                     Loading a Muzzleloader
                                                     •   Loading or charging a muzzleloading llrearm presents some special concerns
Ml!221eloaders take significantly ITlO(e
knowledge to operate than modem firearms.
                                                         because it requires the muzzle to be pointed upward.
They also present greater risks. Several rules       •   For rifles, position the butt on the ground between your feet. You should be
must be followed to ensure safe operation.               facing the underside of the barrel. The muzzle should be pointed upward and
• Keep the mUZZle pointed In a safe direction.           away from your body. Never work direcdy over the muule.
  Do not lean over, stand in front of,()( blow
  down the muzzle.                                   •   Determine whether the gun is already loaded by checking the ba.rrel with a
• Use only blacl( poWder()( a sale substitute in         marked ramrod, which has an "unloaded" or empty marlcing. If you aren't sure,
  a muzzleloading firearm.                               consult an experienced muzzleloader user or gunsmith.
• Wait until you're ready to lire before you
  prime ()( cap a muzzleloader.                      •   Measure out the proper amount and type of powder using tbe calibrated
• Always wear shooting glasses and ear                   powder measure. Replace the powder flask's cap, and swing the flask co the
   protection when shooting a muzzteloader;              other side of your body. Pour the powder into the barrel !Tom the measure. Tap
  a long-sleeved shirt is also advisable.                the barrel ro make sure all powder falls ro the breech end.
• Never smoke while shooting or loading or
  when near a poWder hom or flask.
                                                     •   Cenrer a lubricated, precut patch over the muzzle. You can lubricate the parch
• Load a muzzleloader directly lrom a
                                                         with a mamtfactured lubricant or with saliva by placing it in your mouth. Lay
   calibrated powder measure---ilo not load              the ball on the patch with the sprue or flat side up, if rhe ball comes with this
   from a horn, flask, or other container. A loose       feature. Then sear rhe ball, and starr it down rhe ba.rrel using the shorr starter.
   spark or glowing ember In the barrel can
   cause the powder to explode.                      •   Use the longer ramJod to push the baU the rest of the way, making sure its
• Load only one charge at a time.                        seated well on the powder charge. Push the ramrod in short strokes, gripping
• Unload a muzzleloader before bringing it Into          it just a few inches above the muzzle. If you use longer strokes, you might
   your home, camp, or vehlde.                           accidentally snap the rod and injure your hands or arm. Your ramrod should be
• Stay with your charged muZZle·                         marked ro show when the ball is properly seated over a specific load, such as 70
   loader at all times.                                  grains of FFFg powder.




                  Measure poWder charge.                                                                  6
                                                                                                                   7
               2. PouT measured poWder down barrel
               3. Place patch and ball on muzzle.
               4. Tap ball into baiTel With starter.
               5. Take out ramrod.
               6. Ram ball down barreL
               7. Be sure bal is completely seated.
               8. Clear vent hole With plck If necessa.ry.
               9. On ftlntlock muZZieloader, pour poWder Into pan
                  and close frizzen.
              10. On percussion lock muzzleloader, place cap on
                  nipple.




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Unloading a Muzzleloader
• There are thrtt ways tO unload a mu'ZZldoader.
                                                                                       Sometimes a mu22leloader will not fire
  • Unload a muz:zleloader by discharging it into a suitable backstop. Do oot fire     immediately when the trigger Is pulted.lllis is
    into the air or inro the ground at your feet in case the projectile ricochets.     known as *hang fire• and requires great caution
  • Use a C02 discharger co clear the barrel.                                          because the 11\fl might fire some time after the cap
                                                                                       or tint created the iritial S()3l1ls.
    - Percussion Lock Muzz.leloader: Slip the discharger over the nipple.
                                                                                       • Keep the gun pointed in a safe direction,
    - Flintlock Muzz.leloader: Place the discharger against the touchhole.                prefembly doWnrange.
  • On a modern in-line muz:zldoader, remove the breech plug and simply push            • Don't take it anywhere that it could injure
    the projectile and powder our the rear of the barrel.                                 someone or damage property if it fires.
                                                                                        • If a muuleloader doesn't fwe properly, get
• When a mu'ZZleloader is unloaded, place your ramrod or loading rod in the               help from an experienced shooter to unload lt
  barrel before leaning the firea.rm against a good rest-!his will prevent debris         using a ball discharger.
  from falling down the barrel and blocking the touchhole.
Firing a Muzzleloader
• Percussion Lock MurrJeloader: When you're ready ro fire the muz:zleloader
  safely, place the percussion cap on the
  nipple. Be sure that your surroundings and
  your backstop are safe. Then aim and fire.
• Flintlock Muzzleloader: When priming a
  flinclock, puU the hammer to a half-cock position, and open the priming
  pan cover. Check your flint, making sure the setting is tight and properly
  adjusted. Insert a vent pick or fine wire into the barrel's touchhole co make sure
  the opening is clear. With your pan primer, flU the pan about three-fourths full
  ofFFFFg powder. Close the fri7.zen, aod puU the hammer to fuU cock when
  you're ready ro fire the shot safely.
• After firing, place the hammer in the half-cock position, and swab the barrel to
  remove sparks that mighr be inside.




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(                                                   Know Your Bow and Arrow
                                                    While modern bows can shoot arrows up to 400 yards at speeds exceeding 200
The use olthe bow and arrow is recorded as
eatly as 3000 BC.                                   miles per hour, the bow is a short-range hunting root. Any bow can be dangerous
• The Egyptians used bows shorter                   ar any range and should be handled responsibly. Shots arc usually limited ro 40
   than a man's height, with arrows two             yards or less: and ar this range, che arrow penetrates and can even pass through an
   feet long or more.                               animal. To ensure accuracy, most shots are taken at 15 yards.
• Eat1y bows were C-shaped. When shooting
   these bows, the archer would pon the string      Common Bow types
   with a ring held around the thumb. The ear1y     Proper bow selection and fir are essential to your accuracy and performance
   longbow was H feet in length and was
   usually made of yew. The legend of Robin
                                                    when bowhunting.
   Hood romanticlzed the longbow.                   • Longbow (Stick Bow)
• Native American Indians were America's               • The "traditional" bow, which has straight limbs that form an arc when srrung
   first bowhunters. European settlers brought
   their skills to America and contribuled to the      • Used by chose interested in traditional shooting with little
   development of bows and arrows In the U.S.            additional equipment
• In 1879, the National Archery Association was
   founded. It initiated the first U.S.-$ponSOfed
   tournamentln 1879.
• BowhunUng did not really take oft until the
    1950s and 1960s as hunters learned more                                                                   string sllenC1lr
    about this sport and about newer bows that
   were being developed.                                                                                          ""- string
 • Uke other methods of hunting, the                                         nocking point /
    bowhunter first must acquire the knowledge
    and skills necessary to be a safe and           •   Recurve Bow
    responsible hunter.
                                                        • Much like che longbow, bur the limbs curve back away from the belly of the
                                                          bow, which can provide more power in a shorter bow than rhe longbow
                                                        • A popular choice because it's smooth and quiet
    ,:.: • f ' •   tl:t:i                       ]                                              sight window




    mechanical
    release
                                                                                                                                 string
                                                                             nocklng point /

                                                    • Compound Bow
                                                      • The most popular bow for both hunting and rarger shooting
                                                      • A bow with many scyles, bur they work basic.1lly the same way: wheels
                                                        and cables attached to the limbs make it easier to hold ar full draw
                                                        (pulled completely back) and able to propel an arrow faster chan either a
• To protect the three fingers that draw the            longbow or recurve bow
  bowstring, archers wear three-fingered gloves
  or finger tabs, or use mechanical releases.
• Amechanical release snaps onto the string
  and Is pulled back with the shooting hand. The
  archer pulls a trigger to release the string.
• AA arrnguard protects the Inner part of
  tile bow arm during release as the string
  snaps back. The arrnguard prevents the
  bowstring from hittlng loose clollllng and
  also helps protect the arm if an arrow breaks
  during release.



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Stringing a Bow
The safe and easy way tO string a recurve bow or longbow is ro use a bowsuinger.
The push-puU or step-through method can be hazardous co yourself or your bow.
•   A bowsuinger is simply a strong cord with a loop or pocket at each end chat firs
    over the Limb tip of recurve bows and some longbows. By standing on rhe loose                                  arrowhead with
    middle of the cord after it's attached to the tips. the limbs can be flexed as the                             target point
    handle is puUed. This aUows the bowstring tO be slipped safely ioco place.
•   To replace compound bowstrings, you must use a bow press. A bow press is
    used ro place and hold rension on the limbs, allowing the Strings to be changed.                shaft
    lnexperienced bowhuncers should have a qualified dealer or individual replace
    the string on a compound bow.




Parts of an Arrow
Arrows have four pam.
• Shaft: The long spine of the arrow. Modern arrow shafts are made of wood,
   fiberglass, aluminum, or carbon. The arrow, regardless of shaft material, rnusr
   have the correct stiffness to match the: bow. As an arrow is released, the shaft
   bends before straightening in flighr. lncorrecr stilfuess will cause the arrow to fly
   erratically and inaccurately.
•   Fletching: The plastic vanes or feathers on an anow. Retching creates wind
    drag and also can cause the arrow to spin similar ro a rifle buUer, providing
    stabiliry and accuracy in flight. Fletching is made up of three or more vanes or
    feathers. One of the feathers will be a different color and is caUed the "cock~
    feather. The remaining feathers are referred ro as the "hen" feathers.
•   Arrowhead: The point of the arrow. Many different kinds of arrow poinlli are
    available, each with a different purpose and advantage.
• Nock: A sloned plastic tip located on the rear end of the arrow that snaps
    onro the suing and holds the arrow in position. There is a certain point on the
    bowstring. called the "nocklng point," where arrows are nocked. Fine-tuning of
    this location, by moving it up or down the bowsrriog. is usuaUy required.




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                                                  Common Types of Arrowheads
                                                  • Bullet Point: Sreel poim used for target shooting and small game hunting.
                                                  • Blunt Point: Used for small game hunting and some r:ypcs of rarget shooting;
                                                    made of steel, hard rubber, or plastic.
                Bullet Point
                                                  • Field Point: Steel poim used for target shooting and small game hunting.
                                                  • JUDO Point: Designed with spring arms atrached to catch in grass and leaves,
                                                    preventing arrow loss; used for "srump" shooting and small game hunting.
                Blunt Point
                                                  • rJSh Point: Long barbed or spring-loaded arrowhead mat spears fish and
                                                    secures them until landed with an attached Line.
                                                  • Broadhead: Used primarily fot big gan1e hunting. The number of sreel blades it
                 Aeld Point
                                                    conrains may vary. The only arrowhead that may be used for big game hunting



            ~
                                                    is the broadhead. It must be solidly built and always razor-sharp. Many states
                                                    have laws governing the minimum diameter and number of cutting edges of the
                                                    broadhead used to hum big game.
                                                    • Mechanical (Expandable) Blade Broadhead: Blades are retracted close w the
                                                      ferrule before rhe shor. Upon impacr, rhe blades expand to expose the cutting

           ~
                                                      edges. T hese are recommended for use only with bows rated 50 pounds or
                                                       more because most require additional energy to open upon penetration.
                       ,/
                 Ash Point
                                                  Know Your Crossbow
                                                  A crossbow is a bow with a rifle-like stock that shootS bolts or shorr arrows. Safe
                                                  use of a crossbow requires following the safery rules for borh firearms and bows.
                                                  • Many srates have laws that limit the use of crossbows.
                                                  • Never travel with a loaded, cocked crossbow.
                                                  • Like conventional bows, rhe crossbow is limited to short-range shooting.




             Broadhead Points




~~be.r...
Broadheads kill by cutting blood vessels,
uolike the high-energy shock of bullets.
Hemorrhage is typically the result. A
responsible bowhunter will use razor-sharp
broad/leads and only take shots 11\at alloW
a clear, close shot to the vital area of the
game animal.




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Bowhunting Safety and Skills
Many stares require a bowhunter education course to hum legally with archery
                                                                                              Before practlclng or hunting, an archer must
equipment. Even if not required, taking a course will give you an excellent stan to           examine each arrow to make certain there are
b«oming a safe and skillful bowhunrer.                                                        no cracks or breaks in the shaft and that the
                                                                                              nock Is In good conditlon. A cracked or broken
Bow-Shootmg Safety                                                                            nock can be replaced, but a shan that has
An arrow is as deadly as a buHer, so the basic safety rules that govern firearm               cracks or breaks shoUld be discarded.
shooting also apply to archery. Although shooting accidents are rare among                    Never use a cracked amYW. The shaft may
                                                                                              sllatter on release and be driven into the
bowhunrers, they do happen. Archers must obey a few common safety rules,                      shooter's wrist or arm. Some common types or
whether on the range or in the fleld.                                                         damage to look lor are:
•   Release an arrow only when the path to the target and beyond is dear.                     • Cracks and splinters In wood arrows
                                                                                              • Cfeases, dents, or cracks In aluminum arrows
•   Make sure there's something to srop the arrow if you miss-never shoot
                                                                                              • Cruslled sidewalls on fiberglass or
    over the horiwn.                                                                             graphite arrows
•   Avoid shooting an arrow in the general direction of another person. Arrows
    are easily deflected. A small twig, unseen by you, can cause an arrow to veer
    dangerously off course.
•   Don't shoot straight up. A falling arrow carries enough force to penetrate
    the human sku.ll.
•   Carry arrows in the nocked position only when slowly approaching game-
    never nock an arrow or draw a bow if someone is in from of you.                                        Always keep
                                                                                                           broadheads In a
•   Use a haul line to raise a bow and quiver into a tree stand ro avoid serious                           covered Quiver.
    injury (see " Hauling Hunting Equipment Into a Stand" in Chapter Six for
    more on this subject).
Bow-Shooting Position
Stand at a right angle to the target with
your feet approximately shoulder-
width apart. The srance should
fed comfortable and
balanced. If you prefer,
you may slide your
from foot back a
lircle, crearing a
slightly open stance.
                                                                                              [.
                                                                                              Many an:hers' Injuries come from broadheads.
                                                                                              Broadheads must be kept razor·sharp for
                                                                                              hunting, which creates a safety problem lf they
                                                                                              are handled carelessly. To prevent Injury:
                                                                                              • Use a special wrench to screw on
                                                                                                broadheads. This device covers the blades
                                                                                                while a broadhead Is being tightened
                                                                                                on an arrow. II a wrench Isn't used, the
                                                                                                slightest slip can cause a serious cut When
                                                                                                sharpening broadheads, always stroke the
                                                                                                blade away from your hands and body.
                                                                                              • Keep broadheads covered with a quiver While
                                                                                                traveling to and rrom the Held. Many arrow
                                                                                                Injuries occur while loading or unloading
                                                                                                equipment In vehicles.
                                                                                              • While dressing bow·kiUed game, remember
                                                                                                that the broadhead may remain In the
                                                                                                animal. Use great caution until all parts of the
                                                                                                broadhead have been round.



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                                                     Nocking an Arrow
                                                     •   A nocked arrow should be positioned about a quarter inch above the arrow rest
                                                         on the bow handle. On most bows, a small brass band called a "nocking point"
                                                         is crimped omo the bowstring to mark the correct position.
                                                     • To nock the arrow:
                                                       • Grasp the arrow berween the thumb and index finger of the right hand (if
                                                         you're a right-handed shooter).
                                                       • With your left hand, hold the bow parallel to the ground about waist-high,
When the arrow is nocked and the bow is                  and string toward the body.
raised, the cock feather points to the left if you     • Lay the arrow shafi on the bow's arrow rest.
are right-handed.
                                                       • Align the slot in the nock with the string, and make sure that the cock feather
                                                         points up (while the bow is parallel to the ground).
                                                       • Pull the arrow back until the string snaps into the slot.
                                                     Drawing and Anchoring the Bow
                                                     •   To draw the bow:
                                                         • Grip the bow handle firmly in the lefi hand, but don't squeeze.
                                                         • With your bow arm straight, raise the bow to a point that your arm is
                                                           parallel to the ground while simultaneously
                                                           drawing the string back to your "anchor point"
                                                           with your shooting hand. The anchor point
                                                           may be the corner of your mouth, your
                                                           cheekbone, or your chin.
                                                     •   Practice will help you derermine your best anchor
                                                         point--one that's both
                                                         comforrable and provides
                                                         the most accurate
It you are right-handed, raise the bow as you            shooting. Your fingers
pull back the string with the three drawing              should touch the same
fingers of your right hand. Simultaneously               anchor point each rime
extend your left arm.
                                                         you draw the bow.




  Sal'e& "/:p
  A bow should never be "dry fired."
  Releasing a string without an arrow nocked
  transfers energy back to the limbs Instead
  of the arrow. The bow can ny apart, Injuring
  anyone nearby.




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Aiming the Bow
There are two main memods for aiming bows-bow sights and instinctive aiming.
•   Bow sights work best when the distance to the target is known. For instance,
    when hunting from a tree stand or blind, you can measure the distance to the
    area where you expect the game ro appear. Then it's a matter of lining up the
    appropriate sight pin on the target. In hunting siruations where it's hard to
    know me exact distance [0 the target, bow sights may not work well The key to
    wing bow sights is to practice judging distances.
•   Instinctive aiming is more versatile than the bow sight method. You simply
    look at the intended target wim both eyes open and release. You adjwt the aim
    for different distances by instinct developed with practice. Instinctive aiming
    takes longer to perfect man the bow sight method, but it eliminates much of
    me guesswork from shooting under some hunting conditions.
Holding and Releasing the Bow
•   Allow your fingers tO slip quickly away from the string. This gives me arrow a         With bow sights, you line up the appropriate
    straight, stable Aight.                                                                sight pin on the target
•   Keep your bow arm pointed directly at the rarget after
    the release. If me bow is jerked on release, the arrow wiiJ
    Ay off target.
•   Follow through by leaving your drawing hand at the anchor
    point weiJ after the string is released.




                                                                                            With instinctive aiming, you simply look
                                                                                            at the Intended target with both eyes
                                                                                            open and release.




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Chapter Six I Page 50                                  Be a Safe Hunter
                            l
                             I
• State three practices for handling and sroring firearms              • Explain why self-control, target identification, and
  safely in me home.                                                     accuracy ace critical for hunting safety.
• Demonstrate me four primary rules of fireann safety.                 • State five functions needed for hunting that ace impaired
• Name me four main causes of hunting incidents.                         if me hunter consumes alcohol or drugs.
• Demonstrate six field carries for a riAe or shotgun.                 •   List advantages and disadvantagts ofhunring from an
                                                                         elevated Stand.
• DemonStrate proper field curies while walking (WO
  or three abreast and while walking (WO or lhree                      • Name me accessory you should wear at all times when
  in single file.                                                        climbing a tree and when on a rrec: stand.
• Demonstrate the safe method for crossing an obstacle if              • Demonstrate how to haul a firearm into an
  hunting alone and if hunting with a partner.                           elevated stand safely.
• Explain how to check safely to see that the barrel of a              • Demonstrate a safe position and the zone-of-fire when
  firearm is free of obstructions.                                       hunting with a partner in a boat.
• List the steps to load and unload a firearm safely.                  • Name the accessory you should wear :It all rimes when
                                                                         hunting &om a boat.
• Explain how to transport firearms safely in
  vehicles and in boats.                                               • Demonstrate what to do to help rerain body hear if you
                                                                         are stranded in chilly warer.
• Demonstrate proper spacing be(Ween humers and me
  safe zone-of-fire when hunting in a group.                           • List seven rules for safe and ethical opemtion when
                                                                         hunting wilh an all-terrain vehicle.

                                                  Why Firearm Safety Is Important
                                                  Whenever firearms are being handled, an incident can occur if the firearm is
• Point the muzzle In a safe direction.           not handled responsibly. Prevenring hunting incidents depends on knowing and
• Treat every firearm with the respect            understanding firearms and handling !hem skillfully and safely. Responsible hunters
  due a loaded gun.                               practice safe habits unrillhey become second nature.
• Be sure of the target and what Is In front of
  it and beyond it.                               Firearm Safety in the Home
• Keep your finger outside the trigger guard      Statistics show that more than half of me fatal firearm incidents reporred each year
  until ready to shoot.                           occur in me home. Because almost all incidents ace caused by carelessness and lack
                                                  of knowledge, it's the hunter's duty [0 help prevent firearm mishaps in me home.
                                                  • Most imporrantly, lock guns away where children cannot reach them, and Store
                                                      ammunition in a separate location. Check ro see that a firearm is unloaded
                                                      before allowing it in any building or living area.
                                                  • Practice tbese safety rules if handling a firearm in me home.
                                                      • Immediately point me muzzle in a safe direction when you pick up a firearm.
                                                      • Keep your finger off the trigger.
 ~eA'Tefttber...                                      • Always check ro see that the chamber and dle magazine are empty.
 • The most common hunting Incidents result
   from hunter judgment mistakes.                 • If a gun is taken from storage to show friends, be sure they understand safe gun
 • Eighty percent of all firearm Incidents            handling rules.
   occur within 10 yards of the muzzle.




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Hunting Incidents
• From a law enforcement perspective, a hunring incident occurs when a
  hunter directly or indirectly causes personal injury or death while using a
  firearm or bow.
• More broadly defined, a hunting incident is any unplanned, unconrrolled
  action that occurs while using a sporting arm. It can include near misses.
• Being responsible in order to prevent hunting incidentS is your first prioriry.
Four Main Causes of Hunting Incidents
• Hunter Judgment Mistakes, such as mistaking another person for game or not
  checking the foreground or background before firing
• Safety Rule Violations, including pointing the muzzle in an unsafe direction
  and ignoring proper procedures for crossing a fence, obstacle, or difficulr terrain
• Lack of Control and Practice, which can lead ro accidenral discharges
                                                                                                             When approached by a law enforcement officer
  and stray shoes                                                                                            or any other law enforcement official. point
• Mechanical Failure, such as an obsrrucred barrel or improper ammunition                                    your muzzle In a safe direction and follow the
                                                                                                             officer's Instructions.




                                                                                                             A successful hunt begins with target practice at
                                                                                                             the shooting range.
                                                                                                             Many of the rules that govern safe firearm
                                                                                                             llandling in the field apply to the shooting
                                                                                                             range. But a shooting range has some
                                                                                                             additional requirements.
                                                                                                                     an
                                                                                                             • Read range rules that apply to the type of
                                                                                                                shooting you wiR do that day.
                                                                                                             • If there Is a range master, be sure to follow
                                                                                                                his or her instructions while shooting.
                                                                                                             • When not shooting, unload your firearm, and
                                                                                                                leave it on the range line or bench until you'ne
                                                                                                                given further instructions.
                                                                                                              • Don't handle your firearm while other
                                                                                                                shooters are downrange. Step away from the
                                                                                                                filing line or bench until the range is clear and
                                                                                                                the range master Instructs you to approach
                                                                                                                the line or bench.
    Be sure of the target and What Is in front of it and beyond it. If you cannot see what lies beyond the    • If no range master Is present, all shooters
    target, do not take the shot                                                                                must decide on safety commands beforehand
                                                                                                                so that It's clear when someone Intends
                                                                                                                to go downrange.
                                                                                                              • Before any person goes beyond the firing
                                                                                                                line or downrange, unload your firearm
                                                                                                                and step away from the line until the other
                                                                                                                person returns.
                                                                                                              • Under no circumstances should you shoot a
                                                                                                                 firearm when someone Is downrange or past
                                                                                                                 the firing 6ne.
                                                                                                              • PJways wear heartng and eye protection, even
                                                                                                                 if you're watching others shoot
                                                                                                              • Respond Immediately to anyone calling for
                                                                                                                 a ·cease fire."


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                             Safely Carrying Firearms in the Field
                            There are several ways m carry a gun safely and still have it ready for quick action.
                            Three rules apply to all carrying methods:
                            • Muzzle pointed in a safe direction and under control
                            • Safecy "on" until immediately before you're ready to shoot
                            • Finger ourside the trigger guard




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Proper Field Carries
• Sling Carry
  Easy carry for long treks through open country. Keep a hand on the sling when
  walking so that it doesn't slide off your shoulder if you rrip. Not recommended
  for thick brush because the gun could be knocked from your shoulder.
• Trail Carry
  Leaves a hand free for balance, but don't use it when you're behind
  someone. Nor recommended when walking in snow or brush--<lebris can
  get in the barrel.
• Cradle Ca.rry
  Comfortable and secure; reduces arm fatigue.
• Elbow or Side Carry
  Comfortable, but it has the least muzzle control. It also can snag in brushy
  ren-ain. Use ir when no one is in front of you.
• Shoulder Carry
  Good choice when walking beside or behind others. Don't use it if
  someone is behind you.
• Two-Handed or "Ready" Carry
  Provides the best control, particularly in thick brush or weeds, or when you
  need ro fire quickly.




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                                                   Selecting the Right Carry When Hunting With Others
                                                   Carry selection is based primarily on muzzle conuol and terrain.
                                                                                                             •   If three hunters are
                                                                                                                 walking side by side,
                                                                                                                 the ones at the sides
                                                                                                                 may carry their guns
                                                                                                                 pointing either to
                                                                                                                 the side away from
                                                                                                                 their party or to the
                                                                                                                 from. The one in the
                                                                                                                 center should keep
                                                                                                                 the gun pointing ro
                                                                                                                 the front or up.
Occasionally you may trip or stumble in the
field, accidentally dipping the barrel into
the ground or snow. Immediately check for
an obstruction.
• Point the muzzle in a safe direction.            • If three hunters are
• Open the action, and make sure the                 walking single file, the
   firearm Is unloaded.                              one in the lead should
• Check for debris in the barrel. If the firearm     have the gun pointed
   Is a break-action, look through the barrel
   from the breech end, or use a barrel light to
                                                     ahead but never over
   inspect the barrel for obstructions.              the shoulder. The
• Remove any obstructions with a deaning rod.        one in the middle
• Check the barrel again to make sure no             must have the gun
   debris remains.                                   pointed to the side.
                                                     The hunter in the rear
                                                     may point the gun ro
                                                     either side or the rear.



                                                                                                          • When facing another
                                                                                                            hunter, any carry is
                                                                                                            safe except the trail
                                                                                                            carry or forward-facing
                                                                                                            elbow or side carry.
                                                                                                          • Remember that the same
                                                                                                            rules for safe carry apply
                                                                                                            when your hunting
                                                                                                            companion is a dog.




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Crossing Obstacles
                                                                                     ~eA1efl'1ber...
• Always unload guns                                                                 In addrtion to gun handling, several olher
  before crossing fences                                                             factors affect your safety during the hunt
  or other obstacles or                                                              • Weather, especially the sun's glare
  before negotiating                                                                 • Pests, such as lire ants, snakes, and bees
  rough terrain.                                                                     • Your emotional state
• Cross wire fences                                                                  • Your stamina, especially wheo hunts are
                                                                                        physically demanding
  close co a fence
  post m prevent
  damage to the fence.
• After unloading it,
  place the gun on
  the other side of the
  fence or obsracle ro
  be crossed, with the
  muzue pointed away
  from you and your
  crossing poi nc. Then
  cross the fence and
  retrieve your gun.




                                                        •   Pull a gun toward
                                                            you by the butt-
                                                            never by the muzzle.
                                                        •   If two people are
                                                            crossing, one person
                                                            gives the other
                                                            person both guns,
                                                            crosses first, and
                                                            then receives the
                                                            unloaded guns from
                                                            the other hunter.




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                                              Safely Loading and Unloading Firearms
~e/>'{ehtber...
Removal of ammunition from the magazine       Even someching as simple as loading or unloading a firearm can result in tragedy if
or removal ol the magazine from the firearm   ir isn't done properly. Here's how ro do ir safdy.
does not mean the firearm Is unloaded!
                                              • Loading
                                                   • Point the muzzle in a safe direction.
                                                   • Open the action; make sure che barrd is unobsuucted.
                                                   • Pur che safety on if the firearm can be loaded with rhe safety on.
                                                   • Load che ammunition.
                                                   • Close the action.
                                                   • Pur the safety on if you were nor able ro do so before loading.




                                              • Unloading
                                                • Point the muzzle in a safe direction.
                                                • Pur the safety on if it is not already on.
                                                • Keep your finger outside the trigger guard.
                                                • Open the action.
                                                • Remove che ammunicion by first deraching the magazine. Eject cartridges or
                                                  shells if it's che only way to remove them. (See "Firearm Actions" in Chapter
                                                  Two for details on specific actions.)
                                                • Make sure che gun is empty by checking both the chamber and the magazine.




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Safely Transporting Firearms
Transporting firearms involves both legal and safe practices. ln addition to federal
laws, there are regulations thar vary from stare ro Stare.                             Padded, soft-sided case
General Rules                                                                          Material: Canvas. nylon, neoprene,
                                                                                       polyester, or leather
• Always unload and case firearms before transporting them. In many Stares, this       Advantages:
  may be tbe law. The action should be open or the gun broken down, whichever          • Ught, easy to handle and store
  makes the firearm safest if it's mishandled.                                         • Many designs accommodate scoped rifles
• Hreanns should nor be displayed in window gun racks because the display may          • Offered in camouflage
  provoke anri-humer senrimenr. Ir's also an invitation to thieves.                    • Waterproof and lloating cases
• Lean a ftreann against a secure rest only. A vehicle does nor provide a secure         available for duck hunters
  resting place:. A gun thar Iillis over mighr accidentally discharge or be damaged.   • Less costly
                                                                                         than hard cases
                                                                                       Disadvantage:
                                                                                       • Less protection
                                                                                         than
                                                                                         hard-sided cases




                                                                                       Lockable, hard-sided case
                                                                                       Material: Aluminum or composite
                                                                                       Advantages:
                                                                                       • Lightweight but sturdy
                                                                                       • Meets airline standards
                                                                                       • Can Include deep foam padding that holds
                                                                                         firearm In place and cushions Impact
                                                                                       • Composite models can be
                                                                                         molded to fit firearm
                                                                                       • Available In
                                                                                         waterproof models
                                                                                       Disadvantage:
                                                                                       • Bulkier and
                                                                                         cosUier than
                                                                                         soft-sided cases




                                                                                       Gun sock
                                                                                       Material: Durable stretch fabric (polyester/
                                                                                       acrylic) or soft pile materials
                                                                                       Advantages:
                                                                                       • Lightweight protection from dust,
                                                                                         dirt, and moisture
                                                                                       • Offered In camouflage
                                                                                       • Often used as a second case to carry a
                                                                                         firearm from a vehicle Into a hunting area
                                                                                       Disadvantage:
                                                                                       • Minimal protection from
                                                                                         elements or Impact




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                                              Safe Zone-of-Fire
.sa,rdy "T:p                                  The area in which a hunter can shoot safely is referred to as a zone-of-fire. Before
A hunters zone-of-t'"n changes With
every step.lfs important to remain alert      serring off in a group, hunters should agree on the zone-of-fire each person will
and aware of your companions' locations at    cover. A zone-of-fire depends on many factors, including the hunter's shooting
an times.                                     ability, the game being hunted, the hunting environment, and the hunring strategy
                                              being used. A hunter's zone-of-fire changes with every step. This is particularly true
                                              of groups hunting birds, rabbits, or other small game.
                                              • For safety purposes. it's best to have no more than three hunters in a group. For
                                                  new hunters, rwo is a safer number unril they become Familiar with maintaining
                                                  a proper zone-of-ftre.
                                              • Hunrers should be spaced 25 co 40 yards apart and always in sight of one
                                                  another. Each hunter has a zone-of-ftre, which spans about 45 degrees directly
                                                  in from of each hunter. (Some states require an adult to be immediately beside a
                                                  youth hunter. In this case, the adult should be a supervisor only-not a hunter.)
                                              • A way co visualize 45 degrees is to focus on a distant, fixed object that is straight
                                                  out in front of you. Stretch your arms straight out from your sides. Make a fist
                                                  with your thumbs held up. Gradually draw your arms in toward the front until
                                                  both thumbs are in focus without moving your eyes. This will give you your
                                                  outer boundaries.




Only one hunter should aim at the target
Also, hunters should only shoot If there Is
an adequate backstop. Don't shoot at a        • If three hunters are walking side by side hunting pheasants, the hunter in the
"skytined" animal.
                                                center will shoot at birds flushed in the middle that fly straight away. The other
                                                hunters will shoot at birds flying toward their end of the line.
                                              • If a bird turns and flies back across the line of hunters, it's best if all three
                                                bold their swings and do not fire. The same is true of a rabbit scurrying back
                                                berween the hunters.
  .sa,reo/ "T:,P
 When hunting In a group, hunters should
                                              • No hunter, especially when swinging on game, should allow his or her gun
 shoot only at game In front of them.           to point at a person. Better to pass up a shot than risk injuring someone or
                                                damaging property.
                                              • Everyone hunting in these siruarions should wear daylight fluorescent orange
                                                whether it's required by law or not.




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Other Safety Considerations
                                                                                          Jfeme.n1w...
Self·Control and Target Identification                                                    A rifle scope shoukl OeYef be used as a pair
• Some hunters may become overly anxious or excited on a hunt, which can lead             of binoculars.
  to careless behavior. They may fire at sounds, colors, movements, or uoidemi-
  fied shapes, or simply shoot roo quickly. In the excitemenr after hitting their
  target, they may swing a loaded firearm coward their companions or run with
  the safety off coward a downed animal.
• Slow, careful shooting is nor only safer, bur it also produces a higher                 Sal'etv l'J'
                                                                                          Self~ol'fs an esSemJal aspect of
  degree of success.                                                                      hunter safety. Only shoot wtlen you knOw
Accuracy                                                                                  the target is legal game and that no people.
                                                                                          domestlc animals. buildings, or equipment
• Shooting accurately is nor only the key ro successful hunting, but it's also a          are in the zone-of-fire--remember that
  safety facror. Some incidents, often deadly ones, have occurred when stray              bullets can pass through game and continue
                                                                                          on for some distance with deadly force.
  bullets have hit people our of rhe shooter's sight. Be sure you have a proper
  backsrop before you shoor.
• Accuracy is also essential for achieving a clean kill. No real sporrsman wantS to
  wound game and cause needless suffering. You must learn how ro hit the viral
  organs of the game you hum. Knowing your game, equipment, and skill level
  will tell you when you're in position to make a clean kill.
Alcohol and Drugs
• Consuming alcohol before or during the hum increases the risk of incidents
  because it impairs coordination, hearing, vision, communication, and judgment.
• Drugs can have a similar effecr. If you have to rake prescription medicine, check
  with your physician to see ifir's safe to cake while hunting.
Hunting From Elevated Stands                                                              Aa.ADLVMIX
Elevated stands place the hunrer above ground level. They can be rree stands placed       The best thing you can do for your safety and
in or against trees, or freestanding srrucrures. They have become increasingly            the safety of others Is simple...
popular in re«nr years with both firearm and bow hunters. While they offer-               Don't drink and hunt!
cer-tain advantages, they also have some drawbacks, including a degree of risk.           Because you can dliok raster than your
                                                                                          system can bum the alcohol off, there Is
•   Advant2ge5                                                                            an Increasing level of alcohol In your blood.
    • Provide a wider field of vision-tame is sponed sooner rhan ar ground level          This level is referred to as Blood Alcohol
                                                                                          Concentration (BAC).
    • Allow time ro plan for the besr shor through earlier detection of game
    • Position a hunter above the animal's normal field of vision
    • Make a huorer's seem harder to dececr and movement less noticeable
    • Make a hunter more visible ro other sportsmen so that he or she is less likely to
      be hit by a stray bullet
    • Provide a good backstop for arrows or bullets due ro shooting at
      a downward angle                                                                    • Place a stand adjacent to game trails or
•   Disadvantages                                                                           where game sign Is abundant.
    • lncrease risk of injury resulting from falling                                      • Place a stand no higher than necessary.
    • Can be difficult co carry, especiaUy large portable stands                          • Never place a stand In a dead tree, in trees
                                                                                            with large overhanging dead limbs, or on or
    • Provide no protection from cold or wind                                               near utility poles.
    • Give liccle room for movemenr                                                       • Select only trees that are straight.
    • Can nor move toward game while huming                                               • Locate the stand downwind from the animals'
                                                                                            expected route.
                                                                                          • Never place stands on fence lines or near
                                                                                            another larldowner's property.



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                                                  Types of Elevated Stands
                                                  • Portable Tree Stands
                                                    Portable rree stands can be safe and environmenrnlly fiiendly. Homemade
                                                    stands should not be used. Commercial stands that are manufactured, certified,
                                                    and rested ro industry standards are best. You should follow the manu&cnm:.r's
                                                    instructions and also practice installing a .rree stand before you go hunting.
                                                    Portable rree stands come in r:hree basic types.
                                                    • Hang-On Stands: These simple stands provide about four square feer of space.
                                                      They musr be hauled inro place and secured ro the tree with belrs or chains.
                                                      These stands require sepa.rarc: climbing aids, such as segmented ladders or
Hang-On Stand
                                                      climbing sticks. When installing a climbing aid, determine your climbing route
                                                      first. Arracb the aid ro the uee so that it extends above the stand's platform, and
                                                      you can src:p down onro the center of the platform.
                                                    • Climbing Stands: These: self-climbing stands are designed for trees with
                                                      suaighr trunks and consist of two sections. A hunter 'Walks" the stand up a
                                                      rree by moving the rop section wirh the hands and the borrom section with rhe
                                                      feet. While still on the ground, adjust the stand ro allow for the tapering of the
                                                      uee that ocCUTS as you go up. When climbing, go slowly, take small steps. and
                 Climbing Stand                       keep the two secrions of the stand connected with a tether. This stand is not
                                                      suited for trees wil:h shaggy bark or with branches between the ground and the
                                                      desired elevation. Neve.r use these: stands on trees covered \vith ice or snow.
                                                    • Ladder Stands: Ladder stands provide a platform I0 to 20 feet above the
                                                      ground. The built-in ladder lets you use these stands with a wider range of
                                                      trees. Due to their size and weight. hunters normnlly assemble and set up
                                                      ladder stands befo.re the first day ofhuming. Three to five people are needed
                                                      to erect or rake down a ladder stand safely. When setting up the stand, dear
                                                      the base area of all rocks and debris, making sure the ground is level. Then
                                                      lean the stand against the uee, and chain or strap it into place. Using all parts,
                                                      assemble the stand as insuuctcd by the manufacrurc.r.
                                                  • Tripods, Quadpod.s, or Tower Stands (Freestanding)
                                                    These stands are similar ro a ladder tree stand bur are freestanding and do nor
                                                    require a tree. They can be placed anywhere that has a firm base. Some resemble
                           THpodStand               one or two chairs atop stilts. Others are enclosed, box-like platforms.
                                                  Fall-Arrest Systems (fASs)
                                                  You should use a fall-arrest system (FAS) that is manufitctu.red to industry
Hanging motionless and suspended In your          standards. Never use single-Strap belts and chest harnesses-they can be deadly.
FAS alter a fall can cause the leg straps to      Before hunting. carefully read the manufacturer's instructions for proper use of
constrict blood flow. The pressure can make       your FAS, and foUow all safety guidelines.
blood pool in the legs, limlUng circulation and
depriving organs of oxygen. This Is called        • Most tree stand fulls occur when a hunter is climbing up or down a tree. Always
suspension trauma and can lead quickly lo             use a properly String FAS that includes a full-body harness ar all rimes when
unconsciousness followed by death.
                                                      your feet are off the ground. Make su.re you.r FAS includes dtese components:
To avoid suspension trauma while you
wait to be rescued:                                   • Full-body harness-the vest harness is a very effective style of full-body harness
• Step into your suspension relief strap, and         • Lineman's-style belt and/or climbing belt-used when c.limbing up
  stand up to relieve the pressure caused by            and down the tree
  tile leg straps.
                                                      • Tree strap-goes around the tree
• If you do not have a suspension relief strap,
   move your legs continuously by pushing off         • Tether-attaches the harness to the rree strap
   from the tree, or raise your knees and pump        • Suspension relief strap-provides a loop to stand in if you fitll
  your legs frequenUy to keep your blood
   flowing until help arriVes.                    • With an adult present, practice adjusting and using your FAS, including the
                                                      suspension relief strap, at ground level before hunting from an elevared srand.

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• To protc:a yourself ifyou f.ill, always wear your FAS fuU-body harness, attaching it
   ro the em: at ground level and keeping it attached throughout your hunt.
                                                                                            (
   • Attach one end of the FAS lineman'Htyle belt to one side of the FAS fuU-body           Merely climbing Into Of out of a tree stand Of
      harness, wrap the belt around the trte, and attach the other end of the belt to the   othef elevated platf01111 to hunt puts you at risk.
      other side of the harness.                                                            Long hours spent walling In a stand, as well as
                                                                                            poor safety techniques, can lead to accidental
   • Use the FAS lineman's-sryle belt with your FAS fuU-body harness when you are           falls. To protect yourself, use good tudgment
      installing or uninstalling the sraod or the climbing aids for a hang-on em: sraod.    and follow these recommendations, always
   • Also use the belt with your fUJI-body harness when you are climbing inro or our of     putting safety first.
      a hang-on sraod.                                                                      • Purchase a commen:ial stand that is
                                                                                               manufactured, certified. and tested to
a When you are in any tree stand, including                                                    Industry standards.
   a ladder sraod, use the FAS tree strap                                                   • Read the manufacturer's lnstrucllons, and
   and tether ro attach your FAS full-body                                                     watch the video that accompanies the stand.
   harness ro the cree. Attach the tree srrap                                                  Review this Information each season before
   to the rree so that the strap is at, or above,                                              using the stand.
   head level when you are standing. After                                                  • Attach your FAS to the tree while at ground
   attaching the tether, adjust both the tree                                                  level, and keep It attached throughout your
   strap and tether so that you have no slack                                                  hunt-from the time you leave the ground
                                                                                               until you get back down.
   in rhe rether while seared in your srand. If
   you full, you do not want to drop below a                                                 • Use a tree stand only during daylight hours.
   level that would keep you ffom returning                                                  • Practice first with your tree stand and FAS
                                                                                               at ground level, using all safety devices that
    ro the platform.                                                                           were Included with the stand. Then continue
• lf you should f.ill while in your srand:                                                     to practice, gradually going higher.
    • Do nor panic. Your FAS wiU hold you.                                                   • When climbing Into or out of a tree stand,
                                                                                                always use three points of contact with your
    • Signal for help.                                                                          hands and feet.
    • CUmb back onro the platform as               "·~~·                                     • Keep a firm hold on the climbing system as
      qw·ddY as poss•·bte.                         .....,...~•on
                                                   Relief)                                      you enter or leave a platf01111, and don't let go
    • Take actions to avoid suspension trauma                                                   unUi you're certain you are secure.
      ifyou must wait for rescue. lf you do nor have a suspension relief strap,             ,-----r...... • Get enough sleep to ensure
       keep moving your lcp.                                                                                     that you are weikested
                                                                                                                 before using a tree stand.
• Discard any FAS that shows signs of wear and rear or has been \YOm
                                                                                                              • Cany a signaling device, such
    during a f.ill. Also adhc:n: to the expiration dare sewn imo rhe FAS by                                      as a WhisUe, radio. or ceo
    the manuhtctw'l:£                                                                                            phone. to let others know if
 a Due to the risks of injuries or death, hunrers who choose not ro wear aod                                     you have a problem.
    use their FAS properly should sray on the ground ro hun[.                                                  • Take your time, and plan
                                                                                                                 every move you make while
Hauling Hunting Equipment Into a Stand                                                                           lnstaiWng and using an
•   Never carry your huming c:.quipmc:m up or down the em: with you as you                                       elevated stand.
    climb. Always use a haul line.                                                                             • Checl< your stand earetully
                                                                                                                 prior to each use. Do not leave
•   Befure attaching the haul line to your hunting c:.quipmenr.                                                  a stand attached to a tree for
    • Ifusing a firearm, unload it, and open the action.                                                          mDfe than two weeks.
    • If using a bow, put the arrows in a covered quiver sc:cured to the bow.                                  • Never exceed the weight
                                                                                                                  limit of your stand or
•   Use a haul line of heavy cord attached to your sraod ro bring up your                                         FAS. Remember that the
    huncing equlpmem or co lower it prior to climbing down ffom your stand                                        weight Includes you plus
    • lf using a firearm, attach the haul line ro d1e firearm's sling so that the                                 your equipment.
       firearm hangs with the muule pointed down.                                                              • Do not climb with anything in
    • lf using a bow, attach the haul line so that the arrow fletclling points                                    your hands Of on your back.
                                                                                                                  Use a haul line.
      down when raising your equipment and points up when 10\vering i[.
                                                                                                               • Raise and lower all hunting
•   Slip the end of the haul Une through your belt-leave ir untied so thar it                                     equipment on the opposite
    can pull free if you f.ill. Pur on your FAS fuU-body harness, secure yourself                                 side of the tree from your
    to the uee, and climb to your sra.nd.                                                                         climbing route.
•   After you are in the srand and secure, haul up your huming equipment,
    and unrie the haul line.


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                                                     Hunting With Boats
                                                     Hunters often use boats in difficult conditions, such as wind, cold, and snow.
  Don't press your luck in bad wealtler. At the
  first sign of a stoon, head lor shore.             Special care must be exercised to ensure a safe trip.
                                                     Trip Preparation
                                                     •   Leave a hunting plan wiili family or friends wiili details on ilie boating portion
Types of PFDs                                            of your trip. It should include your planned route and when you plan to rerurn.
Read and follow the label restnctions on all PfDs.   •   Be sure ilie boat is large enough to carry you and your gear safely.
                                                     •   Load gear low in ilie boac, and distribute the weight evenly.
                                                     •   Have each person on board wear a personal flotation device (PFD), sometimes
                                                         called a life jacket.
                                                     •   Have ilirowable PFDs on board in case someone falls overboard.
                                    TYPE 11          • Stow required visual distress signals.
                                                     • Check an up-ro-<late weailier forecast before heading out.
                                                     • Cancel your trip if wind and water conditions aren't safe.
                                                     Transporting Firearms in a Boat
                                                     • The same rules apply as when transporting ftrearms in a vehicle--unload and
                                                       case firearms before transporting iliem. The action should be open or ilie gun
                                                       broken down, whichever makes the firearm safest.
                                                     • Before boarding the boat, place the unloaded firearm inro the bow (front) of ilie
                                                       boac with its muzzle pointing forward.
                                                     • When hunting with others, ilie first person settles in ilie bow position facing
                                                       forward after ilie first gun is placed. Next, place the second unloaded firearm
                                                       in ilie stern (rear) of ilie boat with its muzzle pointing rearward. Then, ilie
                                                       second person settles in the stern position facing rearward. Repeat the procedure
                                                       when unloading.
                                                     Zone-of-Rre in a Boat
                                                     When duck hunting. ilie back-co-back position is ilie safest, with the zone-of-fire
                                                     confined co a 180-<legree area in fiont of each hunter.

                            TYPEV




Throwable PFDs


~ TYPEIV
~ .
  RingBuoy
               TYPE IV
               Cushion




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Survivmg Water Emergencies
• Alw:1ys wcu a U.S. Coast Guard-approved PFD while you're in the boat. PFDs               Gaf'dy' 77p
  will nor only keep you afloat, but they'll also help you keep warm.                     II you lall fnto the cold water, remain
                                                                                          clothed; clothing helps retain body heal
• If you ~t caught in a Storm and your boat swamps or capsileS, stay with the
  boat. Most small boars will float even when upside down or filled with water.
  Signal passing boats by waving a bright cloth or raising an oar if one is available.
• Placing an oar under your back and shoulders and another under your legs can
  hdp you Aoat. If decoys are in reach, stuff them inside your jacket.
• Chest waders and hip boors also will help you stay afloat.                                  boat-edCei<•C«<.
                                                                                                       .com®
  • lf in chest waders, trap air in the waders by bending your knees and raising                      Goll Sill• . Gef
    your feet. Lie on your back.
• Lf in hip boors, trap air in the boors by bending your knees. Lie on your               Recognizmg Advanced Stages
  stomach.                                                                                of Hypothermia
• Equip your boat with a means for re-entry (ladder, sling, etc.) to use if you           When a victim has these symptoms, dry
  should fall inro the wa tcr.                                                            clothing, heat, and medical attention are
                                                                                          required Immediately:
Cold Water Immersion and Hypothermia                                                      • Bluish-white appearance
• Sudden immersion into cold water can cause immediate, involuntary gasping;              • Weak heartbeat
  hyperventilation; panic; and vertigo--all of which can result in water inhalation       • Shallow breathing
  and drowning. Immersion in cold water can also cause sudden changes in blood            • Rigid body muscles
  pressure, heart rate, and heart rhythm, which can result in death.                      • May be unconscious
• Prepare for boating in cold water conditions by always wearing a secured Ufe
  jacket. Also wear layered clothing for insulation.
• The ben prevention is to take all measures necessary co avoid capsizing your
  boat or falling into cold water in the first place. If you do liill imo cold water:
  • Don't panic. Try to get control of your breathing. Hold onto something. or
     stay as still as possible until your breathing is controlled.
  • When your breathing is under control, pufonn th~ most important fonctiom
    fim before you lose dexterity (10-15 minutes after immersion).
   • Put on a PFD immediarely if you don't already have one on. Don't take your
     clothes off unless absolutely necessary-they hdp insulate you.
   • Focus on getring out of the water quickly before you lose full use of your
     hands, arms, and legs. Try to reboard your boat, even ifir is swamped or
     capsized. Get as much of your body out of the water as possible--the rate of
     heat loss wiU be slower than if immersed in water.
   • If you cannot get our of the water quickly, act to protect against rapid heat
     loss. ln as few as I0 minutes, you may be unable to self-rescue.
     - Stay as motionless as possible, protecting the high heat loss areas of your
       body, and keep your head and neck out ofthe water.
     - Safety typically looks closer chan it actually is, so staying with the boat is
       usually a better choice th;m swimming.
     - Adopt a position ro reduce heat loss. lf alone, use the Heat Escape Lessening
        Posture (HELP); if there are others in the water with you. huddle together.       Huddle
   • Be prepared at all times ro signal rescuers.                                         Retains body heat and Increases survival time
• Read more about the symptoms and treatment of hypothermia
   in Chapter Eight.




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                                                       Hunting With All-Terrain Vehicles
,f~~kr...
Shooting from vehicles Is unsafe, uneltllcal,          All-terrain vehicles (ATVs) are special-purpose vehicles that require careful,
and, in many instances, Qlegal.                        responsible handling and good judgment.
                                                       • They're useful for traveling into back country, but they can damage the
                                                          environment if used recklessly. It also requires training and praCtice ro handJe
                                                           them safdy on rough terrain.



   offroad-ed.
                ~   comn.o
                                                       • Srudies show that the majority of ATV accidents occur when the rider
                                                           unexpecredJy encounters an obstacle, such as a rock or a ditch. Maintaining a
                                                          safe speed is critical.
           r,...c.- '
              GMs...                                   • If you use ATVs to hunt, prepare yourself and your f.unily by attending an
                                                           approved ATV course.




                                                       Before hunting with ATVs on private land, be sure to get the landowner's
• In many states, It Is Illegal to hunt from           permission.
  any motorized vehicle, including AlVs; this
  includes molesting, stirring up, or driving          • Always follow the rules for safe and ethical operation.
  any game animals or game birds with a                   • Wear a helmer approved by the Depanment ofTransporrarion.
  motorized vehicle.
                                                          • Wear protective clothing, including goggles, gloves, and boors.
• It Is Illegal In some states to operate an AlV
  off the trail, or there may be trails speciflcaily      • Carry firearms unloaded, cased, and on a proper gun rack.
  dosed to AlV use.                                       • When using the plastic scabbard mounted on an ATV, clear the inside of the
• In many states, It Is prohibited to operate               scabbard of debris, and check your firearm's muule for obstructions.
  an AlV off-roads or trails In a manner
  that damages or disturbs the land,
                                                          • Stay on the main roads and trails.
  wildlife, or vegetation.                                • Pick your route carefully ro minimize terrain damage.
• Some states require that AlVs be equipped               • Don't drive over crops or planted fields.
  with approved and operating spark·
  arresting mufflers and that they comply with            • Don't shoot from an ATV.
  sound regulations.                                      • Use ATVs only to get to the hunting area or to haul an animal from
                                                            the woods.




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                                                                                                                          1     65
        .                .       Be a Responsible and Ethical Hunter                                         Chapter seven Page



• Give five reasons why we have hunting laws.                      • Describe how responsible and ethical hunters show
• Scare how rhc: ~ramer of wilc!Jife managemem" defined                respect for
                                                                                non-hunters.
  ethical behavior.                                                • Identify public and private land where you
• Describe how responsible and ethical hunters show                  can go hunting.
  respect for natural resources.                                   • List and describe rhe five stages of hunter development.
• Describe how responsible and erhical hunters show                • Give three examples of what you can do to be involved
  respect for orher hunters.                                         in making hun ring a respected sporr.
• Describe how responsible and ethical hunters show
  respect for landowners.

Why Do We Have Hunting Laws?
During the I 9rh century, many game animals were hunted nearly into extinc-
tion. The thundering herds of bison that once roamed rhe plains were reduced co
about 800 head. The beaver was almost wiped out. Elk, deer, and pronghorn were
reduced to a fraction of their once-plentiful numbers.
Game Conservation
To conserve wildlife for future generations ro enjoy, wildlife management laws were
passed. These laws allow game to flourish by:
• Establishing hunting seasons char limit harvesting and avoid nesting and
   mating seasons.
• Limiting hunting methods and equipment.
• Setting "bag" limitS on rhe number of animals that can be taken.
• Establishing check stations and game rag requirementS co enforce rhe laws.                Know the Law
Safety, Opportunity, and Funding                                                            Ignorance of hunting laws Is not a valid
                                                                                            excuse fOf violating them.lt Is the hunter's
In addition ro ensuring the availability of game for future generations,                    responslbiity to review state game laws befOfe
hunting laws:                                                                               the hunting season.
• Establish safety guidelines for hunring that protect both hunters
    and non-hunters.
• Offer equal opportunity for all hunters, whether they use roodern firearms,
    muzzleloaders, or bows.                                                                  -f."eA?eHTW...
• Ensure adequate funding for wildlife programs by collecting license fees.                  A substantial amount of funding for wildlife
                                                                                             management comes from the purchase
Fair Chase                                                                                   of licenses, which annually raises millions
• Hunting laws also define rhe rules of fair chase. The concept began in the                 of dollars.
  Middle Ages when hunters increased the challenge of sport hunting by setting
  rules rhar limited how they rook game.
• More recently. fair chase rules were developed ro stem public criticism of
  hunters. One of the earliest models was the "Fair Chase Principle" established
  in the late 1800s by the Boone and Crockett Club, which was founded by                     In most states, a wildlife management agency
  Theodore Roosevelt. Those who violated club rules were expelled.                           sets hunting regulations. These agencies will
                                                                                             have regular meetings where the public can
• The rules were Iacer expanded, banning rhe use of vehicles, airplanes, and                 voice their con~;ems and make suggestions.
  radios; electronic calling; or shooting in a fenced enclosure. Many states have            Hunters wishing to propose changes to
                                                                                             the regulatioos should participate In these
  made those rules into law.                                                                 meetings, Of join a hunting Ofganization that
                                                                                             Interacts with the agency.



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                                                    The Hunter's Image Matters
                                                    •   Responsible bunters welcome laws thar enforce sportsmanlike hunting practices
• Put in countless hours to Improve wlldlife            because the behavior of irresponsible hunters has caused some people ro
  habitat                                               oppose hunting.
• Help biologiS1s transplant game species and       •   Nationally, about 5% of the population hunts, and roughly rhe same percentage
  save other species from extinction.
                                                        actively opposes hunting. The rcsr of the population is predominandy neutral.
• Encourage others to practice ethical beha'lior.
                                                        However, bad behavior by hunrers could sway some of the neutral crowd into
                                                        the anti-hunting camp.
ethics                                              Hunter Ethics
    Moral principles or values that distinguish     •   While hunting laws preserve wildlife, ethics preserve the hunter's opportunity
    between right and wrong; they are unwritten
                                                        to hunr. Because ethics generally govern behavior thac affects public opinion
    rules that society expeds to be followed
                                                        of bunters, ethical behavior ensures that hunters are welcome, and hunting
                                                        areas stay open.
                                                    •   Ethics generally cover behavior thar has ro do wirh issues of fairness, respecr,
                                                        and responsibility not covered by laws. For instance, ir's nor illegal to be rude co
                                                        a landowner when hunting on his or her property or co be carel.ess and fail co
• Make contact well ahead of the hunting                close a pasture gate after opening it, bm most hunters agree char discourteous
  season.                                               and irresponsible behavior is unethical.
• Wear street clothes-no hunting gear or
                                                    • Then there are ethical issues thar are just berwoen the hunter and nature.
  firearms.
• Don't bring companions-a "crowd" could
                                                      For example, an animal appears beyond a hunrer's effecrive range for a clean
  be intimidating.                                    kJU. Should the hunter take the shot anyway and hope to ger lucky? Ethical
• Be polite, even if permission Is denied.            hunrers would say no.
  Your courtesy may affect the outcome of
  future requests.                                  The Hunter's Ethical Code
                                                    As Aldo Leopold, the "father of wildlife management," once said, "Ethical behavior
                                                    is doing the right thing when no one else is watching-even when doing the wrong
                                                    thing is legal."
                                                    The ethical code hunters use today has been devdoped by sporrsmen over time.
                                                    Most hun ring organizations agree that responsible hunters do the following.
                                                    •   Respect Natu.raJ Resources
                                                        • Leave the land better than you fuund it.
                                                        • Adhere ro fajr chase rules.
                                                        • Know your capabilities and limitarions as a marksman, and stay within your
                                                          effective range.
                                                        • Srrive for a quick, clean kill.
                                                        • Ensure that meat and usable parts are nor wasted.
                                                        • Treat both game and non-game animals ethically.
                                                        • Abide by game laws and regulations.
                                                        • Cooperate with conservation officers.
                                                        • Report game violadons.
                                                    • Respect Other Hunters
                                                    Follow safe firearm handling practices, and insist your companions do the same.
                                                       • Refrain from interfering with another's hunt.
                                                       • Avoid consuming alcohol, which can impair you to the point of
Contact the landowner while wearing                      endangering others.
street dothes and well in adVance of wt1en
you wish to hunt                                       • Share your knowledge and skills with others.



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•   Respect Landowners
    • Ask landowners for permission to hunt.
    • Follow their restrictions on when and where you may hum.                         • Don't get permission to hunl
    • Treat livestock and crops as your own.                                           • Don't tell the landoWners when they arrive at
    • Offer co share a part of your harvest with the owner.                              ()( leave the property.
    • Leave aU gates the way you found them.                                           • Make too much noise.
    • If you notice something wrong or our of place, notifjr the landowner             • Leave litter behind.
                                                                                       • Cany loaded firearms in vehides.
      immediatdy.
                                                                                       • Drive off the ranch roads.
    • Never enter private land that is cultivated or posted unless you have obtained
                                                                                       • Don't leave gates as they were found (open
      permission ftrst.                                                                  ()(shut) when the hunter arrived.
                                                                                       • Shoot too close to neighbors ()( livestock.
                                                                                       • Leave fires unattended.
                                                                                       • Violate game laws.
                                                                                       • Drink alcohollo excess.




                                                                                        I(eA'feA'fber...
                                                                                        Hunting is a privilege and can be taken away
                                                                                        if hunters fail to act responsibly.




                                                                                       • Remain calm and polite, and do not engage in
                                                                                         arguments-never lose your temper.
                                                                                       • Never touch an anti-hunter()( use any
                                                                                         physical f()(ce, and especially never threaten
                                                                                         an anti-hunter wlth your flreanm.
                                                                                       • Rep()(! hunter harassment to law enforce-
                                                                                         ment authorities. If possible, record the
•   Respect Non-Hunters                                                                  vehicle license number of harassers.
    • Transport anjmals discreedy-<lon't display them.
    • Keep fcrearms out ofsighr.
    • Refrain from taking graphic photographs of the kill and from vividly
      describing the kill while within earshot of non-hunters.
    • Maintain a presentable appearance while on the street-no bloody or
      dirty clothing.                                                                  All states have federal- or state-owned public
                                                                                       lands that are available for hunting. Public
Personal Choice                                                                        lands may have regulations that control hunting
                                                                                       on these properties and may require special
• As in every human endeavor, there are gray areas of ethical behavior that come       permits. Check with your state's wildlife agency,
  down to a matter of personal choice.                                                 and get maps before you go.
• Examples of gray areas of ethical behavior, which may even be illegal in             Public lands that may be open for hunting:
  some locales, are:                                                                   • Bureau of Land Management properties
  • Baiting deer with corn or protein pellets                                          • Bureau of Redamation properties
                                                                                        • National f()(esls
  • Shooting birds on the ground, on the warer, or in trees
                                                                                       • National parks
  • Shooting from a vehicle or boat within private boundaries or on private waters
                                                                                        • National Wildlife Refuge properties
                                                                                        • State parks and forests
                                                                                        • State-owned wildlife management areas



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                             The Five Stages of Hunter Development
                             It should be the goal of every responsible hunter co become a true sportSman.
                             As a humer gains experience and skill, studies have shown that he or she will
                             typically pass through five distinct srages of developmem. Keep in mind, however,
                             that not everyone passes through all of these stages, nor do they necessarily do it in
                             the same order.
                             • Shooting Stage
                               The priority is gerting off a shot, rather than patiently waiting for a good shot.
                               This eagerness to shoot can lead to bad decisions that endanger orhers. A
                               combination of rarget practice and mentoring hdps mosr hunrers move quickly
flit~~~~ ;~;;1(,-:_-             our of this srage.
                             •   Limiting-Out Stage
                                 Success is determined by bagging the limit. In extreme cases, this need to limit
                                 out also can cause hunrers to take unsafe shots. Spending time with more
                                 mature hunters helps people grow out of this phase.
                             • Trophy Stage
                               The hunter is selective and judges success by quality rather than quantity.
                               Typically. the focus is on big game. Anything that doesn't measure up co the
                               desired trophy is ignored.




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•   Method Stage
    In this stage, the process of hunting becomes the focus. A hunter may still wam
    to limit out but places a higher priority on how ir's accomplished.
•   Sportsman Stage
    Success is measured by the tot:al experience--the appreciation of the
    out-of-doors and the animal being hunted,
    the process of the bunt, and the
    companionship of other hunters.




                                                                                      • Part of the process of becoming a true,
                                                                                        responsible sportsman Is becoming Involved
                                                                                        In efforts to make hunting a respected sport.
                                                                                        That Includes teaching proper knowledge and
                                                                                        skills to others, w011<ing with landowners, and
                                                                                        cooperating with wildlife offiCials.
                                                                                      • It also includes joining conservation
                                                                                        organizations dedicated to Improving habitat
                                                                                        and management eff011s. Young hunters can
                                                                                        be Involved by joining organizations, such as
                                                                                        4·H. Boy Scouts, and Gir1 Scouts, as well as
                                                                                        by pattidpating in wildlife projects in their
                                                                                        local communities.
                                                                                      • Responsible, ethical behavior and personal
                                                                                         involvement are both essential to the survival
                                                                                        of hunting. How you behave and how other
                                                                                         people see you will determine whether
                                                                                         hunting will continue as a sport.




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 chapter Eight 1Page
                                                    70
                                                                           Preparation and Survivai Skills




 •        Demo!ls~r~te hriwtb tcid a topographiC map                                                  •   Describe ho~to ie~ognize nr§t-, semnd-, and thirdc
        . and lise a mmpass.                                                                              degree bums and how to treat theiri;
 •        List the five primary requirements for survival.                                            •   Explain what to do immediately if a person
 •        List the eight basic survival rules.                                                            suffers a chest wound.
 •        Describe three ways to signal for help when lost
          in the outdoors.
r:s~--                    ----- -----------"7"\
~ Hunting                 Plan                 I                               Importance of Planning and Preparation
~---~~-----~--~-----
Before you depart, leave a hunting plan with                                   Hunting is a safe sport, but it does involve a certain amount of risk. Aside from
a family member or friend. A hunting plan                                      firearm safety issues, a variety of incidents can occur on a ttip outdoors. The
tells where and with whom you intend to hunt                                   rougher the terrain-particularly when it's unfamiliar terrain-the greater the
and when you expect to return.lt also should                                   chance of accidents. Climate extremes also increase the risk. In remote areas, there's
contain specific directions on your route to your
destination and any alternate destination you                                  always the possibility of becoming lost.
may have if bad weather changes your plans.                                    To plan properly, address these four areas when preparing for your hunt.
  HUNTING PLAN                                                                 •   Be Ready: To help you avoid or minimize problems, it's essential that you plan
 ~""'"""""""4-"ll""'l-~1--";!''-·-- ,bo~l)pOoOto""'"' .....          ..
 ,.-...,co,._do_.......,."~"-of<»..lon:lo"""l<"'"dtloori'..!n~""''"""­             carefully for the hunt. Responsible hunters anticipate potential problems and
 """""--7""'homl<II;JI»o..tr<"<drlook>......,_..,_..,,.,.,.."'l'..,~



                                                                                   make plans to deal with them. Considerations include terrain, location, weather,
                                                 ~...,   ...,_)_._._               dangerous game, and the potential for forest fires.
                                                                               •   Know Your Location: Leam as much as you can about your chosen hunting
                                                 ~       .   (_)_.        __       area before you arrive. Purchase a topographic map, and familiarize yourself
                                                                                   with the terrain. If the location is within a convenient drive, it's a good idea to

--~Y
m::;,"'
              .   I.lNo    Tll>l'---                ~·---
                                                                               •
                                                                                   visit the area in the off-season.
                                                                                   Prepare for Safety: You also need to assess your physical condition and


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                  - -
      hodlof>O<••••••••••..... bnr>N~<----;;;;---1-;;-;l~o
             _,ll>d._....    ~-
                                                             \JI'"   --            equipment. Refresh your memory of hunting and firearm safety rules, and
                                                                                   review the rules with your hunting partners.
                                                                               •   Tell Others: Prepare a hunting plan that tells where and with whom you are
 ~~~~<:d-.-~•"'----··-- - -                                                        hunting and when you expect to rerum. Give specific directions on your route
·~~t.,:--;;;;-1--;;;;;;t.l'"'t.IJft'
      l<oal~                                        .,..,_~1-l-·--
                                                                                   to your destination and any alternate destinations. Leave the plan with a family
                                                                                   member or friend. Do not deviate from your hunting plan without notification.
                                                                                   When hunting with a group, each person should discuss their route plan.




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Physical Conditioning
•   Hunting often demands more physical exertion chan you're accustomed to
                                                                                       !.
                                                                                        • A hat or cap with earflaps and gloves to retain
    doing. Conditions that may hamper your physical ability co perform safely and         body heat-most body heat Is lost through
    responsibly while hunring include:                                                    the head and hands; gloves also protect your
    • Allergies                                                                           hands from abrasions and rope bums
    • Asthma                                                                            • Footwear that Is sturdy, suitable for the
                                                                                          conditions you'D encounter, and has been
    • Excess weight                                                                       broken In before the hunt
    • Heart condition                                                                   • Two layers of ~ene against
                                                                                          the skln and a wool outer layer
    • Poor physical conditioning
•   Your men cal condition impacrs your performance as well.
•   Prepare fur your hunt by getting in shape well in advance. The arnoum of time
    that it will take to gee in shape will depend on your physical condition and the
    difficulty of the planned hunt.                                                      f'efl'te#/W ...
                                                                                         Wool Is the best all-around choice for
Clothing                                                                                 Insulation because it stlll provides warmth
•   Clothing also can affect your ability ro perform safely and responsibly. Select      when wet. The best clothing combination In
                                                                                         bad weather Is polyester or polypropylene
    clothing based on the wearher you expecr while being prepared for the worst.         U!lderwear and shirt, wool pants, heavy
•   In warm weather, wear a hat and light clothing that covers as much of your skin      jacket, and water-repellent rain pants and
                                                                                         parka. Soaking wet clothing can lose heat
    as possible to prevent heat exhaustion or sunburn.                                   several hundred times laster than dry
                                                                                         clothing. Cotton clothing (underwear, T·shlrts,
                                  • Cold weather conditions call for clothing            jeans, nannel shirts) Is a poor ohoice for
                                    that is worn in layers. Layers offer superior        cold, wet weather. When wet, cotton loses
                                    insulation. Also, as weather warms up, you           its already limited insulating ability and can
                                                                                         cause rapid transfer of heat away from the
                                    can shed a layer at a time to stay comfortable.      body, Increasing the risk of hypothermia.
                                    Layers should include:
                                    • A vapor ttansmission layer (material such as
                                      polypropylene}-wom next ro tbe body; it
                                      should release moisture from tbe skin while
                                      re13.ining warmth.
                                    • An insulating layer-weightier or bulkier; it
                                      should hold warm air around you.
                                    • A protective outer layer-available in
                                      various weights and ma.terials according ro
                                      conditions; it should protect the inner layers
                                      from \vater and wind.




• The most imporrnnt clothing choices
  are a daylight fluorescent orange hat and
  daylight fluorescent orange outerwear-a
  shirt, vest, or jacket. Daylight fluorescent
  orange clothing makes it easier for one
  hunter co spot and recognize another
  buncer because nothing in nature marches
  this color. The orange color of the:
  clothing should be plainly visible from
  aU directions. This is required by law
  in many srntes.


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                                                   Topographic Maps and Compasses
                 'I                                Reading a Topographic Map
In addition to your hundng gear, wt11ch Includes
your firearm-or bow-and field-dressing
                                                   •   Whenever you're in a remote or unF.uniliar area, a topographic map and
equipmen~ you also slloukl prepare a day pack          compass are a musr.
that inckldes emergency supplies. Although         •   Topographic maps are created from aerial photographs and n:vcal the contours
the contents win vary based on conditions
and personal preference, an emefgeocy day              of the land, including hills, ridges, and valleys, as well as lakes, rivers, creeks,
pack coukllndude:                                      uails, and roads.
• Base plate compass with signal mirror                • Contour lines show the
• candle                                                 elevarion of the ground.
• Emergency high-energy food                           • Concour intervals reveal how
• Extra boot laces                                       much verrical distance there is •
• Extra pair ol glasses                                  between each contour line--
• Extra two-day supply of prescription medicine          closely spaced contour lines
• Rre star1ers-waterproof matches,                       indicate very steep slopes.
  butane lighter, etc.
• Rrst-aid kit
                                                       • Contour lines that are
• FIShing line and hooks
                                                         sharply tapered indicate an
• Aashlight wilh spare batteries and bulbs               uphill direcrion.
• Folding saw                                          • Rounded contour lines typically indicate a downhill direction.
• Knives                                           Selecting a Compass
• Map
                                                   •   The orienteering compass is a critical piece of equipment for outdoor travel.
• Metal carrying case that can double
  as a cooking pot                                 •   A good orienteering compass has these features:
• Nylon rope                                           • Clear base plate that allows you to see the map underneath
• Plastic sheet or large garbage bag                   • Suaight sides for aligning two points or for drawing lines
• Poncllo                                              • Liquid-filled needle housing that keeps the magnetic needle relatively steady
• Signal flares                                          when taking readings
• Single-edged razor blade                             • Two arrows: a direction arrow painted on the base plate (or you may use the
• Small can or lighter ftuld                             edge of the compass) is used to point the compass from your starring point to
• Snare wire or twine                                    your destination; an orienting arrow, located in the needle housing. is used ro
• Tablets for water puriftcation
                                                         orient your compass to your map
• Thermal foil blanket
• TISSues
·water
• Water purification tablets
• Whistle (plastic)
Additional Equipment
• Apair of binoculars or spotting scope
• Biodegradable trail marke(s
• Duct tape
• Hatchet or ax
• Pencil and paper pad
 • Shovel
 • Sleeping bag appropriate for climate




    /fentemkr...
    Metal objects, such es kniVes, gun
    barrels, belt buckles, etc., will affect a
    magnetic needle.


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Understanding Declination
• Topographic maps are drawn ro true north (North Pole), which is indicated by
  the grid lines on the map. However, a compass will always point co magnetic         Topographic maps are available at many
                                                                                      outdoor stores or may be obtained from the
  north, which is in the Hudson Bay area. The difference between true north and       u.s. Geological Suvey at www~. Or contact
  magnetic north is called "declinadon."                                              the USGS by calling toll-free 1-888-ASK-USGS
• When true north and magnetic north are aligned, you're at zero degrees              (1..SSS·27s..a74n.
  declination. Your compass needle will point to true north. However, if you're
                                                                                      National Forest Setvice Motor Vehicle Use
  easr or west of zero degrees declination, your compass will not be in line          Maps (MVUMs) show forest road networ1<s and
  with true north.                                                                    restrictions. They are available from the U.S.
                                                                                      Forest Service at www.l$.fed.us.
• To compensate for declination:
  • Cemer the north arrow (theN) of the compass dial along a north/south
    line of the map.
  • Check the diagram at the bottom of the map that shows whether magnetic
    north is to the left or right of rrue north.                                       I{'eft'lepfkr...
                                                                                       If you're an experienced map reader,
  • Turn the compass dial the correct number of degrees left or right as indicated     you can:
    on the map. The N is now pointing at magnetic north.                               • Read terrain.
  • Hold the compass level in from of you, and rotate your body until the tip          • Determine direction.
    of the compass needle aligns with the N on the compass dial. The direction         • Follow rivers, valleys, and ridges.
    arrow on the base plate now points in the direction you want to go.                • And your location in relationship to
                                                                                          your camp.
Plotting Your Progress
                                                                                       • Identify areas preferred by game animals.
• As you hike into unfurniliar terrain, you can keep your bearings by taking
  frequent compass readings and plotting your progress on a map.
  • Note key points, such as stream crossings, ro help you find your way back.
  • Pay particular attention when you reach a high point at the top of a ridge; use
    the elevation to locate landmarks visible from there.
• Learning to set a course and take bearings takes study and practice. The
                                                                                      • The Global Positioning System
  best way to become proficient with a compass is under the guidance of an              (GPS) is a navigation system
  experienced individual.                                                               based on a netwon\ of
                                                                                        satellites. Users with a GPS
                                                                                        unit can determine their exact
                                                                                        location (latitude and longitude)
                                                                                        in any wea!hef condition, all
                                                                                        over the world, 24 hours a day.
                                                                                      • GPS sateUites circle the earth
                                                                                        twice a day and transmit information to the
                                                                                        earth. GPS receivers use this information to
                                                                                        calculate the user's location by comparing
                                                                                         the time a signal was transmitted by a
                                                                                         satellite with the time it was received. The
                                                                                         time difference tells the GPS receiver the
                                                                                         distance from the satellite. By calculating the
                                                                                         distances from several satellites, the receiver
                                                                                         can determine and display the user's location
                                                                                         on the GPS unit.
                                                                                      • Once the user's position is determined, a GPS
                                                                                         unit can calculate other information-bearing,
                                                                                         trip distance, distance to destination, sunrise
                                                                                         and sunset times, and more.
                                                                                      • GPS receivers are accurate to within
                                                                                          15 meters (49 feeQ on average. Certain
                                                                                         atmospheric factors and other sources of
                                                                                         error can affect the accuracy. Accuracy can
                                                                                         be Improved with a Differential GPS (DGPS) or
                                                                                         Wide Area Augmentation System rNA/IS).


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                                                     Survival Skills
~eMePtkr ...




                                •
When you find yourself in                            Planning and preparation should keep you from having an outdoor misadventure.
a survival sltualion. the                            If something does go wrong, switch into survival mode.
most important tool is                               Most everyone who treks into the wilderness gets turned around occasionally.
your blain.
                                                     How you respond in the early stages often determines whether your disorienracion
 S top when you realiZe youve got a                  becomes a temporary inconvenience or a traumatic ordeal. If you keep a cool head,
    problem. The first thing to do Is admit to       you'll usually get your bearings &irly quickly.
    yourself that you are In trouble.
                                                     Think through recem events to see if you can retrace your path. If you decide
 T hink about what you need                          you cannot rerurn to your camp or car, commit yourself to spending the
     to do to survive.                               night where you are. If you remain in one spot, it's very likely that you will be
                                                     found in a few days.
O bserve the area, and look for
     shelter, fuel, etc.                             You now have three priorities: shelter, fire, and signal.

 PIsurvival
    an how you are going to use your
            kit and your other available
                                                     Preparing a Shelter
                                                     • Srarr preparing your camp well before dark. Look for a natural shelter, such as
     resources. Don't wait until dark to planl         a rock overhang or a thick stand of evergreens. The sire should be dry and well-
 Remain calm. Think clearly. Use the tools
                                                       drained and protect you from the wind. Ideally, it also should be near water and
 you have available to you.                            plenty of firewood.
                                                     • If no natural shelter is available, pick an area with materials nearby ro build a
                                                       lean-to or debris hut.
                                                     • A lean-to is constructed by leaning branches against a horizonral support to
• Give a responsible person your hunting plan
                                                       form a frame for a roof. Be sure ro orient the opening away from the wind.
  as discussed previously.                             Cover the frame with evergreen branches to block wind or precipitation. Leaves
• Don't travel or hunt alone.                          and rwigs are another option. If you need additional protection, you can
• Take enough food and water to last fOf several       add side walls.
  days in an emergency.                              • Build your fire where its heat will radiate into the shelter. Your sleeping area
• Bring a map and compass, and always orient           should be located between the shelter wall and the fire.
  yourself be!Ofe leaving camp.
• Wear layered clothing, and take extra clothing,
  preferably wool and polyestef, with you.
• Plan your outings so that you can return to
  camp befOfe dark.
• Nevef leave camp without taking fire-starting
  equipment and a foil blanket.
• Don't panic if you become lost.




A tepee of larger sticks encloslng the kindfing Is
a good way to start a fire.


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starting a Fire
• If there is snow on the gruunJ, build the fire on a platfom1 of green logs or
  rocks. If the terrain is dry, dear a parch of bare din to avoid starting a grass                   preventwildfireca.org/OnelessSpark
  or forest fire.
                                                                                                     To prevent w!klflles, folloW these
• Gather everything you need before starting the Are. Pile fud ranging &om small                     recommendations provided by the
  twigs ro fud logs next to the Are sire. CoUccr more fuel chan you think you can                    u.s. Forest Service.
  use; you may need more than you estimare.                                                          • Contact the landowner or agency managing
                                                                                                        the land to make sure fires are allowed.
• Pile fine twigs, grass, or bark shavings loosdy a5 a base. lf you cannor find dry                     Get a campfire permit from the agency if
  kindling, remove bark from rretS. Use your knife ro shave dry wood from rhe                           it is required.
  inside of rhe bark.                                                                                • Go to trttps#smolteybear.com/entpme~~tiGn­
                                                                                                        how·tos/campftrHI~ to review how to
• Place slighdy larger sticks on the starter material until you have a pile about                       build, maintain, and put out a camp~re. Even
   I 0 inches !Ugh.                                                                                     the most experienced campers can use a
                                                                                                        campfire safety refresher.
• If rhere's no breeu:, light rhe kindling in d1e middle of rhe ba5e. lf rhere is a
                                                                                                     • Before you light a Ore, be ready to put It oul
  breeze, light one end of the kindling so that rhe f1:1me will be blown roward rhe
                                                                                                        - Drown It! Stir ltl filelltl
  resr of the fuel. As the kindling lighrs and d1e flames spread to the lalger twigs,
                                                                                                         • Drown It and stlr it again! II it Is too hot to
  slowly add more wood ro the blaze. Add larger pieces a5 the 6re grows. A large                            touch, It Is too hot to leave.
  fire wiU throw more heat and be easier ro maintain.                                                 • Maintain your equipment, and avoid
Signaling for Help                                                                                      creating sparks.
                                                                                                        - Use spar1< arrestors.
• When you decide to sray pur and wair for rescue, prepare help signals a5
                                                                                                         - Don·t drag chains.
  soon a5 possible.
                                                                                                         - Don't par1< over dry grass.
• The inrernarional emergency sign for disrress is three of any signal: three shots.                  • Do not leave a fire unattended.
  three bla5rs on a whisdc, three fla5hes with a mirror, or three fires evenly spaced.                • Before you build a carnpflre, know youT
  lf you're near an open space, walk an X in the snow, grass, or sand. Make ic a5                        legal and financial responsiblfities if you
  large a5 possible so that it can be seen Ca5ily &om the air. Placing branches, logs,                   cause a wildfire.
  or rocks along the X will make ir more visible. Do nor light signal fires until                     • Never forget that fire Is a helpful tool, but it
                                                                                                         is also a dangerous tool. Learn more about
  you hear an aircr:afi. Adding green boughs, preferably pine ifavailable, to the                        wildland fire at -.nps.p/fire/Wtldllnd-fire/
  fire will help create smoke.                                                                            le.nlng-anlttlfttt-ln·depl!u:fm.
• Once you have a shelrer, fire, and your signal prepared. you can focus on
  warer and food.
Drinking Enough Water
•   Even in cool weather, you need two to four quarrs of water a day. Under most
    conditions, humans can only lase about rhree days without water.
•   Pure drinking water is rare. even in rhe most remote regions. Clear mounrain
    screams often are comaminared by Giardia Iamblia, a parasite that causes serious
    intestinal sickness in humans.
•   The best way to purify water is by boiling. Chemical purifiers such as iodide/                   Personal locator beacons (PLBs)
                                                                                                     provide a distress and alertlng
    iodine or chlorine and fl lrer systems can be used, but some may not be                          system for use In a llfe·and·
    satisfactory. Never make survival problems worse by drinking unsafe water.                       death situation. A PLB Is a
                                                                                                     small transmitter that sends
Finding Food                                                                                         out a personalized emergency
•   Humans can go for rwo weeks or more wirhour food. Although the need                              distress signal to a monitored
                                                                                                     satellite system. When
    for food is not thar urgenr, you'll be more comfortable and clearheaded if                       you buy a PLB, you must
    you ear. Anywhere rhere is game, there is food, bur probably nor wbac you're                     register It with the National
    accustomed co c:~ti ng.                                                                          Oceanic and Atmospheric
                                                                                                     Administration (NOM), PLBs are a highly
•   Before you head into a remore area, ir's a good idea co learn what's edible in that              effective and Internationally recognized way
    particular region. Hopefully, you'll be able ro use your bunting equipment ro                    to summon help.
    harvest the bulk of your food.



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                                            Coping With Extreme Weather
                                            Some of the most common and dangerous risks to hunters result from exposure to
                                            extreme weather.
                                             Hypothermia
                                             Hypothermia occurs when your body loses heat fil.ster than it can produce it,
                                             causing your core body temperature to fall. Hypothermia is often induced by
                                             cold, wet conditions, such as rain, snow, sleet, or immersion in water. However,
                                             hypothermia can occur at temperatures as high as   so· Fahrenheit.
                                             Moisture from pe.rspiration, humidity, and dew or rain on bushes and trees also
                                             can soak your clothing over time, putting you at risk in cold weather. Wet or damp
                                             clothes will draw heat out of your body more rapidly than cold air. Wind lowers
                                             your body temperature as it evaporates moisture from your body. Resting against
                                             cold surfaces will also draw heat from your body.
                                             •   Prevention of Hypothermia
                                                 • Hypothermia can be prevenred by dressing properly, by avoiding potentially
                                                   dangerous weather conditions, and by drying our as quickly as possible
Hypothermia Is often Induced by cold, wet
conditions, such as rain, snow, sleet, or          when you get wet.
immersion in water.                              • High-calorie foods, such as chocolate, peanuts, or raisins, provide quick energy
                                                   that helps your body produce heat.
                                             •   Symptoms of Hypothermia
                                                 • Uncontrolled shivering-usually the first obvious symptom, bur ceases as
                                                   hypothermia progresses
                                                 • Slow, slurred speech
                                                 • Memory loss
                                                 • Irrational behavior, such as removing clothing
                                                 • Lack of body movement
                                                 • Sleepiness
                                                 • Unconsciousness, which could lead to death




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• Treatment of Hypothermia
  • Find shelter fOr the vicrim.
  • Remove wet clothing, and replace with dry doming and other protective                      · ww tne proper type or cloltling (no cotton).
    covering. If there is no dry clothing, use a fire ro dry one layer at a time.              • Stay dry. Use water-repellent outer garments.
  • Give warm liquids to rehydrate and rewarm, bur never give the victim alcohol               • Build a shelter. The best is a nyton tarp shelter
    to drink. Quick-energy foods also produce inner body hear.                                   as it wiH protect you from wind, rain, and
                                                                                                 snow. Insulate the lloor ol the shelter with
  • For mild cases, use fire, blankets, or anomer person's body heat fO                          pine boughs, if available.
    warm the victim.                                                                           • Avoid contact with cold surlaces (the ground,
  • In more advanced scages, rewarm the victim slowly by placing one or more                     rocks, or snow).
    people in body cooracr with the victim. Place canteens of hot water insulated              • Wrap your body In a thennal foil blanket. This
                                                                                                 will maintain a temperature of 60' F inside
    with socks or towels on the groin, armpits, and sides of the neck of the victim.             the wrap even when the outside temper-
  • A victim at or near unconsciousness musr be handled gendy and not                               ature is-1o· F.
    immersed in a warm barh or exposed to a large fire, which can lead to                      • Umit your physical activity to conserve energy.
    traumatic shock or death. Immediately contaCt emergency medical personnel
    to evacuate the victim ro a hospital for rrearmenr.
Frostbite
Frostbite occurs when dssue freezes. The best prevention is to avoid severe
weather. If you're caught in extremely cold weather, pay attention to your head                               Wind Speed (mph)
and extremities, such as fingers, roes, ears, and nose. Wear a face cover if the
temperature is bdow 0' Fahrenheit. If you experience any symptom of frostbite,
treat immediately.
•   Symptoms of Frostbite
    • Skin turns off-white.
    • Prickly or tingling feeling occurs as ice crystals form.
    • Pain may be present initially, then disappears as frostbite progresses.
    • In severe cases, victim experiences a loss of li-ding in the a1fecred area.
•   Treatment of Frostbite
    • Warm rhe affected area with body hear, but avoid rubbing the area-it
      can damage tissue.
    • Don't use hot water or other external heat sources, which could cause burns.
    • Wrap 'virh warm, dry clothing.
    • Move ro a warm shdrer.
    • Drink hot liquids.
    • Get medical attention.




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                                                                               Exhibit 2
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         Air Temperature ("F)                            Heat Exhaustion
120115110105100 95 90 85 80 75 70                        Heat exhaustion is the opposite of hypothermia-the core body temperature
   103 99 95 91 87 83 78 73 69 64 0                      increases, usually as a result of hot and humid conditions, plus alack of water.
 11107 102 97 93 88 84 79 74 69 64 5
                                                         • Prevention of Heat Exhaustion
   111105100 95 90 85 80 75 70 65 10
                                                             • Drink plenry of water.
                                                             • Take frequent breaks if you're hiking to or from your hunting spot,
                                                               especially when carrying a large load.
           13 104 96 90 84 78 73 67 30              lJ       • Dress in layers, and shed layers as physical acrivity increases.
          118107 98 91 85 79 73 67 35               i    • Symptoms of Heat Exhaustion
           23110 101 93 86 79 74 68 40 ;                     • Pale and clammy skin
                                       c
                                               452.          • Weakness
               1211107 96 88 81 75             50   J        • Nausea
                     tO 98 89 81 75 69         55~           • Headache
                                                             • Mu.~cle cramps
                                                         • Treatment of Heat Exhaustion
                                                             • Move to a cooler place, and drink water.
                                                             • Fan to lower body temperarure, bur don't over-chill.
                                               80
                        117 99 87 78 71 85
                                                         Heat Stroke
                        122102 88 79 71 90               Heat stroke should be rreared as a medical emergency-it can be Fatal.
                                                         • Symptoms of Heat Stroke
                                                           • Dry, hot, and flushed skin-dark or purple in color
Heat                                                       • Dilated pupils
Index   General Effect of Heat Index
                                                           • Rapid, weak pulse
D                                                          • Shallow breathing
                                                           • High rempera~ay be in excess of tQ6• Fahrenheit
D       ~. heal cramps, or heal exhaustion
        possible With prolonged exposm ancVor
        physical ac1Mty                                  •   Treatment of Heat Stroke
        Slmlroke, heat cramps, or heal exhaustion            • Wrap in a sheet and soak witb cool-not cold-w.uer.
D       lillely and heat stroke possible v.1th
        prolonged eli!X)SII'8 ancVor pllyslcal actMty        • Fan, bur don't over-chilL
        Heal stroke highly likely With continued             • Ger ro a hospital immediatdy.
        exposm




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Basic First Aid
                                                                                         lfem~w.
Every hunter should l':lkc a first-aid course to learn what to do in case of injuries.   Every hunter slloofd take a first-aid
Below are some common injuries thar could occur while hunting.                           course and a course In cardloputmonary
                                                                                         resoscltation lCPR) to be prepared to handle
Bleeding                                                                                 011\doof emergencies. Aprepared hUnter also
a &vere bleeding is a life-threatening medical emergency. The rapid loss of just         win carry a complete r~rst·aid l<lt.
    two pints of blood CUl result in shock and loss of consciousness. A victim can
    bleed to death in a short time.
a To stop bleedmg:
  • Apply direct pressure on rhe wound.
  • Cover with a sterile gautt pad-or the cleanest doth readily available.
    Concerns about infection are secondary when it comes to preventing
    massive blood loss.
  • Press the pad firmly over the wound using the palm of your hand. Don't lift
    the pad co dleck the wound-it will only renew bleeding.
  • When a pad becomes soaked, pur a ftesh one directly over rhe old pad.
  • If the wound is on a limb and there's no fracture, raise rhe limb above rhc
    level of the he-.trr. Graviry will reduce the blood pressure in the limb.
• Direct pressure: and elevation arc usunlly sufficient to stop bleeding. If profi.tse
  bleeding continues, try shutting ofF circulation in the artery that supplies blood
  to the injured limb.
Broken Bones
•   You CUl assume someone has a broken bone: if pain lasts more than a
    few minutes, moving the injured area is difficult, or there is swelling in
    the injured area.                                                                    Moving a victim with a back or neck Injury
                                                                                         shoold be lert to paramedics or other
a   If you have to transport the viaim a long distance, it's best ro immobilize the      professionals because permanent damage
    joim above and below the break w prevent further injury and relieve pain.            could result from Improper handling.
    Don't try ro srraighten the limb-splint it the way you found it.                     If a victim must be pulled to safety, move him
                                                                                         «her lengthwise and head first, supporting the
a   For a broken foot. do nor remove the shoe:. lie a pillow or thick padding            head and neck. Keep the Sj)ine In alignment
    around the foot over the shoe:.
• To spUnt a broken leg:
  • Place a blanket or some other rype of thick padding between the Legs.
  • Bind the: injured leg ro the uninjured one with strips of clorh.
  • Bind rhc: legs together snugly at several places above and below
    the painful area.
Bums
•   First· and second-degree burns with closed blisters are besr treated
    with cold water.
    • Immerse rhe burned area, or cover it with cloths that have been sooked in cold
      warer-don't use ice water.
    • Avoid using butter or any type of grc:a~-y ointmem because they can interfere
      wirh healing and cause an allergic reaction.
•   Second- and third·degree burns with open blisters should be wrapped with a
    loose, dry dressing.




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                                                 Carbon Monoxide Poisoning
                                                 •    Improperly working camp stoves and lanterns, 35 weU 35 wood and charcoal
                                                      fires, can produce lethal carbon monoxide.
                                                 •    Symptoms of carbon monoxide poisoning include headache, dizziness,
                                                      weakness, and difficulty in breathing. The victim's skin can turn red, and be or
                                                      she can lose consciousness.
                                                 •    Get victims into frc:sb air immc:diarc:ly, and keep them lying quicdy. Prompt
                                                      medical care is c:sscntial.
                                                  Chest Wounds
                                                 •    A bullet striking the chest can cause a sucking chcsr wound--a deep, open
                                                      wound of the chest wall that allows alr into the chest cavity.
                                                  •   All chest injuries arc very serious and need immediate medical 3ttemion.
                                                  •   To respond immediately to a chest wound:
•  2-lnch-SQuare sterne gauze pads                    • Use the palm of your hand to cover the wound until a bandage is located.
•  2·inch-wide gauze bandage roll                     • Cover the wound with sterile gauze, a dean cloth, plastic, or foil.
•  4-inch-square sterile gauze pads
                                                      • Make sure the y,'Ound cover fOrms an alrrighc seal.
•  42-ineh-square doth lor triangular
   bandage or sling                                   • Hold the gauze in place with a bandage or tape:.
• Antacid                                             • If the victim has trouble breath in g. remove the bandage, and
• Antiblotio salve                                      replace ic quickly.
• Aspirin                                             • Transport the victim to the hospital with the injured sid e down,
• Assorted adhesive dressings                     Shock
• Assorted butterfly dressings
                                                  •   Shock can result from any serious injury. Symptoms include pale, cold, clammy
• Cell phone
                                                      skin; rapid pulse; shallow breathing; and fear in the viclim.
• COtton swabs
• Decongestant                                    •   To treat shoclc
• Eye dropper                                         • Keep the victim lying on his or her back. In some cases, shock victims
• Hand sanitiZer                                        improve by raising their feet 8-10 inches.
• Instant chemical cold packs                         • If the victim is having trouble breathing, raise the victim's head and shoulders
• Instant chemical llot packs                           about 10 inches rather th.a.n raising the feet.
• latex glOves                                        • Maintain normal body temperature, and loosen any restricrive clothing.
• Moleskin                                            • Try co keep the victim calm and comfortable, and get medical help as
• Needles                                               quickly as possible.
• One-half percent hydrocortisone cream
• Petroleum jelly
                                                  Snakebite
• Roll of 1-lneh adhesive tape                    •   Most doctors agree that the best response is to rush the victim to a hospital
• Roll of 2-inch adhesive tape                        emergency room. Do nor try co remove poison from snakebircs. Cuccing and
 • Safely pins                                        suctioning the bite can do more harm th.a n good.
 • Scissors                                       •   Fear and panic aggravate snakebite reactions. Calm the victim as much as
 • Single-edged razor blades                          possible. Keep the victim in a reclining position co slow rhe spread of venom.     If
 • Sterile eyewash                                    the bite is on a Umb, keep d1e wound ar or below the level of the heart.
 • Thermometer
 • Tweezers




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